Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 1 of 507 PageID #: 6419




                      EXHIBIT N
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 2 of 507 PageID #: 6420




                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE



            APPLE INC.,
               Plaintiff,

            v.                                        C.A. No. 22-1377-MN

            MASIMO CORPORATION and
            SOUND UNITED, LLC,
              Defendants.




                             Declaration of Dr. Itamar Simonson
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 3 of 507 PageID #: 6421




                                                  TABLE OF CONTENTS
   I.     BACKGROUND, QUALIFICATIONS, AND ASSIGNMENT........................................ 1
   II.    SUMMARY OF CONCLUSIONS ..................................................................................... 5
          A.        The Design Impact Survey...................................................................................... 5
          B.        The Association Survey .......................................................................................... 6
   III.   SURVEY TO ASSESS WHETHER THE APPEARANCE AND DESIGN OF THE
          BACK OF W1 IMPACTS CONSUMERS’ PURCHASE DECISIONS ............................ 7
          A.        Objective and Methodology.................................................................................... 7
          B.        Respondent Universe .............................................................................................. 7
          C.        Main Questionnaire................................................................................................. 8
          D.        Summary of Findings.............................................................................................. 9
   IV.    SURVEY TO ASSESS WHETHER CONSUMERS ASSOCIATE THE DESIGN OF
          THE BACK OF W1 WITH APPLE ................................................................................. 16
          A.        Objective and Methodology.................................................................................. 16
          B.        Respondent Universe ............................................................................................ 16
          C.        Main Questionnaire............................................................................................... 17
          D.        Summary of Findings............................................................................................ 18
   V.     CONCLUSION ................................................................................................................. 21




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 4 of 507 PageID #: 6422




           I, Itamar Simonson, state and declare as follows:

   I.      BACKGROUND, QUALIFICATIONS, AND ASSIGNMENT

   1.      I served as the Sebastian S. Kresge Professor of Marketing at the Graduate School of
   Business, Stanford University, from 1993 through 2020. Since the beginning of 2021, I am the
   Sebastian S. Kresge Emeritus Professor of Marketing (while continuing to teach and advise
   doctoral students at the Stanford Business School). A copy of my curriculum vitae, which
   includes a complete list of my publications, is attached as Appendix A.
   2.      I hold a Ph.D. in Marketing from the Duke University Fuqua School of Business, a
   Master’s degree in Business Administration (MBA) from the UCLA Graduate School of
   Management, and a Bachelor’s degree with majors in Economics and Political Science from The
   Hebrew University.
   3.      My field of expertise is consumer behavior, marketing management, the role of price,
   brand, and product features on consumer behavior, research methods, the design and analysis of
   consumer surveys and common survey mistakes, and human judgment and decision-making.
   Most of my research has focused on consumers’ purchasing behavior, and the effects of product
   characteristics (such as brand name, price, and features), the competitive context, and marketing
   activities (such as promotions and advertising) on buying decisions.
   4.      I have published numerous articles in my career in various areas, which are listed in my
   C.V. (Appendix A). I have also co-authored a chapter on “Demand Effects in Likelihood of
   Confusion Surveys,” in the ABA-published book entitled Trademark and Deceptive Advertising
   Surveys. 1
   5.      I have received various awards, including (a) the 2007 Society for Consumer Psychology
   Distinguished Scientific Achievement Award; (b) an Honorary Doctorate from the University of
   Paris – Sorbonne Universities; (c) the award for the Best Article published in the Journal of
   Consumer Research (the major journal on consumer behavior) between 1987 and 1989; (d) the
   1997 O’Dell Award, given for the Journal of Marketing Research (the major journal on


   1
    Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys,”
   Trademark and Deceptive Advertising Surveys, Chapter 11, Shari Diamond and Jerre Swann, Eds.,
   American Bar Association.

                                                                                                       1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 5 of 507 PageID #: 6423




   marketing research issues) article that has had the greatest impact on the marketing field in the
   previous five years; (e) the 2001 O’Dell award (and a finalist for the O’Dell Award in 1995,
   2002, 2004, 2005, 2007, 2008, and 2012); (f) the award for the Best Article published in the
   Journal of Public Policy & Marketing (the main journal on public policy and legal aspects of
   marketing) between 1993 and 1995; (g) the Ferber Award from the Association for Consumer
   Research, the largest association of consumer researchers in the world; (h) Elected Fellow of the
   Association for Consumer Research; (i) the 2016 American Marketing Association Award for
   the Best Book in Marketing 2; (j) the 2002 American Marketing Association award for the Best
   Article in the area of services marketing; and (k) the 2016 Association for Consumer Research
   Conference Best Paper Award.
   6.     At Stanford University, I have taught MBA and executive courses on Marketing
   Management, covering such topics as brand management and brand equity, buyer behavior,
   developing marketing strategies, pricing, building brand equity, advertising, sales promotions,
   and retailing. I have also taught courses dealing with the Marketing of High Technology
   Products, Business-to-Business Marketing, Behavioral Economics, and Critical-Analytical
   Thinking. Over the past several years, I have also taught an MBA course regarding “Applied
   Behavioral Economics,” which examines the judgment and decision-making behavior and
   common errors/tendencies of managers, organizations, and consumers. In addition to teaching
   MBA courses, I have guided and supervised numerous MBA student teams in their work on
   company and industry projects dealing with a variety of markets.
   7.     All doctoral courses that I have taught over the past 33 years have involved educating
   students regarding proper and improper ways to conduct and evaluate consumer and managerial
   decision-making studies. For example, in addition to general principles of decision-making, the
   courses examine the various stages involved in a consumer survey, including defining the
   problem to be investigated, selecting and developing the research approach, collecting and
   analyzing data, and deriving conclusions. In each class meeting, we carefully investigate the key
   errors (if any) in the research we discuss, and I teach the doctoral students what key aspects they


   2
    The book that received the Best Book in Marketing Award, is titled: “Absolute Value: What Really
   Influences Customers in the Age of (Nearly) Perfect Information.” Its primary focus is on consumer
   decision making in the age of the Internet.

                                                                                                        2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 6 of 507 PageID #: 6424




   should focus on when designing and evaluating studies. One doctoral course I have taught over
   the past 25 years has focused on studies of psychological and behavioral aspects of consumer
   decision-making and judgment and decision-making more generally.
   8.     Prior to joining Stanford University, during the six years that I was on the faculty of the
   University of California at Berkeley (1987-93), I taught an MBA Marketing Management course,
   a Ph.D. course on buyer behavior, and a Ph.D. course on buyer decision-making. I also taught in
   various executive-education programs, including a program for marketing managers in high-
   technology companies.
   9.     After completing my MBA studies and before starting my Ph.D. program, I worked for
   five years in a marketing capacity in a subsidiary of Motorola Inc., serving in the last two years
   as the product-marketing manager for various communications products. My work included (a)
   defining new products and designing marketing plans for new product introductions, (b)
   customer and competitor surveys and analysis, (c) pricing and advertising, and (d) sales
   forecasting.
   10.    I have conducted, supervised, or evaluated well over 2,000 marketing research studies
   dealing with various aspects of consumer behavior, covering topics such as branding, pricing,
   product configurations, marketing strategies, and advertising-related issues. Based on this
   experience, as well as my education, teaching, participation in consumer-research conferences,
   and numerous projects with companies and students, I have developed expertise in how to design
   consumer surveys, how to conduct consumer surveys, problems and pitfalls that are common in
   consumer surveys, how to analyze the data from consumer surveys, and what the results of
   consumer surveys can—and cannot—show.
   11.    I serve on the editorial boards of various peer-reviewed journals, such as the Journal of
   Consumer Research, the Journal of Marketing Research, the Journal of the Academy of
   Marketing Science, and the Journal of Consumer Psychology. In addition, I am the Co-Editor of
   the Consumer Psychology Review journal. I also frequently review articles submitted to journals
   in other fields, such as psychology, decision-making, and economics. Almost all the articles I
   review include surveys that I carefully examine, often identifying issues that need to be
   addressed and suggesting to the authors how to conduct new studies. I received (twice) the
   Outstanding Reviewer Award from the Journal of Consumer Research. As a reviewer, I am

                                                                                                        3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 7 of 507 PageID #: 6425




   asked to evaluate the research of scholars wishing to publish their articles in leading scholarly
   journals. In addition, I have worked as a consultant for companies and organizations on a variety
   of marketing and buyer behavior topics, the design of consumer surveys, and the measurement of
   consumer preferences.
   12.     I have also served as an expert in well over 200 prior litigations involving various
   marketing and buyer behavior issues (including consumer surveys), technology marketing, the
   impact of product features, class actions, trademark-related matters, false advertising, branding,
   survey methods, and other issues. My surveys and expert opinions have been relied upon by
   various courts. 3 A list of cases in which I testified as an expert during the past four years is
   included with this declaration as Appendix B. I am being compensated at my standard billing
   rate of $850 per hour. I have been assisted in this matter by staff of Cornerstone Research, who
   worked under my direction. I receive compensation from Cornerstone Research based on its
   collected staff billings for its support of me in this matter. Neither my compensation in this




   3
     See, e.g., Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 626 n.210 (S.D.N.Y. 2007) (noting
   that Dr. “Simonson is eminently qualified to analyze survey techniques”);; TCL Commc’n Tech.
   Holdings, Ltd. v. Telefonaktiebolaget LM Ericsson, No. 15-cv-2370, 2017 WL 6611635, at *29 (C.D. Cal.
   Dec. 21, 2017) (“Dr. Simonson is exceptionally well credentialed in survey work.”); VIP Prods., Inc. v.
   Jack Daniel’s Props., Inc., No. 14-cv-2057, 291 F. Supp. 3d 891, 902 (D. Ariz. 2018) (“Dr. Simonson has
   served as an expert witness on numerous occasions, providing testimony on issues related to marketing,
   consumer behavior, trademark-related matters, false advertising, and branding.”); Gucci Am., Inc. v.
   Guess?, Inc., 831 F. Supp. 2d 723, 745 (S.D.N.Y. 2011) (agreeing with Dr. Simonson’s survey analysis);
   THOIP v. Walt Disney Co., 690 F. Supp. 2d 218, 232–42 (S.D.N.Y. 2010) (relying on Dr. Simonson’s
   opinions to exclude opposing expert’s survey); Simon Prop. Grp. L.P. v. mySimon, Inc., 104 F. Supp. 2d
   1033, 1043–44, 1048, 1050 (S.D. Ind. 2000) (repeatedly citing Dr. Simonson’s expert report as support
   for excluding opposing expert’s survey); Sazerac Co. v. Fetzer Vineyards, Inc., 265 F. Supp. 3d 1013,
   1016 (N.D. Cal. 2017) (relying on Dr. Simonson’s survey: “Fetzer’s expert’s analysis using a modified
   Eveready survey was far superior to the two room survey emtacticed by Sazerac’s expert”); Kargo Glob.,
   Inc. v. Advance Magazine Publishers, Inc., No. 06 Cv. 550(JFK), 2007 WL 2258688, at *9–10, 15–16
   (S.D.N.Y. Aug. 6, 2007) (embracing Dr. Simonson’s report as stating “unassailable commonsense” and
   denying motion to exclude his testimony); Schechner. v. Whirlpool Corp., No. 2:16-cv-12409, 2018 U.S.
   Dist. LEXIS 221847, at *27 (E.D. Mich. Oct. 30, 2018) (“Simonson’s credentials are impressive, and his
   qualifications related to consumer research cannot be reasonably challenged.”); Gutierrez v. Wells Fargo
   Bank, N.A., No. C-07-05923-WHA, Dkt. No. 477 at 51 (N.D. Cal. Aug. 10, 2010) (“This remarkably
   candid opinion was echoed throughout Expert Simonson’s direct testimony”). In June 2021, a Court
   opined as follows about a survey that I presented at trial: “The Court finds that the survey performed by
   Dr. Simonson was exemplary and a model of how litigation surveys should be conducted. The Court,
   accordingly, affords the survey’s results and conclusions based thereon a high degree of credibility and
   weight.” (People of the State of California v. Macy’s Inc.; Statement of Decision; Superior Court of CA,
   County of Los Angeles; Case No. BC643040).

                                                                                                          4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 8 of 507 PageID #: 6426




   matter nor my compensation from Cornerstone Research is in any way contingent or based on
   the content of my opinion or the outcome of this or any other matter.
   13.    I was asked by counsel for Apple Inc. to design surveys that examine: (a) whether the
   design and appearance of the back of the Masimo and Apple smartwatches impact consumers’
   purchase decisions, and (b) whether consumers who are exposed to the design of the back of the
   Masimo W1 smartwatch and the back of the smartwatches of leading brands (including an Apple
   Watch) associate the design of the back of the Masimo smartwatch with any other company or
   brand. Documents that I considered in connection with preparation of this declaration are cited
   and referenced herein and/or listed in Appendix C.

   II.    SUMMARY OF CONCLUSIONS

          A.      The Design Impact Survey

   14.    A Design Impact Survey was conducted to assess whether the design of the backs of W1,
   Apple Watch Series 5, and Apple Watch Series 8 impacts the purchase decisions of a significant
   number of smartwatch purchasers. 4 The 590 qualified respondents, who expect to purchase a
   smartwatch within the next 12 months, were shown different features of a smartwatch and were
   asked to select all those that would impact their smartwatch purchase decisions. 5
   15.    The survey results indicated that the design of the backs of W1, Apple Watch Series 5,
   and Apple Watch Series 8 impact the purchase decisions of those products for a statistically
   significant percentage of consumers. The results are more pronounced among the majority of
   respondents who indicated a high familiarity with smartwatches. For example, 36.6% of the
   smartwatch-familiar respondents indicated that the design of the back of W1 will impact their


   4
     Throughout the survey questionnaires, I use an image of Apple Watch Series 4 for Apple Watch Series
   5 and an image of Apple Watch Series 6 for Apple Watch Series 8. I used those images because: (1) the
   design of the back of Apple Watch Series 4 is the same as Apple Watch Series 5 and the design of the
   back of Apple Watch Series 6 is the same as Apple Watch Series 8; and (2) Apple’s own website uses an
   image of Apple Watch Series 4 for Apple Watch Series 5 and an image of Apple Watch Series 6 for
   Apple Watch Series 8. However, I blurred the specific number of the model (e.g., “4” in Apple Watch
   Series 4) to avoid any respondent confusion.
   5
     See Exhibits 1–3. Data on 600 respondents were collected. However, 10 respondents were excluded
   from the analyses in this declaration because they answered that they considered 20 or more smartwatch
   brands before making their purchase decision or that they were familiar with 20 or more smartwatch
   brands. This resulted in a final sample size of 590 respondents.

                                                                                                            5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 9 of 507 PageID #: 6427




   purchase decision. 6 This finding is consistent with the prominent display of the design of W1’s
   back on the Masimo website. 7

           B.     The Association Survey

   16.     The Association Survey was designed to assess whether consumers who are exposed to
   the design of the back of W1 (versus a Control smartwatch) and the design of the backs of
   leading smartwatch brands (including either the design of the back of Apple Watch Series 5 or
   Apple Watch Series 8) associate the design of the back of W1 with any other company or brand.
   17.     A total of 787 qualified respondents, who expect to purchase a smartwatch in the next 12
   months, participated in the survey. 8 They were shown (in random order) the designs of the backs
   of five smartwatches (Apple Watch Series 5 or Apple Series 8, Samsung Galaxy Watch 5,
   Garmin Forerunner 955, Fitbit Sense 2, and Amazfit GTR 4) and were then asked about an
   additional smartwatch: W1 (the Test smartwatch) or the Ticwatch Pro 3 Ultra (the Control
   smartwatch). As indicated, within the Test and Control groups, about half of the respondents
   saw (alongside the other smartwatches) the Apple Watch Series 5 or the Apple Watch Series 8.
   They were asked whether they associated the smartwatch they were asked about (i.e., W1 or the
   Ticwatch) with any company or brand, or with no other company or brand.
   18.     The results showed a very large difference between the share of respondents who
   associated W1 with Apple compared with those who associated the Ticwatch with Apple.
   Among those also shown the Apple Watch Series 5 (among other smartwatches), 50.0% of the
   respondents associated W1 with Apple, compared with 10.0% of those asked about the Control
   watch. 9 And among those shown Apple Watch Series 8 (among other watches), 41.6% of the
   respondents associated W1 with Apple, compared with 14.8% of those asked about the Control
   watch. 10



   6
     See, Exhibit 1I.
   7
     https://www.masimopersonalhealth.com/products/masimo-w1
   8
     See, Exhibits 4–5. Data were collected on 801 respondents. However, 14 respondents were excluded
   from any analyses in this declaration because they answered that they considered 20 or more smartwatch
   brands before making their purchase decision. This resulted in a final sample size of 787 respondents.
   9
     This difference is statistically significant at the 99% confidence level (t = 9.7, p < .001).
   10
      This difference is statistically significant at the 99% confidence level (t = 6.2, p < .001).

                                                                                                            6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 10 of 507 PageID #: 6428




   III.   SURVEY TO ASSESS WHETHER THE APPEARANCE AND DESIGN OF THE
          BACK OF W1 IMPACTS CONSUMERS’ PURCHASE DECISIONS

          A.      Objective and Methodology

   19.    The objective of the survey was to assess whether the appearance / design of the back of
   W1 is a factor that impacts consumers’ purchase decisions (i.e., is material to consumers’
   purchase decisions). Prior research has shown that even simple, equal weighting of all
   attributes/features that a decision maker (e.g., a consumer) considers can generate rather accurate
   predictions of decisions (as compared with relying on intuition). 11 The respondents were 600
   consumers who expect to purchase a smartwatch within the next 12 months. In addition, when
   purchasing a smartwatch, they will make the decision as to which smartwatch they will buy.
   20.    The complete survey questionnaire is presented in Appendix D. The screenshots of the
   survey’s questionnaire as seen by respondents are presented in Appendix E. The information
   regarding terminated participants is presented in Appendix F.

          B.      Respondent Universe

   21.    To qualify for participation in the survey, prospective respondents had to meet the
   following criteria:
                  a. They were needed to meet the gender, age, and geographic quotas.
                  b. They and members of their household did not work in industries that might
                         make them unrepresentative (e.g., advertising, market research, a company
                         that makes or distributes smartwatches).
                  c. They will “probably” or “definitely” purchase a smartwatch within the next 12
                         months.
                  d. They will decide which smartwatch they purchase.
                  e. When purchasing a smartwatch, they will consider two or more brands.




   11
    See, e.g., Robyn Dawes (1979), “The Robust Beauty of Improper Linear Models in Decision Making,”
   American Psychologist, 34, 571–582.

                                                                                                       7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 11 of 507 PageID #: 6429




          C.      Main Questionnaire

   22.    Qualified respondents were first asked two preliminary questions about (i) their level of
   familiarity with smartwatches, and (ii) the number of smartwatch brands they are familiar with.
   23.    Respondents took one of three versions of the Design Impact Survey that differed with
   respect to the specific watch shown to them: Masimo (W1), Apple Watch Series 5, or Apple
   Watch Series 8. They received a brief description (and, for most, a depiction) of 13 smartwatch
   features, in random order (see Appendix D); each page presented about three features and their
   respective explanations. Respondents could review these explanations again for the remainder of
   the survey. Although smartwatches are often described using more features, 12 the 13 features
   included in the survey represent typical attributes on which smartwatches are described on
   websites where they are sold (e.g., the brand’s own website and online stores such as Best Buy
   and Amazon).
   24.    The features include two appearance aspects: the front/face of the smartwatch and the
   design of the back of the watch. The design of the back of the smartwatch is often displayed
   when a smartwatch is presented online to consumers, and in brick-and-mortar stores, consumers
   can view the smartwatch from both sides. For example, the webpage for the Masimo W1
   prominently displays the design of the back of W1. 13
   25.    One of the features served as a reference point, because, though it is a feature that may be
   desired by certain smartwatch consumers, it was not expected to significantly impact purchase
   decisions. The reference point feature was described as follows:

                  Two Time Zone Display:
                  Some smartwatches can display the time in two time zones at the same
                  time (such as both on the East coast and the West coast of the U.S.).




   12
      See, e.g., https://www.apple.com/apple-watch-series-8/?afid=p238%7CsyiinHxnI-
   dc_mtid_20925qtb42335_pcrid_643476278074_pgrid_142097054058_&cid=wwa-us-kwgo-watch-slid---
   Brand-AppleWatchSeries8--; https://www.garmin.com/en-US/p/777655#specs.
   13
      https://www.masimopersonalhealth.com/products/masimo-w1.

                                                                                                      8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 12 of 507 PageID #: 6430




   26.    Although this feature is offered with various smartwatch “faces,” including for Apple
   Watch (as well as for various analog watches), 14 my prior research 15 indicates that it does not
   enhance the watch’s purchase likelihood for many consumers (though it can positively impact
   the purchase likelihood of some consumers 16). Given that it generally does not enhance
   purchase likelihood, it offers a reference point for other features.
   27.    After reviewing the 13 features, respondents were presented with the features of one of
   the three watches (depending on the version of the survey they were taking). They were given
   the following instructions: 17

                  PLEASE READ CAREFULLY
                  Next, you will see a smartwatch described in terms of the features you just
                  reviewed. Please review carefully the specific features of the smartwatch.
                  You can review the meaning of each feature by clicking on it.


   28.    Respondents were then asked to mark those features that would impact their purchase
   decisions. In case they did not know or were not sure if a feature would impact their purchase
   decision, they were instructed to not select that feature: “If you don’t know or are not sure if a
   feature will impact your purchase decision, please do not select it.” 18

          D.      Summary of Findings

   29.    200 respondents were asked about one of the three smartwatches: W1, Apple Watch
   Series 5, or Apple Watch Series 8, for a total of 600 respondents who met the screening criteria
   outlined above (see also Appendix D). 10 respondents who answered that they considered 20 or
   more smartwatch brands in QS100 or that they were familiar with 20 or more smartwatch brands
   in Q1 are excluded from all analyses in this declaration.



   14
      See, e.g., https://apps.garmin.com/en-US/apps/230667a0-e5a6-49bc-aefd-856806870d7a.
   15
      Itamar Simonson, Ziv Carmon, and Suzanne O'Curry (1994), “Experimental Evidence on the Negative
   Effect of Product Features and Sales Promotions on Brand Choice,” Marketing Science, 13 (1), 23-40 (the
   article’s Study 3).
   16
      See, e.g., https://watchesyoucanafford.com/dual-time-and-gmt-
   watches/#:~:text=For%20the%20frequent%20traveler%20or,is%20quite%20practical%20as%20well.
   17
      See, Appendix E.
   18
      See, Appendix E.

                                                                                                        9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 13 of 507 PageID #: 6431




   30.       In one of the screener questions (QS100), respondents were asked approximately how
   many smartwatch brands they expected to consider before making their purchase decision.
   Respondents in the three surveys - W1, Apple Watch Series 5, and Apple Watch Series 8 -
   reported to consider an average of 3.3, 3.1, 3.3 smartwatch brands, respectively. Figure 1 shows
   the distributions of the responses for the three surveys.


   Figure 1: Number of Brands to Consider (Design Impact Survey) 19

   MASIMO
                                                                 Respondents
                  Number of Brands                                 N = 197
                           2                                       39.6%
                           3                                       35.0%
                           4                                       13.2%
                           5                                        6.6%
                           6                                        0.5%
                           7                                        0.0%
                           8                                        0.5%
                          9+                                        4.6%


   APPLE WATCH SERIES 5
                                                                 Respondents
                  Number of Brands                                 N = 198
                           2                                         43.9%
                           3                                         33.3%
                           4                                          9.6%
                           5                                          7.1%
                           6                                          3.0%
                           7                                          0.0%
                           8                                          1.0%
                          9+                                          2.0%




   19
        See also, Exhibits 1F, 2F, and 3F.

                                                                                                  10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 14 of 507 PageID #: 6432




   APPLE WATCH SERIES 8
                                                                     Respondents
                 Number of Brands                                      N = 195
                           2                                             41.0%
                           3                                             33.3%
                           4                                              8.7%
                           5                                              9.7%
                           6                                              1.5%
                           7                                              0.0%
                           8                                              1.0%
                          9+                                              4.6%


   31.       In the main questionnaire, respondents were first asked about their level of familiarity
   with smartwatches (Q1). Respondents in the 3 surveys – W1, Apple Watch Series 5, and Apple
   Watch Series 8 – reported an average familiarity of 6.8, 6.8, and 7.2, respectively, with 0
   indicating very unfamiliar and 10 indicating very familiar. Respondents who answered 6 – 10
   were classified as “familiar with smartwatches” whereas respondents who answered 0–5 were
   classified as “unfamiliar with smartwatches.” The majority of respondents in all three groups
   (between 68% and 74% of the respondents) were in the “familiar” category.


   Figure 2: Familiarity with smartwatch 20

   MASIMO
                                                                 Respondents
                        Familiarity                                N = 197
                        Familiar                                     68.0%
                        Unfamiliar                                   32.0%

   APPLE WATCH SERIES 5
                                                                 Respondents
                        Familiarity                                N = 198
                        Familiar                                     70.7%
                        Unfamiliar                                   29.3%




   20
        See also, Exhibits 1G, 2G, and 3G.

                                                                                                        11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 15 of 507 PageID #: 6433




   APPLE WATCH SERIES 8
                                                              Respondents
                        Familiarity                             N = 195
                        Familiar                                 73.8%
                        Unfamiliar                               26.2%


   32.       When asked about how many smartwatch brands they were familiar with (Q2), a majority
   of the qualified respondents were familiar with 2 – 4 smartwatch brands across all 3 surveys. On
   average, respondents reported that they were familiar with 3.4, 3.2, and 3.5 smartwatch brands in
   the surveys about W1, Apple Watch Series 5, and Apple Watch Series 8, respectively.


   Figure 3: Number of Familiar Brands 21

   MASIMO
                                                              Respondents
                    Number of Brands                            N = 197
                             0                                     1.5%
                             1                                     9.6%
                             2                                   25.4%
                             3                                   31.0%
                             4                                   11.2%
                             5                                   12.2%
                             6                                     2.5%
                             7                                     0.5%
                             8                                     2.5%
                            9+                                     3.6%




   21
        See also, Exhibits 1H, 2H, and 3H.

                                                                                                 12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 16 of 507 PageID #: 6434




   APPLE WATCH SERIES 5
                                                             Respondents
                Number of Brands                               N = 198
                         0                                        2.5%
                         1                                        7.6%
                         2                                       31.3%
                         3                                       32.8%
                         4                                        7.6%
                         5                                        9.1%
                         6                                        3.0%
                         7                                        2.0%
                         8                                        2.0%
                        9+                                        2.0%

   APPLE WATCH SERIES 8
                                                             Respondents
                Number of Brands                               N = 195
                         0                                        2.1%
                         1                                        5.6%
                         2                                       32.3%
                         3                                       26.7%
                         4                                       12.8%
                         5                                        9.7%
                         6                                        1.0%
                         7                                        1.5%
                         8                                        2.1%
                        9+                                        6.2%


   33.    The key question referred to features that would impact purchase decisions. That is,
   respondents were asked to select features that would impact their smartwatch purchase decisions.
   Across the three versions of the Design Impact Survey, between 28% and 32% of the
   respondents indicated that the appearance and design of the back of the watch would impact their
   purchase decision. For respondents classified as “smartwatch familiar,” between 32% and 37%
   indicated that the appearance and design of the back of the watch would impact their purchase
   decisions.




                                                                                                   13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 17 of 507 PageID #: 6435




   Figure 4: Features that Impact Purchase Decision, the Design Impact Survey 22

   MASIMO
                                                                          Familiar with
                                                       All Respondents    Smartwatches
                              Feature                     N = 197            N = 134
           Appearance and design: front of the watch       78.7%              82.1%
           Appearance and design: back of the watch        30.5%              36.6%
           Battery life                                    80.7%              79.9%
           Fitness tracking                                72.1%              72.4%
           Heart monitoring                                68.5%              70.1%
           Materials and finishes                          44.2%              45.5%
           Physiological data monitoring                   56.3%              56.7%
           Price                                           68.0%              70.9%
           Sleep tracking                                  59.4%              61.2%
           Two time zone display                           13.7%              15.7%
           Variety and number of apps                      60.4%              63.4%
           Water resistance                                72.1%              73.1%
           Weight                                          36.5%              41.8%

   APPLE WATCH SERIES 5
                                                                           Familiar with
                                                       All Respondents     Smartwatches
                              Feature                     N = 198             N = 140
           Appearance and design: front of the watch       75.8%               78.6%
           Appearance and design: back of the watch        28.3%               32.1%
           Battery life                                    77.3%               79.3%
           Fitness tracking                                60.6%               60.7%
           Heart monitoring                                61.6%               61.4%
           Materials and finishes                          37.9%               39.3%
           Physiological data monitoring                   47.5%               50.0%
           Price                                           73.7%               75.7%
           Sleep tracking                                  54.5%               55.7%
           Two time zone display                           12.1%               12.1%
           Variety and number of apps                      54.0%               54.3%
           Water resistance                                65.2%               65.0%
           Weight                                          35.4%               36.4%




   22
        See also, Exhibit 1I, 2I, and 3I.

                                                                                           14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 18 of 507 PageID #: 6436




   APPLE WATCH SERIES 8
                                                                                  Familiar with
                                                          All Respondents         Smartwatches
                            Feature                           N = 195                 N = 144
         Appearance and design: front of the watch               70.8%                 74.3%
         Appearance and design: back of the watch                31.8%                 33.3%
         Battery life                                            74.4%                 74.3%
         Fitness tracking                                        56.9%                 54.9%
         Heart monitoring                                        57.9%                 60.4%
         Materials and finishes                                  37.9%                 44.4%
         Physiological data monitoring                           42.1%                 46.5%
         Price                                                   67.7%                 66.0%
         Sleep tracking                                          42.6%                 46.5%
         Two time zone display                                   15.9%                 17.4%
         Variety and number of apps                              51.8%                 56.3%
         Water resistance                                        59.0%                 57.6%
         Weight                                                  34.9%                 35.4%


   34.     Thus, a significant percentage of respondents indicated that the design of the back of the
   smartwatch would impact their purchase decisions, and this finding is more pronounced for the
   smartwatch-familiar respondents. Moreover, even if one were to use the Two-Time Zone
   Display as a reference point (even though, as noted above, this feature is useful for a segment of
   consumers such as those who frequently travel), the differences are statistically significant. For
   example, based on all respondents who evaluated W1, a statistically significantly higher
   percentage of respondents (30.5% versus 13.7%) indicated that the design of the back of the
   watch impacts their purchase decisions (t = 4.25, p < .01).




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 19 of 507 PageID #: 6437




   IV.     SURVEY TO ASSESS WHETHER CONSUMERS ASSOCIATE THE DESIGN OF
           THE BACK OF W1 WITH APPLE

           A.      Objective and Methodology

   35.     The Association Survey was designed to test whether a consumer who is considering
   buying a smartwatch and is exposed to the design of the back of W1 as well as the design of the
   backs of leading smartwatches (including Apple Watch) is likely to associate or connect the
   design of the back of W1 with any other company or brand. It is noteworthy that a great deal of
   research has highlighted the extent and significance of the impact of design and aesthetic product
   aspects on the product’s value to the consumer and the product’s image and associations. 23
   36.     The survey participants were approximately 800 prospective smartwatch buyers who took
   one of two versions of the Association Survey that differed with respect to the Apple Watch
   included in the survey: Apple Watch Series 5 or Apple Watch Series 8. In each version of the
   survey, respondents were assigned to either a Test group (where they were asked about W1) or a
   Control group (where they were asked about a Ticwatch smartwatch). Both groups were asked
   whether they associated the design of the back of the Masimo/Ticwatch smartwatch with any
   other company or brand, such as one of the companies/brands of the leading smartwatch
   providers, or did not associate it with any other company or brand (or did not know).
   37.     The complete survey questionnaire is presented in Appendix D. The screenshots of the
   entire survey as seen by respondents, both the Test and Control versions, are presented in
   Appendix E. The information regarding terminated participants is presented in Appendix F.

           B.      Respondent Universe

   38.     To qualify for participation in the Association Survey, prospective respondents had to
   meet the following criteria:




   23
     For reviews, see, e.g., N. Crilly et al. (2004), “Seeing things: consumer response to the visual domain in
   product design,” Design Studies, 25, 547-577; B. Schmitt and A. Simonson (1997), Marketing Aesthetics,
   The Free Press.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 20 of 507 PageID #: 6438




         a. They were needed to meet the gender, age, and geographic quotas.
                   b. They and members of their household did not work in industries that might
                       make them unrepresentative (e.g., advertising, market research, a company
                       that makes or distributes smartwatches).
                   c. They will “probably” or “definitely” purchase a smartwatch within the next 12
                       months.
                   d. They will decide which smartwatch they purchase.
                   e. When purchasing a smartwatch, they will consider two or more brands.


            C.     Main Questionnaire

   39.      Qualified respondents were first given the following instruction:

                   •   Please take the survey in one session without interruption.
                   •   Please maximize your browser and keep it maximized for the survey.
                   •   While taking the survey, please do not consult any other websites or
                       other electronic or written materials.
                   •   Please answer all questions on your own without consulting any other
                       person.
                   •   If you normally wear glasses or contact lenses when viewing a
                       computer, tablet or smartphone screen, please put them on/in before
                       continuing to the next page.
                   •   If you don’t know an answer to a question or if you don’t have an
                       opinion, please don’t guess. Simply indicate this in your response by
                       selecting the “Don’t know / Unsure” option.


   40.      As indicated earlier, respondents took one of two versions of the Association Survey that
   differed with respect to the model of Apple Watch they were shown: Apple Watch Series 5 or
   Apple Watch Series 8. Respondents were shown pictures of the design of the backs of five
   smartwatches, including an Apple Watch whose model depends on the survey they took,
   Samsung Galaxy Watch 5, Garmin Forerunner 955, Fitbit Sense 2, and Amazfit GTR 4. These
   are recently-released smartwatches from popular companies and/or brands that sell
   smartwatches. Respondents were able to click on the pictures to enlarge the images.
   41.      For each version of the Association Survey respondents were randomly assigned to the
   Test and Control groups. In the Test group, respondents were shown the design of the back of


                                                                                                   17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 21 of 507 PageID #: 6439




   W1, while the respondents in the Control group were shown the design of the back of the
   Ticwatch Pro 3 Ultra. Respondents then were asked which smartwatch company or brand, if
   any, they associate with the design of the back of the smartwatch just shown. They were also
   given the following instructions:

                  Select one response, such as one of the companies/brands listed below, or
                  write in your own answer, or select the option to indicate that you do not
                  associate the design of the back of the smartwatch shown above with any
                  smart watch company or brand, or indicate that you don’t know or are
                  unsure.


   42.     The respondents could then select one of the five brands shown to them, or specify
   another brand, or indicate that they did not associate the design of the back of the watch shown
   with any brands, or indicate that they do not know. While answering the question, respondents
   could also review pictures of the design of backs of the five smartwatches previously shown to
   them.

           D.     Summary of Findings

   43.     A total of 801 respondents, who expect to purchase a smartwatch in the next 12 months,
   participated in the survey, comprising the Test and Control groups for the two versions of the
   survey. There were about 200 respondents in each group for each survey. All respondents met
   the screening criteria outlined above (see also Appendices D and E). Fourteen respondents who
   answered that they considered 20 or more smartwatch brands in QS100 were excluded from all
   analyses. For the survey that included the design of the back of Apple Watch Series 5, qualified
   respondents in the control group expected to consider an average of 3.1 smartwatch brands and
   respondents in the test group expected to consider an average of 3.0 smartwatch brands. For the
   survey that included the design of the back of Apple Watch Series 8, respondents in the control
   group expected to consider an average of 3.0 smartwatch brands and respondents in the test
   group expected to consider an average of 3.2 smartwatch brands.




                                                                                                      18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 22 of 507 PageID #: 6440




   Figure 6: Number of Brands to Consider, The Association Survey 24

   SURVEYS SHOWING APPLE WATCH SERIES 5
                                                         Control Group              Test Group
                     Number of Brands                       N = 200                  N = 194
                             2                                48.5%                     42.8%
                             3                                29.0%                     37.6%
                             4                                 8.0%                     10.3%
                             5                                 9.5%                      6.7%
                             6                                 1.5%                      0.5%
                             7                                 0.5%                      0.0%
                             8                                 0.5%                      0.0%
                             9+                                2.5%                      2.1%

   SURVEYS SHOWING APPLE WATCH SERIES 8
                                                         Control Group              Test Group
                     Number of Brands                       N = 196                  N = 197
                             2                                43.9%                     41.1%
                             3                                35.7%                     34.5%
                             4                                 5.1%                      8.6%
                             5                                11.2%                     10.7%
                             6                                 1.0%                      1.5%
                             7                                 2.0%                      0.5%
                             8                                 0.0%                      1.0%
                             9+                                1.0%                      2.0%


   44.       The results of the surveys demonstrated that the majority of respondents indicated that
   the appearance and design of smartwatches impacted their purchase decision. This applies to all
   participants in the Association Survey (see QS110). This screener question also identifies
   respondents whose purchase decision was impacted by fitness features, including physiological
   data monitoring, sleep tracking, fitness tracking, and heart monitoring.




   24
        See also, Exhibits 4F and 5F.

                                                                                                       19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 23 of 507 PageID #: 6441




   Figure 7: Features that Impact Purchase Decision, Association Survey 25

   SURVEYS SHOWING APPLE WATCH SERIES 5
                                                                    Control Group                Test Group
                              Feature                                  N = 200                    N = 194
        Appearance and design of the watch                               62.0%                          69.1%
        Battery life                                                     70.5%                          77.8%
        Fitness tracking                                                 58.5%                          66.0%
        Heart monitoring                                                 51.0%                          53.1%
        Materials and finishes                                           41.0%                          42.8%
        Physiological data monitoring                                    41.0%                          40.7%
        Price                                                            75.5%                          79.4%
        Sleep tracking                                                   43.0%                          45.4%
        Variety and number of apps                                       42.0%                          37.6%
        Water resistance                                                 67.5%                          69.6%
        Weight                                                           38.0%                          32.5%
        Other                                                             1.0%                          1.5%
        None of the above                                                 1.0%                          1.0%


   SURVEYS SHOWING APPLE WATCH SERIES 8
                                                               Control Group                    Test Group
                            Feature                               N = 196                        N = 197
        Appearance and design of the watch                                56.1%                           63.5%
        Battery life                                                      71.4%                           77.2%
        Fitness tracking                                                  70.9%                           68.0%
        Heart monitoring                                                  55.1%                           50.8%
        Materials and finishes                                            42.3%                           38.6%
        Physiological data monitoring                                     40.8%                           35.5%
        Price                                                             76.0%                           77.7%
        Sleep tracking                                                    48.5%                           46.2%
        Variety and number of apps                                        39.3%                           40.6%
        Water resistance                                                  64.3%                           62.4%
        Weight                                                            33.2%                           39.1%
        Other                                                              1.0%                            1.0%
        None of the above                                                  0.5%                            1.5%


   45.          Importantly, the results of Q1 showed a very large difference between the share of
   respondents who associated W1 with Apple and those who associated the Ticwatch with Apple.
   Among those shown Apple Watch Series 5 (among other watches), 50.0% of the respondents
   associated W1 with Apple, compared with 10.0% of those asked about the Control watch. 26 And


   25
        See also, Exhibits 4G and 5G.
   26
        This difference is statistically significant at the 99% confidence level (t = 9.7, p < .001).

                                                                                                                  20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 24 of 507 PageID #: 6442




   among those shown Apple Watch Series 8 (among other watches), 41.6% of respondents
   associated W1 with Apple, compared with 14.8% of those asked about the Control watch. 27


   Figure 8: Associated Brand 28

   SURVEYS SHOWING APPLE WATCH SERIES 5
                                             Fitness Group                              Overall Group

                                   Control Group          Test Group          Control Group             Test Group
                Brand                 N = 158              N = 159               N = 200                 N = 194
              Amazfit                   18.4%                   5.7%               19.5%                   4.6%
              Apple                     10.1%                50.9%                 10.0%                  50.5%
              Fitbit                    10.1%                10.7%                  9.0%                   9.3%
              Garmin                    18.4%                   7.5%               17.5%                   7.7%
              Samsung                   21.5%                13.2%                 22.5%                  14.4%
              Other                      0.6%                   0.6%                0.5%                   1.0%
              Don't know                 9.5%                   6.3%               10.0%                   7.7%
              No association            11.4%                   5.0%               11.0%                   4.6%


   SURVEYS SHOWING APPLE WATCH SERIES 8
                                                Fitness Group                            Overall Group

                                     Control Group         Test Group          Control Group            Test Group
                 Brand                  N = 173             N = 165               N = 196                N = 197
            Amazfit                       18.5%                 4.2%                17.3%                   3.6%
            Apple                         15.0%                 43.6%               14.8%                  41.6%
            Fitbit                        12.7%                 6.1%                13.3%                   8.1%
            Garmin                        14.5%                 9.7%                13.3%                   8.6%
            Samsung                       25.4%                 20.0%               23.5%                  20.8%
            Other                          0.0%                 0.6%                 0.0%                   0.5%
            Don't know                     4.6%                 4.8%                 7.1%                   6.6%
            No association                 9.2%                 10.9%               10.7%                  10.2%


   V.         CONCLUSION

   46.        In conclusion, the results of the Design Impact Survey indicated that the design of the
   back of W1, Apple Watch Series 5, and Apple Watch Series 8 impacts the purchase decisions of
   a statistically significant percentage of consumers. The results are more pronounced among the


   27
        This difference is statistically significant at the 99% confidence level (t = 6.2, p < .001).
   28
        See also, Exhibits 4H and 5H.

                                                                                                                     21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 25 of 507 PageID #: 6443




   majority of respondents who indicated a high familiarity with smartwatches. For example,
   36.6% of the smartwatch-familiar respondents indicated that the design of the back of W1 will
   impact their purchase decision. This finding is consistent with the prominent display of W1’s
   back design on Masimo’s website.
   47.        The results of the Association Survey showed that, among respondents who view the
   design of the back of W1 and the design of the backs of other leading smartwatches, there was a
   very large difference between the share of respondents who associated W1 with Apple as
   compared to respondents who associate a Control smartwatch with Apple. Specifically, among
   those shown the Apple Watch Series 5 (among other watches), 50.0% of respondents associated
   W1 with Apple, compared with 10.0% of those asked about the Control watch. 29 And among
   those shown Apple Watch Series 8 (among other watches), 41.6% of respondents associated W1
   with Apple, compared with 14.8% of those asked about the Control watch. 30




   Date : 1/27/2023
                                                         Itamar Simonson, Ph.D.




   29
        This difference is statistically significant at the 99% confidence level (t = 9.7, p < .001).
   30
        This difference is statistically significant at the 99% confidence level (t = 6.2, p < .001).

                                                                                                        22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 26 of 507 PageID #: 6444
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 27 of 507 PageID #: 6445
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 28 of 507 PageID #: 6446
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 29 of 507 PageID #: 6447
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 30 of 507 PageID #: 6448
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 31 of 507 PageID #: 6449
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 32 of 507 PageID #: 6450
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 33 of 507 PageID #: 6451
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 34 of 507 PageID #: 6452
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 35 of 507 PageID #: 6453
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 36 of 507 PageID #: 6454
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 37 of 507 PageID #: 6455
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 38 of 507 PageID #: 6456
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 39 of 507 PageID #: 6457
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 40 of 507 PageID #: 6458
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 41 of 507 PageID #: 6459
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 42 of 507 PageID #: 6460
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 43 of 507 PageID #: 6461
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 44 of 507 PageID #: 6462
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 45 of 507 PageID #: 6463
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 46 of 507 PageID #: 6464
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 47 of 507 PageID #: 6465
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 48 of 507 PageID #: 6466
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 49 of 507 PageID #: 6467
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 50 of 507 PageID #: 6468
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 51 of 507 PageID #: 6469
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 52 of 507 PageID #: 6470
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 53 of 507 PageID #: 6471



                           Exhibit 4A
           Association Survey – Apple Watch Series 5[1]
               Overall Respondent Breakdown[2]

                                                                                     [3]
                                                  Overall           Control Group             Test Group [4]
         Attribute    Target Quota                N = 394              N = 200                  N = 194
     Gender / Age
         Male 18–39       25%                      24.1%                 24.5%                    23.7%
         Male 40+         25%                      25.4%                 25.0%                    25.8%
         Female 18–39     25%                      25.1%                 25.0%                    25.3%
         Female 40+       25%                      25.4%                 25.5%                    25.3%
         Other 18–39       NA                       0.0%                  0.0%                     0.0%
         Other 40+         NA                       0.0%                  0.0%                     0.0%

     Region
          Midwest                22%               22.3%                 22.5%                    22.2%
          Northeast              18%               17.8%                 18.0%                    17.5%
          South                  35%               34.8%                 34.5%                    35.1%
          West                   25%               25.1%                 25.0%                    25.3%

     Note:
     [1] In this survey, respondents were asked a multiple choice question on brand association, and were shown
         the backs of the smartwatches. For the Apple watch option, respondents were shown an image of the
         back of the Apple Watch Series 5.
     [2] One respondent in the Control Group and six respondents in the Test Group answered that they
         considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
     [3] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and
         were asked which smartwatch company or brand they associated with the design of the back of
         the shown watch.
     [4] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked
         which smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                  Page 28
              Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 54 of 507 PageID #: 6472



                              Exhibit 4B
             Association Survey – Apple Watch Series 5[1]
QS50: Do you, or does any member of your household, currently work for
                       any of the following?[2][3]

                                                                                          Control Group[5]                       Test Group[6]
                                            [4]
                                 Employer                                                    N = 200                               N = 194
        A company that makes or distributes computer chips                                       1.5%                                 2.1%
        A company that makes or distributes televisions                                          1.0%                                 0.0%
        A company that makes or distributes video game consoles                                  0.5%                                 1.5%
        None of these                                                                           97.5%                                96.4%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the smartwatches. For the Apple
    watch option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] All respondents who answered that they or a family member worked for "A company that makes or distributes smartwatches," "A market research firm or a
    marketing research department of a company," or "An advertising, public relations or marketing agency or advertising department of a company" were
    terminated from the survey. One respondent in the Control Group and six respondents in the Test Group answered that they considered 20 or more
    smartwatch brands in QS100 and have been excluded from the analysis.
[3] Percentages shown may not sum to 100% because respondents were allowed to select more than one response for the question.
[4] The order of these options was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.




                                                                                                                                                            Page 29
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 55 of 507 PageID #: 6473



                        Exhibit 4C
      Association Survey – Apple Watch Series 5[1]
 QS60: Which of the following devices are you using right
               now to take this survey?[2]

                                                    Control Group[4]                           Test Group[5]
                      [3]
              Device                                   N = 200                                   N = 194
       Desktop computer                                   17.5%                                     17.5%
       Laptop computer                                    21.5%                                     25.3%
       Smartphone                                         58.5%                                     52.6%
       Tablet                                              2.5%                                      4.6%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] All respondents who answered that they were using a cell phone (not a smartphone) or other device were terminated from
    the survey. One respondent in the Control Group and six respondents in the Test Group answered that they considered 20
    or more smartwatch brands in QS100 and have been excluded from the analysis.
[3] The order of these options was randomized when presented in the survey.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch
    company or brand they associated with the design of the back of the shown watch.




                                                                                                                              Page 30
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 56 of 507 PageID #: 6474



                            Exhibit 4D
           Association Survey – Apple Watch Series 5[1]
          QS70: Which of the following types of consumer
                  electronics do you own?[2][3]

                                                     Control Group[5]                            Test Group[6]
              Device[4]                                 N = 200                                    N = 194
        Gaming console                                     70.5%                                      68.6%
        Smartphone                                         97.0%                                      97.4%
        Smartwatch                                         58.5%                                      56.7%
        Tablet                                             78.0%                                      78.4%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] All respondents who answered "None of the above" or "Don't know" were terminated from the survey. One respondent in
    the Control Group and six respondents in the Test Group answered that they considered 20 or more smartwatch brands in
    QS100 and have been excluded from the analysis.
[3] Percentages shown do not sum to 100% because respondents were allowed to select more than one response for the
    question.
[4] The order of these options was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                              Page 31
                  Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 57 of 507 PageID #: 6475



                                 Exhibit 4E
               Association Survey – Apple Watch Series 5[1]
QS80: Which of the following types of consumer electronics products do you
               expect to purchase in the next 12 months?[2]

                                                                                                Control Group[4]                          Test Group[5]
                                                    [3]
                               Purchase Decision                                                   N = 200                                  N = 194
        I definitely will purchase [a smartwatch] in the next 12 months                                39.2%                                   44.5%
        I probably will purchase [a smartwatch] in the next 12 months                                  60.8%                                   55.5%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the smartwatches. For the Apple watch
    option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] All respondents who answered "I may or may not purchase [a smartwatch] in the next 12 months," "I probably will not purchase [a smartwatch] in the next 12
    months," and "I definitely will not purchase [a smartwatch] in the next 12 months" were terminated from the survey. One respondent in the Control Group and six
    respondents in the Test Group answered that they considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
[3] Respondents were asked the same question about Gaming consoles, Smartphones, and Tablets.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch company or brand they associated
    with the design of the back of the shown watch.




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 58 of 507 PageID #: 6476



                         Exhibit 4F
         Association Survey – Apple Watch Series 5[1]
    QS100: If/when you purchase a new smartwatch in the
    next 12 months, approximately how many smartwatch
    brands do you expect to consider before making your
                    purchase decision?[2]

                                                                  Control Group [4]                 Test Group [5]
                                      [3]
                 Number of Brands                                    N = 200                          N = 194
                           2                                            48.5%                           42.8%
                           3                                            29.0%                           37.6%
                           4                                             8.0%                           10.3%
                           5                                             9.5%                            6.7%
                           6                                             1.5%                            0.5%
                           7                                             0.5%                            0.0%
                           8                                             0.5%                            0.0%
                          9+                                             2.5%                            2.1%

 Note:
 [1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of
     the smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch
     Series 5.
 [2] All respondents who answered that they considered only zero or one smartwatch brand were terminated from the survey.
     One respondent in the Control Group and six respondents in the Test Group answered that they considered 20 or more
     smartwatch brands in QS100 and have been excluded from the analysis.
 [3] Respondents in the Control Group expected to consider an average of 3.1 smartwatch brands and respondents in the
     Test Group expected to consider an average of 3.0 smartwatch brands.
 [4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
     smartwatch company or brand they associated with the design of the back of the shown watch.
 [5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
     smartwatch company or brand they associated with the design of the back of the shown watch.




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 59 of 507 PageID #: 6477



                          Exhibit 4G
        Association Survey – Apple Watch Series 5[1]
    QS110: Which, if any, of the following features do you
   expect will impact your decision of which smartwatch to
                        purchase?[2][3]

                                                                                     [5]                          [6]
                                                                    Control Group                     Test Group
                        Feature[4]                                     N = 200                          N = 194
  Appearance and design of the watch                                      62.0%                          69.1%
  Battery life                                                            70.5%                          77.8%
  Fitness tracking                                                        58.5%                          66.0%
  Heart monitoring                                                        51.0%                          53.1%
  Materials and finishes                                                  41.0%                          42.8%
  Physiological data monitoring                                           41.0%                          40.7%
  Price                                                                   75.5%                          79.4%
  Sleep tracking                                                          43.0%                          45.4%
  Variety and number of apps                                              42.0%                          37.6%
  Water resistance                                                        67.5%                          69.6%
  Weight                                                                  38.0%                          32.5%
  Other                                                                    1.0%                           1.5%
  None of the above                                                        1.0%                           1.0%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] One respondent in the Control Group and six respondents in the Test Group answered that they considered 20 or more
    smartwatch brands in QS100 and have been excluded from the analysis
[3] Percentages shown do not sum to 100% because respondents were allowed to select more than one response for the
    question.
[4] The order of these features was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch
    company or brand they associated with the design of the back of the shown watch.




                                                                                                                              Page 34
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 60 of 507 PageID #: 6478



                          Exhibit 4H
        Association Survey – Apple Watch Series 5[1]
   Q1: Which, if any, smartwatch company or brand do you
   associate with the design of the back of the smartwatch
                       shown above?[2]

                                             Fitness Group[3]                                    Overall Group
                                                                                                                              [5]
                                 Control Group [4]          Test Group [5]          Control Group [4]          Test Group
          Brand                     N = 158                   N = 159                  N = 200                   N = 194
        Amazfit                        18.4%                     5.7%                     19.5%                     4.6%
        Apple                          10.1%                    50.9%                     10.0%                    50.5%
        Fitbit                         10.1%                    10.7%                      9.0%                     9.3%
        Garmin                         18.4%                     7.5%                     17.5%                     7.7%
        Samsung                        21.5%                    13.2%                     22.5%                    14.4%
        Other                           0.6%                     0.6%                      0.5%                     1.0%
        Don't know                      9.5%                     6.3%                     10.0%                     7.7%
        No association                 11.4%                     5.0%                     11.0%                     4.6%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 5.
[2] One respondent in the Control Group and six respondents in the Test Group answered that they considered 20 or more
    smartwatch brands in QS100 and have been excluded from the analysis.
[3] "Fitness Group" consists of respondents who indicate in QS110 that at least one of the fitness-related smartwatch
    features (physiological data monitoring, sleep tracking, fitness tracking, and heart monitoring) will impact their purchase
    decision.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                                    Page 35
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 61 of 507 PageID #: 6479



                           Exhibit 5A
           Association Survey – Apple Watch Series 8[1]
               Overall Respondent Breakdown[2]

                                                                                     [3]                    [4]
                                                  Overall           Control Group             Test Group
         Attribute    Target Quota                N = 393              N = 196                  N = 197
     Gender / Age
         Male 18–39       25%                      24.9%                 26.0%                    23.9%
         Male 40+         25%                      24.9%                 24.5%                    25.4%
         Female 18–39     25%                      25.2%                 25.5%                    24.9%
         Female 40+       25%                      24.9%                 24.0%                    25.9%
         Other 18–39       NA                       0.0%                  0.0%                     0.0%
         Other 40+         NA                       0.0%                  0.0%                     0.0%

     Region
          Midwest                22%               21.9%                 21.9%                    21.8%
          Northeast              18%               17.6%                 17.3%                    17.8%
          South                  35%               35.4%                 35.2%                    35.5%
          West                   25%               25.2%                 25.5%                    24.9%

     Note:
     [1] In this survey, respondents were asked a multiple choice question on brand association, and were shown
         the backs of the smartwatches. For the Apple watch option, respondents were shown an image of the
         back of the Apple Watch Series 8.
     [2] Four respondents in the Control Group and three respondents in the Test Group answered that they
         considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
     [3] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were
         asked which smartwatch company or brand they associated with the design of the back of the shown
         watch.
     [4] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked
         which smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                  Page 36
              Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 62 of 507 PageID #: 6480



                              Exhibit 5B
             Association Survey – Apple Watch Series 8[1]
QS50: Do you, or does any member of your household, currently work for
                       any of the following?[2][3]

                                                                                          Control Group[5]                       Test Group[6]
                                 Employer[4]                                                 N = 196                               N = 197
        A company that makes or distributes computer chips                                       1.0%                                 1.0%
        A company that makes or distributes televisions                                          0.5%                                 1.0%
        A company that makes or distributes video game consoles                                  1.5%                                 1.0%
        None of these                                                                           98.5%                                98.0%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the smartwatches. For the Apple
    watch option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] All respondents who answered that they or a family member worked for "A company that makes or distributes smartwatches," "A market research firm or a
    marketing research department of a company," or "An advertising, public relations or marketing agency or advertising department of a company" were
    terminated from the survey. Four respondents in the Control Group and three respondents in the Test Group answered that they considered 20 or more
    smartwatch brands in QS100 and have been excluded from the analysis.
[3] Percentages shown may not sum to 100% because respondents were allowed to select more than one response for the question.
[4] The order of these options was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.




                                                                                                                                                            Page 37
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 63 of 507 PageID #: 6481



                         Exhibit 5C
       Association Survey – Apple Watch Series 8[1]
  QS60: Which of the following devices are you using right
                now to take this survey?[2]

                                                     Control Group[4]                            Test Group[5]
              Device[3]                                 N = 196                                    N = 197
        Desktop computer                                   12.8%                                      12.2%
        Laptop computer                                    13.8%                                      12.7%
        Smartphone                                         68.4%                                      68.5%
        Tablet                                              5.1%                                       6.6%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] All respondents who answered that they were using a cell phone (not a smartphone) or other device were terminated from
    the survey. Four respondents in the Control Group and three respondents in the Test Group answered that they
    considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
[3] The order of these options was randomized when presented in the survey.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                              Page 38
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 64 of 507 PageID #: 6482



                            Exhibit 5D
           Association Survey – Apple Watch Series 8[1]
          QS70: Which of the following types of consumer
                  electronics do you own?[2][3]

                                                    Control Group[5]                             Test Group[6]
                      [4]
              Device                                   N = 196                                     N = 197
        Gaming console                                     79.6%                                      76.6%
        Smartphone                                         99.5%                                      99.0%
        Smartwatch                                         63.3%                                      61.9%
        Tablet                                             84.2%                                      81.2%


Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] All respondents who answered "None of the above" or "Don't know" were terminated from the survey. Four respondents in
    the Control Group and three respondents in the Test Group answered that they considered 20 or more smartwatch brands
    in QS100 and have been excluded from the analysis.
[3] Percentages shown do not sum to 100% because respondents were allowed to select more than one response for the
    question.
[4] The order of these options was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
    smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                              Page 39
                  Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 65 of 507 PageID #: 6483



                                 Exhibit 5E
               Association Survey – Apple Watch Series 8[1]
QS80: Which of the following types of consumer electronics products do you
               expect to purchase in the next 12 months?[2]

                                                                                               Control Group[4]                          Test Group[5]
                                                   [3]
                               Purchase Decision                                                  N = 196                                  N = 197
        I definitely will purchase [a smartwatch] in the next 12 months                               41.6%                                   49.5%
        I probably will purchase [a smartwatch] in the next 12 months                                 58.4%                                   50.5%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the smartwatches. For the Apple watch
    option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] All respondents who answered "I may or may not purchase [a smartwatch] in the next 12 months," "I probably will not purchase [a smartwatch] in the next 12
    months," and "I definitely will not purchase [a smartwatch] in the next 12 months" were terminated from the survey. Four respondents in the Control Group and
    three respondents in the Test Group answered that they considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
[3] Respondents were asked the same question about Gaming consoles, Smartphones, and Tablets.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch company or brand they associated
    with the design of the back of the shown watch.




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 66 of 507 PageID #: 6484



                         Exhibit 5F
         Association Survey – Apple Watch Series 8[1]
    QS100: If/when you purchase a new smartwatch in the
    next 12 months, approximately how many smartwatch
    brands do you expect to consider before making your
                    purchase decision?[2]

                                                                                   [4]                            [5]
                                                                  Control Group                     Test Group
                                       [3]
                 Number of Brands                                    N = 196                          N = 197
                          2                                            43.9%                            41.1%
                          3                                            35.7%                            34.5%
                          4                                             5.1%                             8.6%
                          5                                            11.2%                            10.7%
                          6                                             1.0%                             1.5%
                          7                                             2.0%                             0.5%
                          8                                             0.0%                             1.0%
                         9+                                             1.0%                             2.0%

  Note:
  [1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of
      the smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch
      Series 8.
  [2] All respondents who answered that they considered only zero or one smartwatch brand were terminated from the
      survey. Four respondents in the Control Group and three respondents in the Test Group answered that they
      considered 20 or more smartwatch brands in QS100 and have been excluded from the analysis.
  [3] Respondents in the Control Group expected to consider an average of 3.0 smartwatch brands and respondents in the
      Test Group expected to consider an average of 3.2 smartwatch brands.
  [4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which
      smartwatch company or brand they associated with the design of the back of the shown watch.
  [5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which
      smartwatch company or brand they associated with the design of the back of the shown watch.




                                                                                                                            Page 41
  Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 67 of 507 PageID #: 6485



                          Exhibit 5G
       Association Survey – Apple Watch Series 8[1]
QS110: Which, if any, of the following features do you expect
     will impact your decision of which smartwatch to
                       purchase?[2][3]

                                                                                  [5]                               [6]
                                                                  Control Group                        Test Group
                      Feature[4]                                     N = 196                             N = 197
  Appearance and design of the watch                                    56.1%                              63.5%
  Battery life                                                          71.4%                              77.2%
  Fitness tracking                                                      70.9%                              68.0%
  Heart monitoring                                                      55.1%                              50.8%
  Materials and finishes                                                42.3%                              38.6%
  Physiological data monitoring                                         40.8%                              35.5%
  Price                                                                 76.0%                              77.7%
  Sleep tracking                                                        48.5%                              46.2%
  Variety and number of apps                                            39.3%                              40.6%
  Water resistance                                                      64.3%                              62.4%
  Weight                                                                33.2%                              39.1%
  Other                                                                  1.0%                               1.0%
  None of the above                                                      0.5%                               1.5%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the
    smartwatches. For the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] Four respondents in the Control Group and three respondents in the Test Group answered that they considered 20 or more
    smartwatch brands in QS100 and have been excluded from the analysis.
[3] Percentages shown do not sum to 100% because respondents were allowed to select more than one response for the question.
[4] The order of these features was randomized when presented in the survey.
[5] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch
    company or brand they associated with the design of the back of the shown watch.
[6] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch
    company or brand they associated with the design of the back of the shown watch.



                                                                                                                                Page 42
             Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 68 of 507 PageID #: 6486



                               Exhibit 5H
               Association Survey – Apple Watch Series 8[1]
 Q1: Which, if any, smartwatch company or brand do you associate with
       the design of the back of the smartwatch shown above?[2]

                                                                       Fitness Group[3]                                 Overall Group
                                                                                                                                                  [5]
                                                            Control Group [4]        Test Group [5]         Control Group [4]        Test Group
                        Brand                                  N = 173                 N = 165                 N = 196                 N = 197
      Amazfit                                                    18.5%                    4.2%                   17.3%                    3.6%
      Apple                                                      15.0%                   43.6%                   14.8%                   41.6%
      Fitbit                                                     12.7%                    6.1%                   13.3%                    8.1%
      Garmin                                                     14.5%                    9.7%                   13.3%                    8.6%
      Samsung                                                    25.4%                   20.0%                   23.5%                   20.8%
      Other                                                       0.0%                    0.6%                    0.0%                    0.5%
      Don't know                                                  4.6%                    4.8%                    7.1%                    6.6%
      No association                                              9.2%                   10.9%                   10.7%                   10.2%

Note:
[1] In this survey, respondents were asked a multiple choice question on brand association, and were shown the backs of the smartwatches. For
    the Apple watch option, respondents were shown an image of the back of the Apple Watch Series 8.
[2] Four respondents in the Control Group and three respondents in the Test Group answered that they considered 20 or more smartwatch brands in QS100
    and have been excluded from the analysis.
[3] "Fitness Group" consists of respondents who indicate in QS110 that at least one of the fitness-related smartwatch features (physiological data
    monitoring, sleep tracking, fitness tracking, and heart monitoring) will impact their purchase decision.
[4] "Control Group" indicates respondents were shown an image of the back of a Ticwatch watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.
[5] "Test Group" indicates respondents were shown an image of the back of a Masimo watch and were asked which smartwatch company or brand they
    associated with the design of the back of the shown watch.




                                                                                                                                                        Page 43
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 69 of 507 PageID #: 6487




                         APPENDIX A
                             CV




                                        A-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 70 of 507 PageID #: 6488




                                         Itamar Simonson

ADDRESSES                                                                 August 2022

    Home Office:                                          (University) Office:
     1561 Newlands Ave.                                 Graduate School of Business
     Burlingame, CA 94010                                655 Knight Center, Stanford University
     Cell: (650) 387‐7677                               Stanford, CA 94305‐5015
     itamar.simonson@gmail.com                              itamars@stanford.edu


    EDUCATION

    Ph.D.                    Duke University, Fuqua School of Business
                             Major: Marketing; May 1987

    M.B.A.                   UCLA, Graduate School of Management
                             Major: Marketing; March 1978

    B.A.                     Hebrew University, Jerusalem, Israel
                             Major: Economics, Political Science; August 1976

    ACADEMIC POSITIONS

    July 1987 ‐ June 1993    University of California, Berkeley
                              Haas School of Business
                              Assistant Professor

    July 1993 – Aug. 1996    Stanford Graduate School of Business
                               Associate Professor of Marketing

    Sept. 1996 – Aug. 1999       Stanford Graduate School of Business
                                 Professor of Marketing

    Sept. 1999 – Dec. 2020       Stanford Graduate School of Business
                                 Sebastian S. Kresge Professor of Marketing

    Jan. 2021 – Present      Stanford Graduate School of Business
                             Sebastian S. Kresge Emeritus Professor of Marketing

    1994 – 2000                  Stanford Graduate School of Business
                                 Marketing Group Head

    2000, 2004, 2012             Visiting Professor of Marketing: MIT; NYU; Columbia


                                               A-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 71 of 507 PageID #: 6489




   AWARDS
   ‐ Best Article in the Journal of Consumer Research during the period 1987‐1989.
   ‐ The 1997 O'Dell Award (for the Journal of Marketing Research article that has had the greatest
     impact on the marketing field in the previous five years).
   ‐ The 2001 O’Dell Award.
   ‐ Honorary Doctorate: University of Paris II – Sorbonne Universities.
   ‐ The American Marketing Association Best Book in Marketing Award.
   ‐ Elected Fellow of the Association for Consumer Research.
   - The 2007 Society for Consumer Psychology Distinguished Scientific Achievement Award.
   - Finalist for the O'Dell Award: 1995; 2002; 2004; 2005; 2007; 2008; 2012.
   - Best Article in the Journal of Public Policy & Marketing during the period 1993‐1995.
   - The 2016 Association for Consumer Research Conference Best Paper Award.
   - The 2002 American Marketing Association Award for the Best Article on Services Marketing.
   ‐ The Association for Consumer Research 1990 "Ferber Award."
   ‐ Finalist for the 2003 Paul Green Award (for the Journal of Marketing Research article with the
     greatest potential to contribute to the practice of marketing research).
   ‐ Runner‐up for the 2005 Journal of Consumer Research Best Article Award.
   ‐ Winner in the Marketing Science Institute and Direct Marketing Association competition on
     "Understanding and Measuring the Effect of Direct Marketing."
   ‐ Runner‐up for the 1993 California Management Review Best Article Award.
   ‐ National Science Foundation Grant (for 1996‐8).
   ‐ Outstanding Reviewer Award, Journal of Consumer Research, 2005, 2009.
   ‐ Honorable Mention for the Sloan Executive Program Teaching Award.


   TEACHING EXPERIENCE
   Stanford University:
          Marketing Management (for MBAs and the Sloan Executive Program)
          Marketing to Businesses (for MBAs); Technology Marketing (for MBAs)
          Critical Analytical Thinking (for MBAs)
          Research Methods for Studying Consumer Behavior (a Ph.D. Course)
          Applied Behavioral Economics (at the MBA and Ph.D. levels)
          Buyer Behavior (a Ph.D. course)
   University Of California, Berkeley:
          MBA, Ph.D. and Executive Education Classes on Marketing Management and
          Consumer Behavior.


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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 72 of 507 PageID #: 6490




   BUSINESS EXPERIENCE

   October 1978‐August 1983 Motorola, Inc.
   Worked in an international subsidiary; responsibilities included marketing research and
   customer analysis, customer surveys, definition of new products, pricing, analysis of sales force
   performance, competitive intelligence, and forecasting. Conducted studies of consumers and
   markets for various communications products. Last two years served as Product Marketing
   Manager for communications products.

   Consulting:

   Consulted for clients from a wide range of industries such as technology, communications,
   services, and manufacturing sectors.
   Expert witness assignments: trademark infringement, deceptive advertising, surveys, consumer
   behavior, marketing management, branding, retailing, distribution, assessment of demand
   drivers and feature value, and other marketing issues.


   PUBLICATIONS

   Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson, “The Upscaling Effect,” Journal of
      Consumer Research, Forthcoming.
   Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson (2022), “A Reexamination of the
      Impact of Decision Conflict on Choice Deferral,” Management Science, Forthcoming.
   Itamar Simonson (2022), “Experimentation, Serendipity, and Strategy in Research Discovery,”
       Review of Marketing Research.
   David Gal and Itamar Simonson (2021), “Predicting Consumers’ Choices in the Age of the
      Internet, AI, and Almost Perfect Tracking: Some Things Change, the Key Challenges Do Not,”
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   Itamar Simonson (2020), “The Real Time Cognitive Value of Eating Kale, Helping, and Doing
       Something Special: “Concurrent Experience Evaluation” (CEE), Its Drivers and Moderators,
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    Franklin Shaddy, Ayelet Fishbach, and Itamar Simonson (2021), “Tradeoffs in Choice,” Annual
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   Haiyang Yang, Ziv Carmon, and Itamar Simonson (2020), “Preference for Practical versus
     Theoretical Knowledge: Conceptualization and Consumer Behavior Predictions,” Review of
     Marketing Research, Vol. 17, Dawn Iaccabucci Editor.
    Louise Twito, Salomon Israel, Itamar Simonson, and Ariel Knafo‐Noam (2019), “The
      Motivational Aspect of Children’s Delayed Gratification: Values and Decision Making in
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        Journal of Environmental Analysis & Ecology Studies, Vol. 3.
   Itamar Simonson and Ran Kivetz (2018), “Bringing (Contingent) Loss Aversion Down to Earth – A
      Comment,” Journal of Consumer Psychology, Journal of Consumer Psychology, 28, 517‐522.
   Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson (2018), “The Asymmetric Impact of
      Context Effects on Advantaged versus Disadvantaged Options,” Journal of Marketing
      Research, 55, 239‐253.
   Itamar Simonson, Aner Sela, and Sanjay Sood (2017), “Preference‐Construction Habits: The
      Case of Extremeness Aversion,” Journal of the Association for Consumer Research, 2, 3, 322‐
      332.
   Itamar Simonson (2016), “Imperfect Progress: An Objective, Quality Assessment of the Role of
      User Reviews in Consumer Decision Making,” Journal of Consumer Research, 42, 840‐845.
   Itamar Simonson (2016), “The Construction of the Consumer Decision Making Field by Jim
      Bettman – The Case of Preference Construction,” in Legends in Consumer Behavior, I.
      Simonson, editor.
   Leilei Gao and Itamar Simonson (2016), “The positive effect of assortment size on purchase
      likelihood: The moderating influence of decision order,” Journal of Consumer Psychology, 26,
      542‐549.
   Itamar Simonson (2015), “Mission (Largely) Accomplished: What’s Next for Consumer BDT‐JDM
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      Schwarz” Journal of Marketing Behavior, 1, 59‐73.
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      Dominance," Journal of Marketing Research; 51 (4), 514‐9.
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   Leilei Gao, YanLiu Huang, and Itamar Simonson (2014), “The Influence of Initial Possession Level
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   Aner Sela, Itamar Simonson, and Ran Kivetz (2013), “Beating the Market: The Allure of
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   Itamar Simonson, James Bettman, Thomas Kramer, and John Payne (2013), “Comparison
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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 74 of 507 PageID #: 6492




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      Johnson, and Kardes,” Journal of Consumer Psychology, 23(1), 161‐3.
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   Thomas Kramer, Michal Maimaran, and Itamar Simonson (2012), “Asymmetric Option Effects
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   Michal Maimaran and Itamar Simonson (2011), “Multiple Routes to Self Versus Other‐
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   Itamar Simonson and Aner Sela (2011), “On the Heritability of Consumer Decision Making: An
      Exploratory Approach for Studying Genetic Effects on Judgment and Choice,” Journal of
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   Aimee Drolet, Mary Frances Luce, and Itamar Simonson (2009), "When Does Choice Reveal
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   Itamar Simonson (2008), “Regarding Inherent Preferences,” Journal of Consumer Psychology,
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   Itamar Simonson (2008), “Will I Like a ‘Medium’ Pillow? Another Look at Constructed and
      Inherent Preferences,” Journal of Consumer Psychology, 18, 155‐169.
   Song‐Oh Yoon and Itamar Simonson (2008), “The Context of Construction as a Determinant of
      the Strength and Stability of Consumer Preferences,” Journal of Consumer Research, 35,
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   Itamar Simonson (2007), “Decision Making,” Encyclopedia of Social Psychology; Sage.
   Jonah Berger, Michaela Draganska, and Itamar Simonson (2007), “The Influence of Product
      Variety on Brand Perceptions, Choice, and Experience,” Marketing Science, 26, July‐August,
      460‐72.
   Nathan Novemsky, Ravi Dhar, Norbert Schwarz, and Itamar Simonson (2007), “Preference
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   Chezy Ofir and Itamar Simonson (2007), “The Effect of Stating Expectations on Customer
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   Ray Fisman, Sheena Iyengar, Emir Kamenica, and Itamar Simonson (2007), “Racial Preferences
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      Inputs in Consumer Choice,” Journal of Consumer Psychology,15(3), 211‐217.
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   Ravi Dhar and Itamar Simonson (2003), “The Effect of Forced Choice on Choice,” Journal of
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      Luxury Pre‐Commitment," Journal of Consumer Research, 29 (September), 199‐217.
   Ran Kivetz and Itamar Simonson (2002), “Earning the Right to Indulge: Effort as a Determinant
      of Customer Preferences Toward Frequency Program Rewards,” Journal of Marketing
      Research, 39 (May), 155‐70.
   Chezy Ofir and Itamar Simonson (2001), “In Search of Negative Customer Feedback: The Effect
      of Expecting to Evaluate on Satisfaction Evaluations,” Journal of Marketing Research, 38
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   Itamar Simonson, Ziv Carmon, Ravi Dhar, Aimee Drolet, and Stephen Nowlis (2001), “Consumer
      Research: In Search of Identity,” Annual Review of Psychology, 52, 249‐275.
   Donnel Briley, Michael Morris, and Itamar Simonson (2000), “Reasons as Carriers of Culture:
      Dynamic Vs. Dispositional Models of Cultural Influence on Decision Making,” Journal of
      Consumer Research, 27 (September), 157‐178.
   Aimee Drolet, Itamar Simonson, and Amos Tversky (2000), “Indifference Curves that Travel with
      the Choice Set,” Marketing Letters, 11(3), 199‐209.




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 76 of 507 PageID #: 6494




   Stephen Nowlis and Itamar Simonson (2000), "Sales promotions and the Choice Context as
      Competing Influences on Consumer Decision Making," Journal of Consumer Psychology, 9(1),
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   Ran Kivetz and Itamar Simonson (2000), “The Effect of Incomplete Information on Consumer
      Choice,” Journal of Marketing Research, 37(4), 427‐48.
   Itamar Simonson and Stephen Nowlis (2000), "The Effect of Explaining and Need for Uniqueness
      on Consumer Decision Making: Unconventional Consumer Choices Based on Reasons,"
      Journal of Consumer Research, 27 (June), 49‐68.
   Itamar Simonson (1999), "The Effect of Product Assortment on Consumer Preferences," Journal
      of Retailing, 75(3), 347‐70.
   Ravi Dhar and Itamar Simonson (1999), "Making Complementary Choices in Consumption
      Episodes: Highlighting Versus Balancing" Journal of Marketing Research, 36 (February), 29‐
      44.
   Houghton, David, ..., and Itamar Simonson (1999), “Correction Processes in Consumer Choice,”
      Marketing Letters, 10(2),107‐112.
   Ziv Carmon and Itamar Simonson (1998), "Price‐Quality Tradeoffs in Choice Versus Matching:
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      Consumer Preference Reversals," Journal of Marketing Research, 34 (May), 205‐218.
   Joel Huber, …, and Itamar Simonson (1997), "Thinking About Values in Prospect and Retrospect:
      Maximizing Experienced Utility," Marketing Letters, 7, 324‐334.
   Stephen Nowlis and Itamar Simonson (1996), "The Impact of New Product Features on Brand
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      Genericness," Trademark Reporter, 84 (2), 199‐223.
   Itamar Simonson, Ziv Carmon, and Suzanne O'Curry (1994), "Experimental Evidence on the
      Negative Effect of Product Features and Sales Promotions on Brand Choice," Marketing
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   Itamar Simonson (1993), "The Effect of Survey Method on Likelihood of Confusion Estimates:
      Conceptual Analysis and Empirical Test," Trademark Reporter, 83 (3), 364‐393.
   Itamar Simonson, Stephen Nowlis, and Katherine Lemon (1993), "The Effect of Local
      Consideration Sets on Global Choice Between Lower Price and Higher Quality," Marketing
      Science, 12 (4), 357‐377.




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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 77 of 507 PageID #: 6495




   Itamar Simonson, Stephen Nowlis, and Yael Simonson (1993), "The Effect of Irrelevant
      Preference Arguments on Consumer Choice," Journal of Consumer Psychology, 2 (3), 287‐
      306.
   Eldar Shafir, Itamar Simonson, and Amos Tversky (1993), "Reasons‐Based Choice," Cognition,
      49, 11‐36.
   Amos Tversky and Itamar Simonson (1993), "Context‐Dependent Preferences," Management
      Science, 39 (10), 1179‐1189.
   Itamar Simonson (1992), "Influences of Anticipating Regret and Responsibility on Purchase
      Decisions," Journal of Consumer Research, 19 (June), 105‐118.
   Itamar Simonson and Peter Nye (1992), "The Effect of Accountability on Susceptibility to
      Decision Errors", Organizational Behavior and Human Decision Processes, 51 (3), 416‐446.
   Itamar Simonson and Amos Tversky (1992), "Choice in Context: Tradeoff Contrast and
      Extremeness Aversion," Journal of Marketing Research, 29 (August), 281‐295.
   Itamar Simonson and Barry Staw (1992), "De‐Escalation Strategies: A Comparison of Techniques
      for Reducing Commitment to Losing Courses of Action," Journal of Applied Psychology, 77
      (4), 419‐426.
   Itamar Simonson and Russell S. Winer (1992), "The Influence of Purchase Quantity and Display
      Format on Consumer Preference for Variety," Journal of Consumer Research, 19 (June), 133‐
      138.
   Ravi Dhar and Itamar Simonson (1992), "The Effect of the Focus of Comparison on Consumer
      Preferences," Journal of Marketing Research, 29 (November), 430‐440.
   William T. Ross and Itamar Simonson (1991), "Evaluations of Pairs of Experiences: A Preference
      for Happy Endings," Journal of Behavioral Decision Making, 4(4), 273‐282.
   Itamar Simonson (1991), "The Effect of Buying Decisions on Consumers' Assessments of Their
      Tastes", Marketing Letters, 2, 1, 5‐14.
   Itamar Simonson (1990), "The Effect of Purchase Quantity and Timing on Variety Seeking
      Behavior," Journal of Marketing Research, 27 (May), 150‐162.
   Itamar Simonson (1989), "Choice Based on Reasons: The Case of Attraction and Compromise
      Effects," Journal of Consumer Research, 16 (September), 158‐174.
   Itamar Simonson, Joel Huber, and John Payne (1988), "The Relationship Between Prior Brand
      Knowledge and Information Acquisition Order", Journal of Consumer Research, (March), 14,
      566‐78.


   ARTICLES UNDER REVIEW/REVISION

   Franklin Shaddy, Ayelet Fishbach, and Itamar Simonson, “Why Invoking the Self Attenuates
      Variety Seeking, the Compromise Effect, and Balancing.” (Revised for resubmission)
   Wendy Liu and Itamar Simonson, “Shortlisting – Not Overwhelmed But Biased.” (Revised for
     resubmission)



                                                A-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 78 of 507 PageID #: 6496




   Aner Sela and Itamar Simonson, “The Feeling of Preference: Preference Expression in the
     Absence of Preferences.” (Revised for resubmission)
   Ioannis Evangelidis, Jonathan Levav, and Itamar Simonson, “The Upscaling Effect.”
   Jen Park and Itamar Simonson, “Rejection and Closure: Why Options that Survive Rejection Are
      More Attractive.”


   Doctoral Dissertations Chaired:

   Ravi Dhar (Chaired Professor, Yale U.)
   Aimee Drolet (Chaired Professor, UCLA)
   Stephen Nowlis (Chaired Professor, Washington U., St. Louis)
   Ziv Carmon (Chaired Professor, INSEAD)
   Ran Kivetz (Chaired Professor, Columbia U.)
   Donnel Briley (Professor, U.O. Sydney)
   Thomas Kramer (Professor, U.O. California, Riverside)
   Wendy Liu (Professor, U.O. California, San Diego)
   Sanjay Sood (Professor, UCLA)
   Song‐Oh Yoon (Professor, Korea University)
   Michal Maimaran (Clinical Professor, Kellogg School)
   Leilei Gao (Professor, Chinese University, Hong Kong)
   Wendy De La Rosa (Assistant Professor, Wharton School, U.O. Penn.)
   Aner Sela (Professor, U. O. Florida)
   Jonah Berger (Associate Professor, Wharton School, U.O. Penn.)
   Jen Park (Assistant Professor, University of British Columbia)


   EDITORIAL ACTIVITIES

   (In‐coming) Co‐Editor of Consumer Psychology Review
   Editorial Boards: Journal of Marketing Research, Journal of Consumer Psychology, Journal of
   Consumer Research, International Journal of Research in Marketing, Journal of Marketing in
   Emerging Economies, Marketing Letters, Journal of Academy of Marketing Science, Review of
   Marketing Research.
   Reviewer for Marketing Science, Journal of Behavioral Decision Making, Science, Management
   Science, Journal of Retailing and Consumer Services, Journal of Marketing, Journal of Retailing,
   Organizational Behavior and Human Decision Processes, Journal of Experimental Psychology,
   Psychological Review, Psychological Bulletin, Journal of Personality and Social Psychology,
   Psychological Science, California Management Review, Journal of Economic Psychology,
   European Journal of Social Psychology, Journal of Judgment and Decision Making, Medical
   Decision Making, and National Science Foundation.



                                                 A-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 79 of 507 PageID #: 6497




   PROFESSIONAL AFFILIATIONS
                           Association for Consumer Research
                           Judgment and Decision Making Society




                                         A-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 80 of 507 PageID #: 6498




                     APPENDIX B
                   TESTIMONY LIST




                                         B-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 81 of 507 PageID #: 6499




    Cases in which Dr. Itamar Simonson Testified as an Expert at Trial or by Deposition in the Past
                                             Four Years



             1.     Promotion In Motion v. Haribo America (Dist. of NJ; 19-cv-14183-MCA-
                    LDW) (Deposition).
             2.     RingCentral, Inc. v. Nextiva, Inc. (Nor. Dist. of CA, SJ Div.; 5:19-cv-02626)
                    (Deposition).
             3.     San Diego County Credit Union v. Citizens Equity First Credit Union (South.
                    Dist. of CA; 3:18-cv-00967-GPC-RBB) (Trial).
             4.     Car Freshner Corp. v. Crocs, Inc. (Nor. Dist. of NY; 7:16-cv-0068)
                    (Deposition)
             5.     William Brady v. Bayer et al. (State of CA Superior Court, Orange Country; 0-
                    2016-00839608-CU-MC-CXC) (Deposition).
             6.     MGFB Properties, Inc. et al. v. Viacom, Inc. et al. (Nor. Dist. FL; 5:19-00257)
                    (Deposition).
             7.     Sprint Spectrum et al. v. AT&T Mobility (SDNY; 19-CIV-1215) (Deposition).
             8.     Jack Daniel’s Properties v. VIP (US Dist. of Ariz., CV 14-02057) (Trial).
             9.     The People of the State of California v. Macy’s Inc. (Superior Court of CA,
                    County of Los Angeles; BC643040) (Trial).
             10.    Jerome’s Furniture Warehouse v. Ashley Furniture Industries (South. Dist. CA;
                    20-cv-1765) (Deposition).
             11.    American Eagle Outfitters v. Walmart (W.D. of PA; 2:20-cv-00412)
                    (Deposition).
             12.    Jill Hennessey v. Kohl’s Corp. (East. Dist. of Missouri; 4:19-01866)
                    (Deposition)
             13.    Warner Bros. Entertainment v. Random Tuesday, Inc. (Cent. Dist. CA; 2:20-cv-
                    02416) (Deposition).
             14.    Simmons et al. v. Ford Motor Company (S.D. FL; 18-cv-81558-RAR)
                    (Deposition).
             15.    Maxell, Ltd. v. Apple Inc. (East. Dist. of TX; 5:19–cv–0036) (Deposition).
             16.    Polaris PowerLED Technologies v. Samsung Electronics America et al. (E.D.
                    of Texas, Marshall Div., 2-17-cv-00715) (Deposition).
             17.    Koninklijke Philips Electronics N.V. v. Hunt Control Systems (Dist. of NJ, 11-
                    03684) (Trial).
             18.    Ericsson Inc. v. Apple Inc. (EDTX, Marshall Div.; 2:21-cv-336 (Deposition).

                                                 B-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 82 of 507 PageID #: 6500




            19.   Stitch, Ltd. v. TikTok, Inc. (SD-CA; 3:21-cv-00626)) (Deposition).
            20.   Sazerak Company, Inc. v. Fetzer Vineyard, Inc. (N. D. of CA; 3:15-cv-04618)
                  (Trial)
            21.   Koss Corp. v. Apple Inc. (WDTX; 6:20-cv-00665) (Deposition).
            22.   Margarita Delgado, et al. v. Ocwen Loan Servicing et al. (East. Dist. of NY;
                  1:13-cv-04427) (Deposition).
            23.   Thrive Natural Care v. Thrive Causemetics (Cent. Dist. of CA; 2:20-cv-9091-
                  PA-AS) (Deposition).
            24.   Contour IP v. GoPro, Inc. (N.D. of CA; 21-cv-2143) (Deposition).
            25.   Burnett, Camp, et al. v. Conseco Life Insurance (So. Dist. of Indiana; 1:18-cv-
                  00200-JPH-DML) (Deposition).
            26.   Duracell U. S. Operations v. Energizer Brands (SDNY; 1:20-cv-07318)
                  (Depositions).
            27.   Milan et al. v. Clif Bar & Company (Nor. Dist. of CA; 18-02354) (Deposition).
            28.   PNC Bank v. Trilegiant Corp. et al. (Court of Common Pleas, Allegheny
                  County, PA; G.D. 15-020824) (Deposition).
            29.   IPA Technologies Inc. v. Amazon.com, Inc. (Dist. of Delaware; 1:16-cv-01266-
                  RGA) (Deposition).
            30.   CFA Institute v. American Retirement Association (West. Dist. of VA;
                  3:19CV00012) (Deposition).
            31.   Rovi Guides, Inc. v. Videotron LTD. (Federal Court, Ottawa; Docket T-921-17)
                  (Trial).
            32.   Federal Trade Commission v. LendingClub Corp. (Nor. Dist. Of CA; 3:18-cv-
                  02454-JSC) (Deposition).
            33.   ID Tech v. Samsung Electronics (Cent. Dist. of CA.; 8:17-cv-01748)
                  (Deposition).
            34.   Instagram, LLC v. Instagoods Pty Ltd (USPTO, Application no.: 88923261)
                  (Deposition).
            35.   American Airlines v. Delta Air Lines (North. Dist. of TX, Ft Worth Div.; 4:19-
                  CV-01053-O) (Deposition)
            36.   Innovation Sciences v. Amazon.com et al. (East. Dist. of TX, Sherman Div.;
                  4:18-cv-00474) (Deposition).
            37.   Strategic Partners, Inc. v. Figs, Inc. (CD-CA; 2:19-cv-02286) (Trial).
            38.   (on behalf of Sound Exchange) Determination of Rates and Terms for Digital
                  Performance of Sound Recordings and Making of Ephemeral Copies to
                  Facilitate those Performances (Web V) (U.S. Copyright Royalty Board) (Trial).


                                               B-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 83 of 507 PageID #: 6501




            39.   Re. Apple iPhone Antitrust litigation (Nor. Dist. CA, Oakland Div.; 4:11-cv-
                  06714-YG) (Deposition).
            40.   Monster Energy Company v. BeastUp LLC (East. Dist. of CA; 17cv1605 KJM-
                  JDP) (Trial).
            41.   The People of the State of California v. HRB Tax Group et al. (Superior Court,
                  County of LA; 19STCV15742) (Deposition).
            42.   Jackpocket, Inc. v. LottoMatrix NY LLC et al. (SDNY; 22-cv-05772)
                  (Deposition).




                                              B-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 84 of 507 PageID #: 6502




            APPENDIX C
       DOCUMENTS CONSIDERED
               LIST




                                         C-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 85 of 507 PageID #: 6503




   Academic Articles

            •   Itamar Simonson, Ziv Carmon, and Suzanne O'Curry (1994), “Experimental
                Evidence on the Negative Effect of Product Features and Sales Promotions on
                Brand Choice,” Marketing Science, 13 (1), 23–40.
            •   Nathan Crilly, James Moultrie and P. John Clarkson (2004), “Seeing things:
                consumer response to the visual domain in product design,” Design Studies, 25,
                547–577.
            •   Robyn Dawes (1979), “The Robust Beauty of Improper Linear Models in Decision
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   Books

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                                                C-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 86 of 507 PageID #: 6504




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                                                C-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 88 of 507 PageID #: 6506




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                                               C-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 89 of 507 PageID #: 6507




             APPENDIX D
        SURVEY QUESTIONNAIRE
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 90 of 507 PageID #: 6508




             APPENDIX D.1
        DESIGN IMPACT SURVEY
               MASIMO
        SURVEY QUESTIONNAIRE




                                        D.1-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 91 of 507 PageID #: 6509
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 92 of 507 PageID #: 6510




   TEXT BOX: ________________

   [ASK QS10a IF RESPONDENT FAILS QS10]

   QS10a. Please enter the code exactly as it appears in the image below, including upper
   and lower case letters, and then click the “Continue” button to continue. Do NOT include
   any spaces. Type all of the characters together.

   TEXT BOX: ________________

   [TERMINATE IF RESPONDENT FAILS QS10a]

   [NEXT PAGE]

   QS20. What is your gender? (Select one response.)

   [RANDOMIZE]

      1. Male
      2. Female
      3. Other [ANCHOR]
   [NEXT PAGE]

   QS30. Which of the following groups listed below includes your age? (Select one
   response.)

      1. Under 18 [TERMINATE]
      2. 18-39
      3. 40 or older
   [TERMINATE RESPONDENT IF AGE IN QS30 AND GENDER IN QS20 DO NOT
   MATCH PASSED IN PARAMETERS FROM PANEL]

   QS40. In which of the following states do you live? (Select one response.)

   [INSERT DROP DOWN LIST OF 50 STATES AND “WASHINGTON DC” IN
   ALPHABETIC ORDER. INCLUDE OPTION FOR “OTHER”. TERMINATE IF
   RESPONDENT CHOOSES “OTHER”]


   [NEXT PAGE]

   QS50. Do you, or does any member of your household, currently work for any of the
   following? (Select all that apply.)

                                             D.1-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 93 of 507 PageID #: 6511




   [RANDOMIZE 1-6]

      1. An advertising, public relations or marketing agency or advertising department of a company
         [TERMINATE]
      2. A market research firm or a marketing research department of a company [TERMINATE]
      3. A company that makes or distributes smartwatches [TERMINATE]
      4. A company that makes or distributes video game consoles
      5. A company that makes or distributes computer chips
      6. A company that makes or distributes televisions
      7. None of these [ANCHOR; CONTINUE]


   [NEXT PAGE]

   QS60. Which of the following devices are you using right now to take this survey? (Select
   one response.)

   [RANDOMIZE]
      1.   Desktop computer
      2.   Laptop computer
      3.   Tablet (such as an iPad, Android tablet, etc.)
      4.   Cell phone (not a smartphone) [TERMINATE]
      5.   Smartphone
      6.   Other (please specify): __________ [ANCHOR; TERMINATE]
   [NEXT PAGE]

   QS70. Which of the following types of consumer electronics products do you own? (Select
   all that apply.)

   [RANDOMIZE]
      1.   Smartwatch
      2.   Gaming console
      3.   Smartphone
      4.   Tablet
      5.   None of the above [ANCHOR; TERMINATE]
      6.   Don’t know [ANCHOR; TERMINATE]


   [NEXT PAGE]

   QS80. Which of the following types of consumer electronics products do you expect to
   purchase in the next 12 months? (Select one response for each row.)




                                                D.1-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 94 of 507 PageID #: 6512




   [SHOW ROWS IN THE SAME ORDER AS THE DEVICES WERE SHOWN IN
   QS70; RANDOMLY SHOW COLUMNS 2 THROUGH 6 IN ASCENDING OR
   DESCENDING ORDER.]

                I definitely   I probably    I may or may      I probably will   I definitely will
                will           will          not purchase in   not purchase in   not purchase in
                purchase in    purchase in   the next 12       the next 12       the next 12
                the next 12    the next 12   months            months            months
                months         months
    Smartwatc   [CONTINU       [CONTINU      [TERMINAT         [TERMINAT         [TERMINAT
    h           E TO QS90]     E TO QS90]    E]                E]                E]
    Gaming
    console
    Smartphon
    e
    Tablet

   [IF “DEFINITELY WILL BUY” OR “PROBABLY WILL BUY” SMARTWATCH,
   CONTINUE TO QS90, OTHERWISE TERMINATE.]

   [NEXT PAGE]


   QS90. You indicated that you will [“PROBABLY” OR “DEFINITELY” DEPENDING
   ON THE RESPONSE IN QS80] purchase a new smartwatch in the next 12 months. Will
   you be the person who will decide which smartwatch you will purchase? (Select one
   response.)
   [RANDOMIZE ORDER OF 1 AND 2.]
      1. Yes, I will decide
      2. No, I will not decide [TERMINATE]
      3. Don’t know [TERMINATE]


   [NEXT PAGE]

   QS100. [IF “PROBABLY” IN QS80 THEN “IF” ELSE “WHEN”] you purchase a new
   smartwatch in the next 12 months, approximately how many smartwatch brands do you
   expect to consider before making your purchase decision?
   [INSERT TEXT BOX AND ALLOW RESPONDENTS TO ENTER ANY WHOLE
   NUMBER. DO NOT ALLOW ANY CHARACTERS OTHER THAN WHOLE
   NUMBERS. TERMINATE IF RESPONSE IS 1 OR 0; OTHERWISE CONTINUE
   TO QS110.]

   [NEXT PAGE]


                                             D.1-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 95 of 507 PageID #: 6513
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 96 of 507 PageID #: 6514




   When you are finished reviewing the features on each screen, click “CONTINUE” to
   continue.

   On each screen, the “CONTINUE” button will appear after you review the features on
   that page.

   [NEXT PAGE]

   [RANDOMIZE THE ORDER OF THE FEATURES, BUT THE FEATURES
   CALLED “APPEARANCE AND DESIGN: FRONT OF THE WATCH” AND
   “APPEARANCE AND DESIGN: BACK OF THE WATCH” SHOULD ALWAYS
   BE SHOWN ON THE SAME SCREEN WITH FRONT OF WATCH SHOWN
   BEFORE BACK OF WATCH. SHOW THREE FEATURES AND DESCRIPTIONS
   PER PAGE]
   [DELAY NEXT BUTTON 10 SECONDS BETWEEN EACH PAGE WITH
   FEATURE/DESCRIPTIONS]
   [THE FRONT AND BACK DESIGN FEATURES WILL BE PICTURES]


      Price:
      Price refers to the amount of money you pay to purchase a smartwatch outright in-full
      (i.e., not on an installment plan). Typical prices range between $99 and $1,000,
      depending on features, specs, and models/brands.


      Battery Life:
      “Battery life” means the length of time the smartwatch can continue to work before it
      needs its battery to be recharged. Typical smartwatch batteries last between a day and a
      week on a single charge.




      Variety and Number of Apps:
      Smartwatches vary with respect to the number of compatible apps.


                                             D.1-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 97 of 507 PageID #: 6515




      Appearance and Design: Front of the Watch: On some smartwatches, you can change
      the watch face by choosing among available options.




      Physiological Data Monitoring:
      Some smartwatches offer physiological data monitoring such as Hydration Index (Hi),
      oxygen level (SpO2), respiration rate, pleth variability index, and perfusion index.




      Appearance and Design: Back of the Watch: The back of the watch sits against your
      wrist.


                                            D.1-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 98 of 507 PageID #: 6516




      Materials and Finishes:
      Smartwatches can come in a variety of materials and finishes, including aluminum,
      stainless steel, ceramic, and titanium.




      Sleep Tracking:
      Some smartwatches offer a special app for tracking your sleep, such as total sleep time,
      REM, and deep sleep, and provide health reports based on tracked sleep.




      Fitness Tracking:

                                             D.1-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 99 of 507 PageID #: 6517




      Some smartwatches offer fitness tracking to monitor your daily activity, provide insight
      into fitness data trends, and allow you to share the fitness data.




      Weight:
      Typical smartwatches weigh around 30-55 grams.




      Water Resistance:
      Some smartwatches offer water resistance up to 60 meters, others offer water resistance
      at shallower depths, and others do not offer water resistance.




      Heart Monitoring:

                                             D.1-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 100 of 507 PageID #:
                                    6518



    Some smartwatches can get a quick read on your heart rate, or check your heart
    rhythm.




    Two Time Zone Display:
    Some smartwatches can display the time in two time zones at the same time (such as
    both on the East coast and the West coast of the U.S.).




 [NEXT PAGE]
 PLEASE READ CAREFULLY

 Next, you will see a smartwatch described in terms of the features you just reviewed.
 Please review carefully the specific features of the smartwatch. You can review the
 meaning of each feature by clicking on it.

 [SHOW THE TABLE BELOW ON THE SCREEN, AND DELAY NEXT BUTTON
 20 SECONDS]
 [ORDER THE FEATURES IN THE SAME ORDER AS SHOWN IN PRIOR
 SCREENS]
 [INCLUDE A HYPERLINK FOR EACH FEATURE CATEGORY (LEFT
 COLUMN) THAT LINKS TO THE DESCRIPTION FOR THAT FEATURE
 CATEGORY FROM THE FEATURE DESCRIPTIONS PREVIOUSLY SHOWN



                                           D.1-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 101 of 507 PageID #:
                                    6519



 TO RESPONDENTS; ALLOW RESPONDENTS TO CLICK/TAP THE LINK FOR
 A POP-UP]




                                     D.1-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 102 of 507 PageID #:
                                    6520



  Feature
  Price                        $499.00
  Battery Life                 24 Hours
  Variety and Number of Apps   Greater than 5
  Appearance and Design:
  Front of the Watch




  Physiological Data           Yes
  Monitoring
  Appearance and Design:
  Back of the Watch




  Materials and Finishes       Aluminum
  Sleep Tracking               Yes
  Fitness Tracking             Yes
  Weight                       34 grams
  Water Resistance             Yes
  Heart Monitoring             Yes
  Two Time Zone Display        No


 [NEXT PAGE]
 Q3. Now suppose that you were considering purchasing this smartwatch. Please select the
 features that you expect will impact your purchase decision. If you don’t know or are not
 sure if a feature will impact your purchase decision, please do not select it.
 [THE TABLE SHOULD BE EXACTLY THE SAME AS THE TABLE SHOWN IN
 THE PREVIOUS PAGE, WITH THE ONLY EXCEPTION OF THE COLUMN OF
 CHECKBOXES ON THE RIGHT]




                                           D.1-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 103 of 507 PageID #:
                                    6521



  Feature                                       Would Impact
                                                Your Purchase
                                                Decision?
  Price              $499.00                    [Checkbox]
  Battery Life       24 Hours                   [Checkbox]
  Variety and        Greater than 5             [Checkbox]
  Number of Apps
  Appearance and                                [Checkbox]
  Design: Front of
  the Watch




  Physiological      Yes                        [Checkbox]
  Data Monitoring
  Appearance and                                [Checkbox]
  Design: Back of
  the Watch




  Materials and      Aluminum                   [Checkbox]
  Finishes
  Sleep Tracking     Yes                        [Checkbox]
  Fitness Tracking   Yes                        [Checkbox]
  Weight             34 grams                   [Checkbox]
  Water Resistance   Yes                        [Checkbox]
  Heart Monitoring   Yes                        [Checkbox]
  Two Time Zone      No                         [Checkbox]
  Display



 [NEXT PAGE]

 F1. Thank you for completing this survey.




                                             D.1-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 104 of 507 PageID #:
                                    6522




           APPENDIX D.2
      DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 5
      SURVEY QUESTIONNAIRE




                                      D.2-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 105 of 507 PageID #:
                                    6523
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 106 of 507 PageID #:
                                    6524




 TEXT BOX: ________________

 [ASK QS10a IF RESPONDENT FAILS QS10]

 QS10a. Please enter the code exactly as it appears in the image below, including upper
 and lower case letters, and then click the “Continue” button to continue. Do NOT include
 any spaces. Type all of the characters together.

 TEXT BOX: ________________

 [TERMINATE IF RESPONDENT FAILS QS10a]

 [NEXT PAGE]

 QS20. What is your gender? (Select one response.)

 [RANDOMIZE]

    1. Male
    2. Female
    3. Other [ANCHOR]
 [NEXT PAGE]

 QS30. Which of the following groups listed below includes your age? (Select one
 response.)

    1. Under 18 [TERMINATE]
    2. 18-39
    3. 40 or older
 [TERMINATE REPSONDENT IF AGE IN QS30 AND GENDER IN QS20 DO NOT
 MATCH PASSED IN PARAMETERS FROM PANEL]

 QS40. In which of the following states do you live? (Select one response.)

 [INSERT DROP DOWN LIST OF 50 STATES AND “WASHINGTON DC” IN
 ALPHABETIC ORDER. INCLUDE OPTION FOR “OTHER”. TERMINATE IF
 RESPONDENT CHOOSES “OTHER”]


 [NEXT PAGE]



                                           D.2-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 107 of 507 PageID #:
                                    6525



 QS50. Do you, or does any member of your household, currently work for any of the
 following? (Select all that apply.)

 [RANDOMIZE 1-6]

    1. An advertising, public relations or marketing agency or advertising department of a company
       [TERMINATE]
    2. A market research firm or a marketing research department of a company [TERMINATE]
    3. A company that makes or distributes smartwatches [TERMINATE]
    4. A company that makes or distributes video game consoles
    5. A company that makes or distributes computer chips
    6. A company that makes or distributes televisions
    7. None of these [ANCHOR; CONTINUE]


 [NEXT PAGE]

 QS60. Which of the following devices are you using right now to take this survey? (Select
 one response.)

 [RANDOMIZE]
    1.   Desktop computer
    2.   Laptop computer
    3.   Tablet (such as an iPad, Android tablet, etc.)
    4.   Cell phone (not a smartphone) [TERMINATE]
    5.   Smartphone
    6.   Other (please specify): __________ [ANCHOR; TERMINATE]
 [NEXT PAGE]

 QS70. Which of the following types of consumer electronics products do you own? (Select
 all that apply.)

 [RANDOMIZE]
    1.   Smartwatch
    2.   Gaming console
    3.   Smartphone
    4.   Tablet
    5.   None of the above [ANCHOR; TERMINATE]
    6.   Don’t know [ANCHOR; TERMINATE]


 [NEXT PAGE]

 QS80. Which of the following types of consumer electronics products do you expect to
 purchase in the next 12 months? (Select one response for each row.)


                                              D.2-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 108 of 507 PageID #:
                                    6526



 [SHOW ROWS IN THE SAME ORDER AS THE DEVICES WERE SHOWN IN
 QS70; RANDOMLY SHOW COLUMNS 2 THROUGH 6 IN ASCENDING OR
 DESCENDING ORDER.]

              I definitely   I probably    I may or may      I probably will   I definitely will
              will           will          not purchase in   not purchase in   not purchase in
              purchase in    purchase in   the next 12       the next 12       the next 12
              the next 12    the next 12   months            months            months
              months         months
  Smartwatc   [CONTINU       [CONTINU      [TERMINAT         [TERMINAT         [TERMINAT
  h           E TO QS90]     E TO QS90]    E]                E]                E]
  Gaming
  console
  Smartphon
  e
  Tablet

 [IF “DEFINITELY WILL BUY” OR “PROBABLY WILL BUY” SMARTWATCH,
 CONTINUE TO QS90, OTHERWISE TERMINATE.]

 [NEXT PAGE]


 QS90. You indicated that you will [“PROBABLY” OR “DEFINITELY” DEPENDING
 ON THE RESPONSE IN QS80] purchase a new smartwatch in the next 12 months. Will
 you be the person who will decide which smartwatch you will purchase? (Select one
 response.)
 [RANDOMIZE ORDER OF 1 AND 2.]
    1. Yes, I will decide
    2. No, I will not decide [TERMINATE]
    3. Don’t know [TERMINATE]


 [NEXT PAGE]

 QS100. [IF “PROBABLY” IN QS80 THEN “IF” ELSE “WHEN”] you purchase a new
 smartwatch in the next 12 months, approximately how many smartwatch brands do you
 expect to consider before making your purchase decision?
 [INSERT TEXT BOX AND ALLOW RESPONDENTS TO ENTER ANY WHOLE
 NUMBER. DO NOT ALLOW ANY CHARACTERS OTHER THAN WHOLE
 NUMBERS. TERMINATE IF RESPONSE IS 1 OR 0; OTHERWISE CONTINUE
 TO QS110.]

 [NEXT PAGE]


                                           D.2-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 109 of 507 PageID #:
                                    6527
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 110 of 507 PageID #:
                                    6528



 When you are finished reviewing the features on each screen, click “CONTINUE” to
 continue.

 On each screen, the “CONTINUE” button will appear after you review the features on
 that page.

 [NEXT PAGE]

 [RANDOMIZE THE ORDER OF THE FEATURES, BUT THE FEATURES
 CALLED “APPEARANCE AND DESIGN: FRONT OF THE WATCH” AND
 “APPEARANCE AND DESIGN: BACK OF THE WATCH” SHOULD ALWAYS
 BE SHOWN ON THE SAME SCREEN WITH FRONT OF WATCH SHOWN
 BEFORE BACK OF WATCH. SHOW THREE FEATURES AND DESCRIPTIONS
 PER PAGE]
 [DELAY NEXT BUTTON 10 SECONDS BETWEEN EACH PAGE WITH
 FEATURE/DESCRIPTIONS]
 [THE FRONT AND BACK DESIGN FEATURES WILL BE PICTURES]


    Price:
    Price refers to the amount of money you pay to purchase a smartwatch outright in-full
    (i.e., not on an installment plan). Typical prices range between $99 and $1,000,
    depending on features, specs, and models/brands.


    Battery Life:
    “Battery life” means the length of time the smartwatch can continue to work before it
    needs its battery to be recharged. Typical smartwatch batteries last between a day and a
    week on a single charge.




    Variety and Number of Apps:
    Smartwatches vary with respect to the number of compatible apps.


                                           D.2-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 111 of 507 PageID #:
                                    6529




    Appearance and Design: Front of the Watch: On some smartwatches, you can change
    the watch face by choosing among available options.




    Physiological Data Monitoring:
    Some smartwatches offer physiological data monitoring such as Hydration Index (Hi),
    oxygen level (SpO2), respiration rate, pleth variability index, and perfusion index.




    Appearance and Design: Back of the Watch: The back of the watch sits against your
    wrist.


                                          D.2-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 112 of 507 PageID #:
                                    6530




    Materials and Finishes:
    Smartwatches can come in a variety of materials and finishes, including aluminum,
    stainless steel, ceramic, and titanium.




    Sleep Tracking:
    Some smartwatches offer a special app for tracking your sleep, such as total sleep time,
    REM, and deep sleep, and provide health reports based on tracked sleep.




    Fitness Tracking:
    Some smartwatches offer fitness tracking to monitor your daily activity, provide insight
    into fitness data trends, and allow you to share the fitness data.



                                           D.2-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 113 of 507 PageID #:
                                    6531




    Weight:
    Typical smartwatches weigh around 30-55 grams.




    Water Resistance:
    Some smartwatches offer water resistance up to 60 meters, others offer water resistance
    at shallower depths, and others do not offer water resistance.




    Heart Monitoring:
    Some smartwatches can get a quick read on your heart rate, or check your heart
    rhythm.


                                          D.2-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 114 of 507 PageID #:
                                    6532




    Two Time Zone Display:
    Some smartwatches can display the time in two time zones at the same time (such as
    both on the East coast and the West coast of the U.S.).




 [NEXT PAGE]
 PLEASE READ CAREFULLY

 Next, you will see a smartwatch described in terms of the features you just reviewed.
 Please review carefully the specific features of the smartwatch. You can review the
 meaning of each feature by clicking on it.

 [SHOW THE TABLE BELOW ON THE SCREEN, AND DELAY NEXT BUTTON
 20 SECONDS]
 [ORDER THE FEATURES IN THE SAME ORDER AS SHOWN IN PRIOR
 SCREENS]
 [INCLUDE A HYPERLINK FOR EACH FEATURE CATEGORY (LEFT
 COLUMN) THAT LINKS TO THE DESCRIPTION FOR THAT FEATURE
 CATEGORY FROM THE FEATURE DESCRIPTIONS PREVIOUSLY SHOWN
 TO RESPONDENTS; ALLOW RESPONDENTS TO CLICK/TAP THE LINK FOR
 A POP-UP]




                                           D.2-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 115 of 507 PageID #:
                                    6533



  Feature
  Price                        $212.99
  Battery Life                 18 Hours
  Variety and Number of Apps   Greater than 5
  Appearance and Design:
  Front of the Watch




  Physiological Data           Yes
  Monitoring
  Appearance and Design:
  Back of the Watch




  Materials and Finishes       Aluminum
  Sleep Tracking               Yes
  Fitness Tracking             Yes
  Weight                       30.8 grams
  Water Resistance             Yes
  Heart Monitoring             Yes
  Two Time Zone Display        No


 [NEXT PAGE]
 Q3. Now suppose that you were considering purchasing this smartwatch. Please select the
 features that you expect will impact your purchase decision. If you don’t know or are not
 sure if a feature will impact your purchase decision, please do not select it.
 [THE TABLE SHOULD BE EXACTLY THE SAME AS THE TABLE SHOWN IN
 THE PREVIOUS PAGE, WITH THE ONLY EXCEPTION OF THE COLUMN OF
 CHECKBOXES ON THE RIGHT]




                                            D.2-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 116 of 507 PageID #:
                                    6534



  Feature                                       Would Impact
                                                Your Purchase
                                                Decision?
  Price              $212.99                    [Checkbox]
  Battery Life       18 Hours                   [Checkbox]
  Variety and        Greater than 5             [Checkbox]
  Number of Apps
  Appearance and                                [Checkbox]
  Design: Front of
  the Watch




  Physiological      Yes                        [Checkbox]
  Data Monitoring
  Appearance and                                [Checkbox]
  Design: Back of
  the Watch



  Materials and      Aluminum                   [Checkbox]
  Finishes
  Sleep Tracking     Yes                        [Checkbox]
  Fitness Tracking   Yes                        [Checkbox]
  Weight             30.8 grams                 [Checkbox]
  Water Resistance   Yes                        [Checkbox]
  Heart Monitoring   Yes                        [Checkbox]
  Two Time Zone      No                         [Checkbox]
  Display



 [NEXT PAGE]

 F1. Thank you for completing this survey.




                                             D.2-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 117 of 507 PageID #:
                                    6535




           APPENDIX D.3
      DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 8
      SURVEY QUESTIONNAIRE




                                      D.3-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 118 of 507 PageID #:
                                    6536
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 119 of 507 PageID #:
                                    6537




 TEXT BOX: ________________

 [ASK QS10a IF RESPONDENT FAILS QS10]

 QS10a. Please enter the code exactly as it appears in the image below, including upper
 and lower case letters, and then click the “Continue” button to continue. Do NOT include
 any spaces. Type all of the characters together.

 TEXT BOX: ________________

 [TERMINATE IF RESPONDENT FAILS QS10a]

 [NEXT PAGE]

 QS20. What is your gender? (Select one response.)

 [RANDOMIZE]

    1. Male
    2. Female
    3. Other [ANCHOR]
 [NEXT PAGE]

 QS30. Which of the following groups listed below includes your age? (Select one
 response.)

    1. Under 18 [TERMINATE]
    2. 18-39
    3. 40 or older
 [TERMINATE REPSONDENT IF AGE IN QS30 AND GENDER IN QS20 DO NOT
 MATCH PASSED IN PARAMETERS FROM PANEL]

 QS40. In which of the following states do you live? (Select one response.)

 [INSERT DROP DOWN LIST OF 50 STATES AND “WASHINGTON DC” IN
 ALPHABETIC ORDER. INCLUDE OPTION FOR “OTHER”. TERMINATE IF
 RESPONDENT CHOOSES “OTHER”]


 [NEXT PAGE]



                                           D.3-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 120 of 507 PageID #:
                                    6538



 QS50. Do you, or does any member of your household, currently work for any of the
 following? (Select all that apply.)

 [RANDOMIZE 1-6]

    1. An advertising, public relations or marketing agency or advertising department of a company
       [TERMINATE]
    2. A market research firm or a marketing research department of a company [TERMINATE]
    3. A company that makes or distributes smartwatches [TERMINATE]
    4. A company that makes or distributes video game consoles
    5. A company that makes or distributes computer chips
    6. A company that makes or distributes televisions
    7. None of these [ANCHOR; CONTINUE]


 [NEXT PAGE]

 QS60. Which of the following devices are you using right now to take this survey? (Select
 one response.)

 [RANDOMIZE]
    1.   Desktop computer
    2.   Laptop computer
    3.   Tablet (such as an iPad, Android tablet, etc.)
    4.   Cell phone (not a smartphone) [TERMINATE]
    5.   Smartphone
    6.   Other (please specify): __________ [ANCHOR; TERMINATE]
 [NEXT PAGE]

 QS70. Which of the following types of consumer electronics products do you own? (Select
 all that apply.)

 [RANDOMIZE]
    1.   Smartwatch
    2.   Gaming console
    3.   Smartphone
    4.   Tablet
    5.   None of the above [ANCHOR; TERMINATE]
    6.   Don’t know [ANCHOR; TERMINATE]


 [NEXT PAGE]

 QS80. Which of the following types of consumer electronics products do you expect to
 purchase in the next 12 months? (Select one response for each row.)


                                              D.3-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 121 of 507 PageID #:
                                    6539



 [SHOW ROWS IN THE SAME ORDER AS THE DEVICES WERE SHOWN IN
 QS70; RANDOMLY SHOW COLUMNS 2 THROUGH 6 IN ASCENDING OR
 DESCENDING ORDER.]

              I definitely   I probably    I may or may      I probably will   I definitely will
              will           will          not purchase in   not purchase in   not purchase in
              purchase in    purchase in   the next 12       the next 12       the next 12
              the next 12    the next 12   months            months            months
              months         months
  Smartwatc   [CONTINU       [CONTINU      [TERMINAT         [TERMINAT         [TERMINAT
  h           E TO QS90]     E TO QS90]    E]                E]                E]
  Gaming
  console
  Smartphon
  e
  Tablet

 [IF “DEFINITELY WILL BUY” OR “PROBABLY WILL BUY” SMARTWATCH,
 CONTINUE TO QS90, OTHERWISE TERMINATE.]

 [NEXT PAGE]


 QS90. You indicated that you will [“PROBABLY” OR “DEFINITELY” DEPENDING
 ON THE RESPONSE IN QS80] purchase a new smartwatch in the next 12 months. Will
 you be the person who will decide which smartwatch you will purchase? (Select one
 response.)
 [RANDOMIZE ORDER OF 1 AND 2.]
    1. Yes, I will decide
    2. No, I will not decide [TERMINATE]
    3. Don’t know [TERMINATE]


 [NEXT PAGE]

 QS100. [IF “PROBABLY” IN QS80 THEN “IF” ELSE “WHEN”] you purchase a new
 smartwatch in the next 12 months, approximately how many smartwatch brands do you
 expect to consider before making your purchase decision?
 [INSERT TEXT BOX AND ALLOW RESPONDENTS TO ENTER ANY WHOLE
 NUMBER. DO NOT ALLOW ANY CHARACTERS OTHER THAN WHOLE
 NUMBERS. TERMINATE IF RESPONSE IS 1 OR 0; OTHERWISE CONTINUE
 TO QS110.]

 [NEXT PAGE]


                                           D.3-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 122 of 507 PageID #:
                                    6540
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 123 of 507 PageID #:
                                    6541



 When you are finished reviewing the features on each screen, click “CONTINUE” to
 continue.

 On each screen, the “CONTINUE” button will appear after you review the features on
 that page.

 [NEXT PAGE]

 [RANDOMIZE THE ORDER OF THE FEATURES, BUT THE FEATURES
 CALLED “APPEARANCE AND DESIGN: FRONT OF THE WATCH” AND
 “APPEARANCE AND DESIGN: BACK OF THE WATCH” SHOULD ALWAYS
 BE SHOWN ON THE SAME SCREEN WITH FRONT OF WATCH SHOWN
 BEFORE BACK OF WATCH. SHOW THREE FEATURES AND DESCRIPTIONS
 PER PAGE]
 [DELAY NEXT BUTTON 10 SECONDS BETWEEN EACH PAGE WITH
 FEATURE/DESCRIPTIONS]
 [THE FRONT AND BACK DESIGN FEATURES WILL BE PICTURES]


    Price:
    Price refers to the amount of money you pay to purchase a smartwatch outright in-full
    (i.e., not on an installment plan). Typical prices range between $99 and $1,000,
    depending on features, specs, and models/brands.


    Battery Life:
    “Battery life” means the length of time the smartwatch can continue to work before it
    needs its battery to be recharged. Typical smartwatch batteries last between a day and a
    week on a single charge.




    Variety and Number of Apps:
    Smartwatches vary with respect to the number of compatible apps.


                                           D.3-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 124 of 507 PageID #:
                                    6542




    Appearance and Design: Front of the Watch: On some smartwatches, you can change
    the watch face by choosing among available options.




    Physiological Data Monitoring:
    Some smartwatches offer physiological data monitoring such as Hydration Index (Hi),
    oxygen level (SpO2), respiration rate, pleth variability index, and perfusion index.




                                          D.3-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 125 of 507 PageID #:
                                    6543



    Appearance and Design: Back of the Watch: The back of the watch sits against your
    wrist.




    Materials and Finishes:
    Smartwatches can come in a variety of materials and finishes, including aluminum,
    stainless steel, ceramic, and titanium.




    Sleep Tracking:
    Some smartwatches offer a special app for tracking your sleep, such as total sleep time,
    REM, and deep sleep, and provide health reports based on tracked sleep.




                                           D.3-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 126 of 507 PageID #:
                                    6544



    Fitness Tracking:
    Some smartwatches offer fitness tracking to monitor your daily activity, provide insight
    into fitness data trends, and allow you to share the fitness data.




    Weight:
    Typical smartwatches weigh around 30-55 grams.




    Water Resistance:
    Some smartwatches offer water resistance up to 60 meters, others offer water resistance
    at shallower depths, and others do not offer water resistance.




                                           D.3-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 127 of 507 PageID #:
                                    6545



    Heart Monitoring:
    Some smartwatches can get a quick read on your heart rate, or check your heart
    rhythm.




    Two Time Zone Display:
    Some smartwatches can display the time in two time zones at the same time (such as
    both on the East coast and the West coast of the U.S.).




 [NEXT PAGE]
 PLEASE READ CAREFULLY

 Next, you will see a smartwatch described in terms of the features you just reviewed.
 Please review carefully the specific features of the smartwatch. You can review the
 meaning of each feature by clicking on it.

 [SHOW THE TABLE BELOW ON THE SCREEN, AND DELAY NEXT BUTTON
 20 SECONDS]
 [ORDER THE FEATURES IN THE SAME ORDER AS SHOWN IN PRIOR
 SCREENS]
 [INCLUDE A HYPERLINK FOR EACH FEATURE CATEGORY (LEFT
 COLUMN) THAT LINKS TO THE DESCRIPTION FOR THAT FEATURE
 CATEGORY FROM THE FEATURE DESCRIPTIONS PREVIOUSLY SHOWN

                                           D.3-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 128 of 507 PageID #:
                                    6546



 TO RESPONDENTS; ALLOW RESPONDENTS TO CLICK/TAP THE LINK FOR
 A POP-UP]




                                     D.3-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 129 of 507 PageID #:
                                    6547



  Feature
  Price                        $399.00
  Battery Life                 18 Hours
  Variety and Number of Apps   Greater than 5
  Appearance and Design:
  Front of the Watch




  Physiological Data           Yes
  Monitoring
  Appearance and Design:
  Back of the Watch




  Materials and Finishes       Aluminum
  Sleep Tracking               Yes
  Fitness Tracking             Yes
  Weight                       31.9 grams
  Water Resistance             Yes
  Heart Monitoring             Yes
  Two Time Zone Display        No


 [NEXT PAGE]
 Q3. Now suppose that you were considering purchasing this smartwatch. Please select the
 features that you expect will impact your purchase decision. If you don’t know or are not
 sure if a feature will impact your purchase decision, please do not select it.
 [THE TABLE SHOULD BE EXACTLY THE SAME AS THE TABLE SHOWN IN
 THE PREVIOUS PAGE, WITH THE ONLY EXCEPTION OF THE COLUMN OF
 CHECKBOXES ON THE RIGHT]




                                            D.3-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 130 of 507 PageID #:
                                    6548



  Feature                                       Would Impact
                                                Your Purchase
                                                Decision?
  Price              $399.00                    [Checkbox]
  Battery Life       18 Hours                   [Checkbox]
  Variety and        Greater than 5             [Checkbox]
  Number of Apps
  Appearance and                                [Checkbox]
  Design: Front of
  the Watch




  Physiological      Yes                        [Checkbox]
  Data Monitoring
  Appearance and                                [Checkbox]
  Design: Back of
  the Watch




  Materials and      Aluminum                   [Checkbox]
  Finishes
  Sleep Tracking     Yes                        [Checkbox]
  Fitness Tracking   Yes                        [Checkbox]
  Weight             31.9 grams                 [Checkbox]
  Water Resistance   Yes                        [Checkbox]
  Heart Monitoring   Yes                        [Checkbox]
  Two Time Zone      No                         [Checkbox]
  Display



 [NEXT PAGE]

 F1. Thank you for completing this survey.




                                             D.3-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 131 of 507 PageID #:
                                    6549




           APPENDIX D.4
       ASSOCIATION SURVEY
       APPLE WATCH SERIES 5
      SURVEY QUESTIONNAIRE




                                      D.4-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 132 of 507 PageID #:
                                    6550
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 133 of 507 PageID #:
                                    6551



 QS10. So that we can confirm that you are actually a person, please enter the code exactly
 as it appears in the image below, including upper and lower case letters, and then click the
 “Continue” button to continue. Do NOT include any spaces. Type all of the characters
 together.

 TEXT BOX: ________________

 [ASK QS10a IF RESPONDENT FAILS QS10]

 QS10a. Please enter the code exactly as it appears in the image below, including upper
 and lower case letters, and then click the “Continue” button to continue. Do NOT include
 any spaces. Type all of the characters together.

 TEXT BOX: ________________

 [TERMINATE IF RESPONDENT FAILS QS10a]

 [NEXT PAGE]

 QS20. What is your gender? (Select one response.)

 [RANDOMIZE]

    1. Male
    2. Female
    3. Other [ANCHOR]
 [NEXT PAGE]

 QS30. Which of the following groups listed below includes your age? (Select one
 response.)

    1. Under 18 [TERMINATE]
    2. 18-39
    3. 40 or older
 [TERMINATE REPSONDENT IF AGE IN QS30 AND GENDER IN QS20 DO NOT
 MATCH PASSED IN PARAMETERS FROM PANEL]

 QS40. In which of the following states do you live? (Select one response.)

 [INSERT DROP DOWN LIST OF 50 STATES AND “WASHINGTON DC” IN
 ALPHABETIC ORDER. INCLUDE OPTION FOR “OTHER”. TERMINATE IF
 RESPONDENT CHOOSES “OTHER”]


                                            D.4-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 134 of 507 PageID #:
                                    6552




 [NEXT PAGE]

 QS50. Do you, or does any member of your household, currently work for any of the
 following? (Select all that apply.)

 [RANDOMIZE 1-6]

    1. An advertising, public relations or marketing agency or advertising department of a company
       [TERMINATE]
    2. A market research firm or a marketing research department of a company [TERMINATE]
    3. A company that makes or distributes smartwatches [TERMINATE]
    4. A company that makes or distributes video game consoles
    5. A company that makes or distributes computer chips
    6. A company that makes or distributes televisions
    7. None of these [ANCHOR; CONTINUE]


 [NEXT PAGE]

 QS60. Which of the following devices are you using right now to take this survey? (Select
 one response.)

 [RANDOMIZE]
    1.   Desktop computer
    2.   Laptop computer
    3.   Tablet (such as an iPad, Android tablet, etc.)
    4.   Cell phone (not a smartphone) [TERMINATE]
    5.   Smartphone
    6.   Other (please specify): __________ [ANCHOR; TERMINATE]
 [NEXT PAGE]

 QS70. Which of the following types of consumer electronics products do you own? (Select
 all that apply.)

 [RANDOMIZE]
    1.   Smartwatch
    2.   Gaming console
    3.   Smartphone
    4.   Tablet
    5.   None of the above [ANCHOR; TERMINATE]
    6.   Don’t know [ANCHOR; TERMINATE]


 [NEXT PAGE]


                                              D.4-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 135 of 507 PageID #:
                                    6553



 QS80. Which of the following types of consumer electronics products do you expect to
 purchase in the next 12 months? (Select one response for each row.)

 [SHOW ROWS IN THE SAME ORDER AS THE DEVICES WERE SHOWN IN
 QS70; RANDOMLY SHOW COLUMNS 2 THROUGH 6 IN ASCENDING OR
 DESCENDING ORDER.]

              I definitely   I probably    I may or may      I probably will   I definitely will
              will           will          not purchase in   not purchase in   not purchase in
              purchase in    purchase in   the next 12       the next 12       the next 12
              the next 12    the next 12   months            months            months
              months         months
  Smartwatc   [CONTINU       [CONTINU      [TERMINAT         [TERMINAT         [TERMINAT
  h           E TO QS90]     E TO QS90]    E]                E]                E]
  Gaming
  console
  Smartphon
  e
  Tablet

 [IF “DEFINITELY WILL BUY” OR “PROBABLY WILL BUY” SMARTWATCH,
 CONTINUE TO QS90, OTHERWISE TERMINATE.]

 [NEXT PAGE]

 QS90. You indicated that you will [“PROBABLY” OR “DEFINITELY” DEPENDING
 ON THE RESPONSE IN QS80] purchase a new smartwatch in the next 12 months. Will
 you be the person who will decide which smartwatch you will purchase? (Select one
 response.)
 [RANDOMIZE ORDER OF 1 AND 2.]
    1. Yes, I will decide
    2. No, I will not decide [TERMINATE]
    3. Don’t know [TERMINATE]


 [NEXT PAGE]

 QS100. [IF “PROBABLY” IN QS80 THEN “IF” ELSE “WHEN”] you purchase a new
 smartwatch in the next 12 months, approximately how many smartwatch brands do you
 expect to consider before making your purchase decision?
 [INSERT TEXT BOX AND ALLOW RESPONDENTS TO ENTER ANY WHOLE
 NUMBER. DO NOT ALLOW ANY CHARACTERS OTHER THAN WHOLE
 NUMBERS. TERMINATE IF RESPONSE IS 1 OR 0; OTHERWISE CONTINUE
 TO QS110.]


                                           D.4-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 136 of 507 PageID #:
                                    6554
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 137 of 507 PageID #:
                                    6555



 [CELL 2B (CONTROL): N=200]

 [MAIN QUESTIONNAIRE INTRODUCTION FOR CELL 1 AND CELL 2]

 You should complete this survey without stopping in the middle. Please make sure not to
 consult anyone and not to open another browser while working on this survey.

 During this survey, you will be shown a number of images. If you would like to look at
 any image more closely, please click on that image.

 [NEXT PAGE]

 Intro1. Suppose that while looking for a smartwatch on the Internet, for example, on Best
 Buy’s website, you see the following designs of the backs of five smartwatches.

 As a reminder, if you would like to look at any image more closely, please click on that
 image.

 [RANDOMIZE THE ORDER OF THE ROWS; DO NOT RANDOMIZE ORDER
 OF THE COLUMNS.]

 [ALL IMAGES SHOULD BE APPROXIMATELY THE SAME SIZE AND FIT IN
 THE SAME SIZE BOX; ALLOW RESPONDENTS TO ZOOM IN ON ANY
 IMAGE BY CLICKING ON IT.]

 [DELAY CONTINUE BUTTON FOR 15 SECONDS.]
  Apple
  Watch
  Series 5




  Samsung
  Galaxy
  Watch 5




                                            D.4-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 138 of 507 PageID #:
                                    6556



  Garmin
  Forerunner
  955




  Fitbit
  Sense 2




  Amazfit
  GTR 4




 [NEXT PAGE]



 [SHOW INTRO2_CELL_1B TO RESPONDENTS ASSIGNED TO CELL 1B;
 SHOW INTRO2_CELL_2B TO RESPONDENTS ASSIGNED TO CELL 2B; TEST
 RESPONDENTS (CELL 1B) SHOULD SEE MASIMO WATCH; CONTROL
 RESPONDENTS (CELL 2B) SHOULD SEE TICWATCH PRO 3 ULTRA].

 [ALL IMAGES SHOULD BE THE SAME SIZE AS THE IMAGES IN INTRO1;
 ALLOW RESPONDENTS TO ZOOM IN ON ANY IMAGE BY CLICKING ON
 IT.]

 [DELAY CONTINUE BUTTON FOR 10 SECONDS.]

 Intro2_Cell_1B. Suppose now that you come across the following design of the back of
 another smartwatch on the Internet (shown below). Please evaluate it.


                                          D.4-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 139 of 507 PageID #:
                                    6557



 [SHOW PICTURE OF MASIMO WATCH]




 Intro2_Cell_2B. Suppose now that you come across the following design of the back of
 another smartwatch on the Internet (shown below). Please evaluate it.

 [SHOW PICTURE OF TICWATCH PRO 3 ULTRA]




 [NEXT PAGE]
 [AT Q1, SHOW THE IMAGE FROM INTRO2_CELL_1B OR INTRO2_CELL_2B
 AS APPLICABLE ON THE TOP OF THAT PAGE ABOVE THE QUESTION]

 Q1. Which, if any, smartwatch company or brand do you associate with the design of the
 back of the smartwatch shown above? (Select one response, such as one of the
 companies/brands listed below, or write in your own answer, or select the option to
 indicate that you do not associate the design of the back of the smartwatch shown above
 with any smart watch company or brand, or indicate that you don’t know or are unsure.)
 [RANDOMIZE 1-5]

    1.   Apple
    2.   Fitbit
    3.   Garmin
    4.   Amazfit
    5.   Samsung
    6.   Other (please specify): _______ [ANCHOR]


                                           D.4-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 140 of 507 PageID #:
                                    6558



    7. I do not associate the design of the back of the smartwatch shown above with any
       smartwatch company or brand [ANCHOR]
    8. Don’t know/Unsure [ANCHOR]


 [ALL IMAGES SHOULD BE APPROXIMATELY THE SAME SIZE AND FIT IN
 THE SAME SIZE BOX; ALLOW RESPONDENTS TO ZOOM IN ON ANY
 IMAGE BY CLICKING ON IT.]
 [THIS TABLE SHOULD BE THE EXACT SAME TABLE AS WE SHOW IN
 INTRO1.]


  Apple
  Watch
  Series 5




  Samsung
  Galaxy
  Watch 5




  Garmin
  Forerunner
  955




  Fitbit
  Sense 2




                                             D.4-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 141 of 507 PageID #:
                                    6559



  Amazfit
  GTR 4




 [NEXT PAGE]


 [ALL GO TO F1]

 F1. Thank you for completing this survey.




                                             D.4-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 142 of 507 PageID #:
                                    6560




           APPENDIX D.5
       ASSOCIATION SURVEY
       APPLE WATCH SERIES 8
      SURVEY QUESTIONNAIRE




                                      D.5-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 143 of 507 PageID #:
                                    6561
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 144 of 507 PageID #:
                                    6562



 QS10. So that we can confirm that you are actually a person, please enter the code exactly
 as it appears in the image below, including upper and lower case letters, and then click the
 “Continue” button to continue. Do NOT include any spaces. Type all of the characters
 together.

 TEXT BOX: ________________

 [ASK QS10a IF RESPONDENT FAILS QS10]

 QS10a. Please enter the code exactly as it appears in the image below, including upper
 and lower case letters, and then click the “Continue” button to continue. Do NOT include
 any spaces. Type all of the characters together.

 TEXT BOX: ________________

 [TERMINATE IF RESPONDENT FAILS QS10a]

 [NEXT PAGE]

 QS20. What is your gender? (Select one response.)

 [RANDOMIZE]

    1. Male
    2. Female
    3. Other [ANCHOR]
 [NEXT PAGE]

 QS30. Which of the following groups listed below includes your age? (Select one
 response.)

    1. Under 18 [TERMINATE]
    2. 18-39
    3. 40 or older
 [TERMINATE REPSONDENT IF AGE IN QS30 AND GENDER IN QS20 DO NOT
 MATCH PASSED IN PARAMETERS FROM PANEL]

 QS40. In which of the following states do you live? (Select one response.)

 [INSERT DROP DOWN LIST OF 50 STATES AND “WASHINGTON DC” IN
 ALPHABETIC ORDER. INCLUDE OPTION FOR “OTHER”. TERMINATE IF
 RESPONDENT CHOOSES “OTHER”]


                                            D.5-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 145 of 507 PageID #:
                                    6563




 [NEXT PAGE]

 QS50. Do you, or does any member of your household, currently work for any of the
 following? (Select all that apply.)

 [RANDOMIZE 1-6]

    1. An advertising, public relations or marketing agency or advertising department of a company
       [TERMINATE]
    2. A market research firm or a marketing research department of a company [TERMINATE]
    3. A company that makes or distributes smartwatches [TERMINATE]
    4. A company that makes or distributes video game consoles
    5. A company that makes or distributes computer chips
    6. A company that makes or distributes televisions
    7. None of these [ANCHOR; CONTINUE]


 [NEXT PAGE]

 QS60. Which of the following devices are you using right now to take this survey? (Select
 one response.)

 [RANDOMIZE]
    1.   Desktop computer
    2.   Laptop computer
    3.   Tablet (such as an iPad, Android tablet, etc.)
    4.   Cell phone (not a smartphone) [TERMINATE]
    5.   Smartphone
    6.   Other (please specify): __________ [ANCHOR; TERMINATE]
 [NEXT PAGE]

 QS70. Which of the following types of consumer electronics products do you own? (Select
 all that apply.)

 [RANDOMIZE]
    1.   Smartwatch
    2.   Gaming console
    3.   Smartphone
    4.   Tablet
    5.   None of the above [ANCHOR; TERMINATE]
    6.   Don’t know [ANCHOR; TERMINATE]


 [NEXT PAGE]


                                              D.5-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 146 of 507 PageID #:
                                    6564



 QS80. Which of the following types of consumer electronics products do you expect to
 purchase in the next 12 months? (Select one response for each row.)

 [SHOW ROWS IN THE SAME ORDER AS THE DEVICES WERE SHOWN IN
 QS70; RANDOMLY SHOW COLUMNS 2 THROUGH 6 IN ASCENDING OR
 DESCENDING ORDER.]

              I definitely   I probably    I may or may      I probably will   I definitely will
              will           will          not purchase in   not purchase in   not purchase in
              purchase in    purchase in   the next 12       the next 12       the next 12
              the next 12    the next 12   months            months            months
              months         months
  Smartwatc   [CONTINU       [CONTINU      [TERMINAT         [TERMINAT         [TERMINAT
  h           E TO QS90]     E TO QS90]    E]                E]                E]
  Gaming
  console
  Smartphon
  e
  Tablet

 [IF “DEFINITELY WILL BUY” OR “PROBABLY WILL BUY” SMARTWATCH,
 CONTINUE TO QS90, OTHERWISE TERMINATE.]

 [NEXT PAGE]

 QS90. You indicated that you will [“PROBABLY” OR “DEFINITELY” DEPENDING
 ON THE RESPONSE IN QS80] purchase a new smartwatch in the next 12 months. Will
 you be the person who will decide which smartwatch you will purchase? (Select one
 response.)
 [RANDOMIZE ORDER OF 1 AND 2.]
    1. Yes, I will decide
    2. No, I will not decide [TERMINATE]
    3. Don’t know [TERMINATE]


 [NEXT PAGE]

 QS100. [IF “PROBABLY” IN QS80 THEN “IF” ELSE “WHEN”] you purchase a new
 smartwatch in the next 12 months, approximately how many smartwatch brands do you
 expect to consider before making your purchase decision?
 [INSERT TEXT BOX AND ALLOW RESPONDENTS TO ENTER ANY WHOLE
 NUMBER. DO NOT ALLOW ANY CHARACTERS OTHER THAN WHOLE
 NUMBERS. TERMINATE IF RESPONSE IS 1 OR 0; OTHERWISE CONTINUE
 TO QS110.]


                                           D.5-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 147 of 507 PageID #:
                                    6565
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 148 of 507 PageID #:
                                    6566



 [CELL 2A (CONTROL): N=200]

 [MAIN QUESTIONNAIRE INTRODUCTION FOR CELL 1A AND CELL 2A]

 You should complete this survey without stopping in the middle. Please make sure not to
 consult anyone and not to open another browser while working on this survey.

 During this survey, you will be shown a number of images. If you would like to look at
 any image more closely, please click on that image.

 [NEXT PAGE]

 Intro1. Suppose that while looking for a smartwatch on the Internet, for example, on Best
 Buy’s website, you see the following designs of the backs of five smartwatches.

 As a reminder, if you would like to look at any image more closely, please click on that
 image.

 [RANDOMIZE THE ORDER OF THE ROWS; DO NOT RANDOMIZE ORDER
 OF THE COLUMNS.]

 [ALL IMAGES SHOULD BE APPROXIMATELY THE SAME SIZE AND FIT IN
 THE SAME SIZE BOX; ALLOW RESPONDENTS TO ZOOM IN ON ANY
 IMAGE BY CLICKING ON IT.]

 [DELAY CONTINUE BUTTON FOR 15 SECONDS.]
  Apple
  Watch
  Series 8




  Samsung
  Galaxy
  Watch 5




                                            D.5-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 149 of 507 PageID #:
                                    6567



  Garmin
  Forerunner
  955




  Fitbit
  Sense 2




  Amazfit
  GTR 4




 [NEXT PAGE]



 [SHOW INTRO2_CELL_1A TO RESPONDENTS ASSIGNED TO CELL 1A;
 SHOW INTRO2_CELL_2A TO RESPONDENTS ASSIGNED TO CELL 2A; TEST
 RESPONDENTS (CELL 1A) SHOULD SEE MASIMO WATCH; CONTROL
 RESPONDENTS (CELL 2A) SHOULD SEE TICWATCH PRO 3 ULTRA].

 [ALL IMAGES SHOULD BE THE SAME SIZE AS THE IMAGES IN INTRO1;
 ALLOW RESPONDENTS TO ZOOM IN ON ANY IMAGE BY CLICKING ON
 IT.]

 [DELAY CONTINUE BUTTON FOR 10 SECONDS.]

 Intro2_Cell_1A. Suppose now that you come across the following design of the back of
 another smartwatch on the Internet (shown below). Please evaluate it.


                                          D.5-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 150 of 507 PageID #:
                                    6568



 [SHOW PICTURE OF MASIMO WATCH]




 Intro2_Cell_2A. Suppose now that you come across the following design of the back of
 another smartwatch on the Internet (shown below). Please evaluate it.

 [SHOW PICTURE OF TICWATCH PRO 3 ULTRA]




 [NEXT PAGE]
 [AT Q1, SHOW THE IMAGE FROM INTRO2_CELL_1A OR INTRO2_CELL_2A
 AS APPLICABLE ON THE TOP OF THAT PAGE ABOVE THE QUESTION]

 Q1. Which, if any, smartwatch company or brand do you associate with the design of the
 back of the smartwatch shown above? (Select one response, such as one of the
 companies/brands listed below, or write in your own answer, or select the option to
 indicate that you do not associate the design of the back of the smartwatch shown above
 with any smart watch company or brand, or indicate that you don’t know or are unsure.)
 [RANDOMIZE 1-5]

    1.   Apple
    2.   Fitbit
    3.   Garmin
    4.   Amazfit
    5.   Samsung
    6.   Other (please specify): _______ [ANCHOR]


                                           D.5-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 151 of 507 PageID #:
                                    6569



    7. I do not associate the design of the back of the smartwatch shown above with any
       smartwatch company or brand [ANCHOR]
    8. Don’t know/Unsure [ANCHOR]


 [ALL IMAGES SHOULD BE APPROXIMATELY THE SAME SIZE AND FIT IN
 THE SAME SIZE BOX; ALLOW RESPONDENTS TO ZOOM IN ON ANY
 IMAGE BY CLICKING ON IT.]
 [THIS TABLE SHOULD BE THE EXACT SAME TABLE AS WE SHOW IN
 INTRO1.]


  Apple
  Watch
  Series 8




  Samsung
  Galaxy
  Watch 5




  Garmin
  Forerunner
  955




  Fitbit
  Sense 2




                                             D.5-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 152 of 507 PageID #:
                                    6570



  Amazfit
  GTR 4




 [NEXT PAGE]


 [ALL GO TO F1]

 F1. Thank you for completing this survey.




                                             D.5-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 153 of 507 PageID #:
                                    6571




             APPENDIX E
         SURVEY SCREENSHOTS
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 154 of 507 PageID #:
                                    6572




            APPENDIX E.1
       DESIGN IMPACT SURVEY
              MASIMO
        SURVEY SCREENSHOTS




                                      E.1-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 155 of 507 PageID #:
                                    6573



 January 2023




                                      E.1-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 156 of 507 PageID #:
                                    6574



 S10




                                      E.1-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 157 of 507 PageID #:
                                    6575



 S10a




                                      E.1-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 158 of 507 PageID #:
                                    6576



 S20




                                      E.1-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 159 of 507 PageID #:
                                    6577



 S30




                                      E.1-6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 160 of 507 PageID #:
                                    6578



 S40




                                      E.1-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 161 of 507 PageID #:
                                    6579



 S50




                                      E.1-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 162 of 507 PageID #:
                                    6580



 S60




                                      E.1-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 163 of 507 PageID #:
                                    6581



 S70




                                     E.1-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 164 of 507 PageID #:
                                    6582



 S80




                                     E.1-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 165 of 507 PageID #:
                                    6583



 S90




                                     E.1-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 166 of 507 PageID #:
                                    6584



 S100




                                     E.1-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 167 of 507 PageID #:
                                    6585



 Qualify




                                     E.1-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 168 of 507 PageID #:
                                    6586




                                     E.1-15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 169 of 507 PageID #:
                                    6587



 Q1




                                     E.1-16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 170 of 507 PageID #:
                                    6588



 Q2




                                     E.1-17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 171 of 507 PageID #:
                                    6589




                                     E.1-18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 172 of 507 PageID #:
                                    6590




                                     E.1-19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 173 of 507 PageID #:
                                    6591




                                     E.1-20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 174 of 507 PageID #:
                                    6592




                                     E.1-21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 175 of 507 PageID #:
                                    6593




                                     E.1-22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 176 of 507 PageID #:
                                    6594




                                     E.1-23
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 177 of 507 PageID #:
                                    6595




                                     E.1-24
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 178 of 507 PageID #:
                                    6596



 Q3




                                     E.1-25
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 179 of 507 PageID #:
                                    6597




                                     E.1-26
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 180 of 507 PageID #:
                                    6598




            APPENDIX E.2
       DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 5
        SURVEY SCREENSHOTS




                                      E.2-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 181 of 507 PageID #:
                                    6599



 January 2023




                                      E.2-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 182 of 507 PageID #:
                                    6600



 S10




                                      E.2-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 183 of 507 PageID #:
                                    6601



 S10a




                                      E.2-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 184 of 507 PageID #:
                                    6602



 S20




                                      E.2-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 185 of 507 PageID #:
                                    6603



 S30




                                      E.2-6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 186 of 507 PageID #:
                                    6604



 S40




                                      E.2-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 187 of 507 PageID #:
                                    6605



 S50




                                      E.2-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 188 of 507 PageID #:
                                    6606



 S60




                                      E.2-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 189 of 507 PageID #:
                                    6607



 S70




                                     E.2-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 190 of 507 PageID #:
                                    6608



 S80




                                     E.2-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 191 of 507 PageID #:
                                    6609



 S90




                                     E.2-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 192 of 507 PageID #:
                                    6610



 S100




                                     E.2-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 193 of 507 PageID #:
                                    6611



 Qualify




                                     E.2-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 194 of 507 PageID #:
                                    6612




                                     E.2-15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 195 of 507 PageID #:
                                    6613



 Q1




                                     E.2-16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 196 of 507 PageID #:
                                    6614



 Q2




                                     E.2-17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 197 of 507 PageID #:
                                    6615




                                     E.2-18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 198 of 507 PageID #:
                                    6616




                                     E.2-19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 199 of 507 PageID #:
                                    6617




                                     E.2-20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 200 of 507 PageID #:
                                    6618




                                     E.2-21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 201 of 507 PageID #:
                                    6619




                                     E.2-22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 202 of 507 PageID #:
                                    6620




                                     E.2-23
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 203 of 507 PageID #:
                                    6621




                                     E.2-24
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 204 of 507 PageID #:
                                    6622




                                     E.2-25
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 205 of 507 PageID #:
                                    6623




                                     E.2-26
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 206 of 507 PageID #:
                                    6624




            APPENDIX E.3
       DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 8
        SURVEY SCREENSHOTS




                                      E.3-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 207 of 507 PageID #:
                                    6625



 January 2023




                                      E.3-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 208 of 507 PageID #:
                                    6626



 QS10




                                      E.3-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 209 of 507 PageID #:
                                    6627



 QS10a




                                      E.3-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 210 of 507 PageID #:
                                    6628



 QS20




                                      E.3-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 211 of 507 PageID #:
                                    6629



 QS30




                                      E.3-6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 212 of 507 PageID #:
                                    6630



 QS40




                                      E.3-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 213 of 507 PageID #:
                                    6631



 QS50




                                      E.3-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 214 of 507 PageID #:
                                    6632



 QS60




                                      E.3-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 215 of 507 PageID #:
                                    6633



 QS70




                                     E.3-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 216 of 507 PageID #:
                                    6634



 QS80




                                     E.3-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 217 of 507 PageID #:
                                    6635



 QS90




                                     E.3-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 218 of 507 PageID #:
                                    6636



 QS100




                                     E.3-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 219 of 507 PageID #:
                                    6637



 Qualify




                                     E.3-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 220 of 507 PageID #:
                                    6638




                                     E.3-15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 221 of 507 PageID #:
                                    6639



 Q1




                                     E.3-16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 222 of 507 PageID #:
                                    6640



 Q2




                                     E.3-17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 223 of 507 PageID #:
                                    6641




                                     E.3-18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 224 of 507 PageID #:
                                    6642




                                     E.3-19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 225 of 507 PageID #:
                                    6643




                                     E.3-20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 226 of 507 PageID #:
                                    6644




                                     E.3-21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 227 of 507 PageID #:
                                    6645




                                     E.3-22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 228 of 507 PageID #:
                                    6646




                                     E.3-23
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 229 of 507 PageID #:
                                    6647




                                     E.3-24
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 230 of 507 PageID #:
                                    6648



 Q3




                                     E.3-25
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 231 of 507 PageID #:
                                    6649




                                     E.3-26
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 232 of 507 PageID #:
                                    6650




             APPENDIX E.4
         ASSOCIATION SURVEY
         APPLE WATCH SERIES 5
         SURVEY SCREENSHOTS




                                      E.4-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 233 of 507 PageID #:
                                    6651



 January 2023




                                      E.4-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 234 of 507 PageID #:
                                    6652



 QS10




                                      E.4-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 235 of 507 PageID #:
                                    6653



 QS10a




                                      E.4-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 236 of 507 PageID #:
                                    6654



 QS20




                                      E.4-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 237 of 507 PageID #:
                                    6655



 QS30




                                      E.4-6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 238 of 507 PageID #:
                                    6656



 QS40




                                      E.4-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 239 of 507 PageID #:
                                    6657



 QS50




                                      E.4-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 240 of 507 PageID #:
                                    6658



 QS60




                                      E.4-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 241 of 507 PageID #:
                                    6659



 QS70




                                     E.4-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 242 of 507 PageID #:
                                    6660



 QS80




                                     E.4-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 243 of 507 PageID #:
                                    6661



 QS90




                                     E.4-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 244 of 507 PageID #:
                                    6662



 QS100




                                     E.4-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 245 of 507 PageID #:
                                    6663



 QS110




                                     E.4-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 246 of 507 PageID #:
                                    6664



 Qualify




                                     E.4-15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 247 of 507 PageID #:
                                    6665




                                     E.4-16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 248 of 507 PageID #:
                                    6666




                                     E.4-17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 249 of 507 PageID #:
                                    6667



 Cell 1B




                                     E.4-18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 250 of 507 PageID #:
                                    6668



 Cell 2B




                                     E.4-19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 251 of 507 PageID #:
                                    6669



 Q1 – Cell 1B




                                     E.4-20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 252 of 507 PageID #:
                                    6670



 Q1 – Cell 2B




                                     E.4-21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 253 of 507 PageID #:
                                    6671




                                     E.4-22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 254 of 507 PageID #:
                                    6672




             APPENDIX E.5
         ASSOCIATION SURVEY
         APPLE WATCH SERIES 8
         SURVEY SCREENSHOTS




                                      E.5-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 255 of 507 PageID #:
                                    6673



 January 2023




                                      E.5-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 256 of 507 PageID #:
                                    6674



 as
 QS10




                                      E.5-3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 257 of 507 PageID #:
                                    6675



 QS10a




                                      E.5-4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 258 of 507 PageID #:
                                    6676



 QS20




                                      E.5-5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 259 of 507 PageID #:
                                    6677



 QS30




                                      E.5-6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 260 of 507 PageID #:
                                    6678



 QS40




                                      E.5-7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 261 of 507 PageID #:
                                    6679



 QS50




                                      E.5-8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 262 of 507 PageID #:
                                    6680



 QS60




                                      E.5-9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 263 of 507 PageID #:
                                    6681



 QS70




                                     E.5-10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 264 of 507 PageID #:
                                    6682



 QS80




                                     E.5-11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 265 of 507 PageID #:
                                    6683



 QS90




                                     E.5-12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 266 of 507 PageID #:
                                    6684



 QS100




                                     E.5-13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 267 of 507 PageID #:
                                    6685



 QS110




                                     E.5-14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 268 of 507 PageID #:
                                    6686



 Qualify




                                     E.5-15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 269 of 507 PageID #:
                                    6687




                                     E.5-16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 270 of 507 PageID #:
                                    6688




                                     E.5-17
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 271 of 507 PageID #:
                                    6689



 Cell 1A




                                     E.5-18
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 272 of 507 PageID #:
                                    6690



 Cell 2A




                                     E.5-19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 273 of 507 PageID #:
                                    6691



 Q1 – Cell 1A




                                     E.5-20
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 274 of 507 PageID #:
                                    6692



 Q1 Cell 2A




                                     E.5-21
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 275 of 507 PageID #:
                                    6693




                                     E.5-22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 276 of 507 PageID #:
                                    6694




             APPENDIX F
         TERMINATION REPORT
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 277 of 507 PageID #:
                                    6695




            APPENDIX F.1
       DESIGN IMPACT SURVEY
              MASIMO
       TERMINATION REPORT




                                      F.1-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 278 of 507 PageID #:
                                    6696




                   Design Impact Survey ‐ Masimo ‐ Termination Report Summary
            Completes                                                          200
            Total Incomplete                                                    54
            Total Terminates                                                  1192
            Total Overquota                                                      3
            Total                                                             1449


                                          Incompletes
            INCOMPLETE_MAIN                                                     6
            INCOMPLETE_SCR                                                     48
                                           Overquota
            Overquota: Age or Gender                                            3
                                           Terminates
            QS10: Did not pass CAPTCHA                                         47
            QS20: Gender did not match/Did not select 'Other'                   5
            QS30: Under 18                                                      8
            QS30: Age did not match                                             8
            QS50: Worked in sensitive industry                                 63
            QS60: Not on approved device                                       58
            QS70: Did not know or own any qualifying devices                   20
            QS80: Did not plan to purchase smartwatch in next 12 months       895
            QS90: Would not be decision maker for smartwatch                    8
            QS100: Would only consider 0 or 1 brand                            80




                                              F.1-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 279 of 507 PageID #:
                                    6697




            APPENDIX F.2
       DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 5
       TERMINATION REPORT




                                      F.2-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 280 of 507 PageID #:
                                    6698




                 Design Impact Survey ‐ Apple Watch Series 5 ‐ Termination Report
                                            Summary
            Completes                                                              200
            Total Incomplete                                                        43
            Total Terminates                                                       979
            Total Overquota                                                          4
            Total                                                                 1226


                                           Incompletes
            INCOMPLETE_MAIN                                                         2
            INCOMPLETE_SCR                                                         41
                                           Overquota
            Overquota: Age or Gender                                                4
                                           Terminates
            QS10: Did not pass CAPTCHA                                             35
            QS20: Gender did not match/Did not select 'Other'                      12
            QS30: Under 18                                                          6
            QS30: Age did not match                                                14
            QS50: Worked in sensitive industry                                     86
            QS60: Not on approved device                                           63
            QS70: Did not know or own any qualifying devices                       25
            QS80: Did not plan to purchase smartwatch in next 12 months           658
            QS90: Would not be decision maker for smartwatch                        4
            QS100: Would only consider 0 or 1 brand                                76




                                              F.2-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 281 of 507 PageID #:
                                    6699




            APPENDIX F.3
       DESIGN IMPACT SURVEY
       APPLE WATCH SERIES 8
       TERMINATION REPORT




                                      F.3-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 282 of 507 PageID #:
                                    6700




                 Design Impact Survey ‐ Apple Watch Series 8 ‐ Termination Report
                                            Summary
            Completes                                                              200
            Total Incomplete                                                        54
            Total Terminates                                                      1221
            Total Overquota                                                         14
            Total                                                                 1489


                                           Incompletes
            INCOMPLETE_MAIN                                                         7
            INCOMPLETE_SCR                                                         47
                                           Overquota
            Overquota: Age or Gender                                               14
                                           Terminates
            QS10: Did not pass CAPTCHA                                             38
            QS20: Gender did not match/Did not select 'Other'                      19
            QS30: Under 18                                                          9
            QS30: Age did not match                                                23
            S40: Did not live in US                                                 1
            QS50: Worked in sensitive industry                                     60
            QS60: Not on approved device                                           76
            QS70: Did not know or own any qualifying devices                       29
            QS80: Did not plan to purchase smartwatch in next 12 months           869
            QS90: Would not be decision maker for smartwatch                       14
            QS100: Would only consider 0 or 1 brand                                83




                                              F.3-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 283 of 507 PageID #:
                                    6701




             APPENDIX F.4
         ASSOCIATION SURVEY
         APPLE WATCH SERIES 5
         TERMINATION REPORT




                                      F.4-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 284 of 507 PageID #:
                                    6702




             Association Survey ‐ Apple Watch Series 5 ‐ Termination Report Summary
            Completes                                                            401
            Total Incomplete                                                     102
            Total Terminates                                                    2934
            Total Overquota                                                       55
            Total                                                               3492


                                          Incompletes
            INCOMPLETE_MAIN                                                       0
            INCOMPLETE_SCR                                                      102
                                           Overquota
            Overquota: Age or Gender                                             55
                                           Terminates
            QS10: Did not pass CAPTCHA                                          113
            QS20: Gender did not match/Did not select 'Other'                    42
            QS30: Under 18                                                       23
            QS30: Age did not match                                              41
            S40: Did not live in US                                               1
            QS50: Worked in sensitive industry                                  176
            QS60: Not on approved device                                        175
            QS70: Did not know or own any qualifying devices                     58
            QS80: Did not plan to purchase smartwatch in next 12 months        2111
            QS90: Would not be decision maker for smartwatch                     26
            QS100: Would only consider 0 or 1 brand                             167
            Qualify: Did not understand or agree to instructions                  1




                                              F.4-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 285 of 507 PageID #:
                                    6703




             APPENDIX F.5
         ASSOCIATION SURVEY
         APPLE WATCH SERIES 8
         TERMINATION REPORT




                                      F.5-1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 286 of 507 PageID #:
                                    6704




             Association Survey ‐ Apple Watch Series 8 ‐ Termination Report Summary
            Completes                                                            400
            Total Incomplete                                                     124
            Total Terminates                                                    2243
            Total Overquota                                                       60
            Total                                                               2827


                                          Incompletes
            INCOMPLETE_MAIN                                                       0
            INCOMPLETE_SCR                                                      124
                                           Overquota
            Overquota: Age or Gender                                             60
                                           Terminates
            QS10: Did not pass CAPTCHA                                           88
            QS20: Gender did not match/Did not select 'Other'                    38
            QS30: Under 18                                                       16
            QS30: Age did not match                                              46
            S40: Did not live in US                                               2
            QS50: Worked in sensitive industry                                  170
            QS60: Not on approved device                                        144
            QS70: Did not know or own any qualifying devices                     31
            QS80: Did not plan to purchase smartwatch in next 12 months        1534
            QS90: Would not be decision maker for smartwatch                     15
            QS100: Would only consider 0 or 1 brand                             159




                                              F.5-2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 287 of 507 PageID #:
                                    6705




                   EXHIBIT O
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 288 of 507 PageID #:
                                    6706



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


  APPLE INC.,

                     Plaintiff,           C.A. No. 1:22-1377-MN

                v.                        DECLARATION OF JAMES
                                          MALACKOWSKI IN SUPPORT OF
  MASIMO CORPORATION and                  APPLE INC.’S MOTION FOR AN
  SOUND UNITED, LLC,                      EXPEDITED TRIAL

                     Defendants.

  MASIMO CORPORATION,

                     Counter-Claimant,

                v.

  APPLE INC.,

                     Counter-Defendant.
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 289 of 507 PageID #:
                                    6707



                                                   TABLE OF CONTENTS

 I.     Assignment. ........................................................................................................................ 1
 II.    Qualifications. ..................................................................................................................... 1
 III.   Summary of Opinions. ........................................................................................................ 3
 IV.    Legal Standards ................................................................................................................... 4
 V.     Background ......................................................................................................................... 5
        A.         Apple, Apple Watch, And Apple’s Reputation For Innovation And Design. ........ 5
        B.         Apple Has Been Awarded Patent Protection For Its Innovative Designs That Are
                   Embodied In Apple Watch.................................................................................... 10
        C.         Apple Watch’s Designs Form A Key Part Of Apple Watch’s Success. ............... 14
        D.         Masimo Corporation Is A Hospital Equipment Company That Only Just Recently
                   Released Its First Smartwatch, W1. ...................................................................... 20
        E.         Masimo’s W1 Is Substantially Similar To The Patented Designs In The Asserted
                   Patents. .................................................................................................................. 25
        F.         Masimo Acquired Sound United To Distribute W1 And Intends To Substantially
                   Expand Its Sales Of W1 And Other Similar Products In The Latter Half Of 2023.
                   ............................................................................................................................... 27
 VI.    Apple Is Likely to Sustain Irreperable Harm From Masimo’s Ongoing And Escalating
        Sales Of W1 In The Latter Half of 2023........................................................................... 33
        A.         Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of 2023 Is
                   Likely To Cause Apple Irreparable Harm By Requiring Apple To Compete With
                   Its Own Patented Designs And, Consequently, Lose Product Market Share, Sales,
                   Revenues, And Profits Related To Apple Watch.................................................. 34
                   1.         Apple Watch And W1 Will Compete In The Latter Half Of 2023 If
                              Masimo’s Distribution Plans Come To Fruition. ...................................... 34
                   2.         Competition Between Apple Watch And W1 In The Latter Half Of 2023
                              Will Cause Apple Irreparable Harm By Improperly Requiring Apple To
                              Compete With Its Own Patented Designs, Resulting In Irreparable Lost
                              Product Market Share, Sales, Revenues, And Profits. .............................. 40
                   3.         The Likely Irreparable Harm To Apple From Requiring Apple To
                              Compete With Its Own Patented Inventions And Consequently Lose
                              Product Market Share In The Latter Half Of 2023 Is Causally Linked To
                              Masimo’s Unauthorized Use Of The Patented Designs In The Asserted
                              Patents. ...................................................................................................... 45
        B.         Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of 2023 Will
                   Result In Irreparable Harm To Apple’s Reputation As An Innovator of Product
                   Designs And Provider Of High-Quality Products. ............................................... 49




                                                                       i
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 290 of 507 PageID #:
                                    6708



                   1.         Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of
                              2023 Will Cause Irreparable Harm To Apple’s Reputation As An
                              Innovator Of Product Designs. ................................................................. 50
                   2.         Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of
                              2023 Will Cause Irreparable Harm To Apple’s Reputation As A Provider
                              Of High Quality Products. ........................................................................ 53
                   3.         The Likely Irreparable Harm To Apple’s Reputation In The Latter Half Of
                              2023 Is Causally Linked To Masimo’s Use Of The Patented Designs In
                              the Asserted Patents. ................................................................................. 55
         C.        The Likely Irreparable Harms To Apple In The Latter Half Of 2023 Will Not Be
                   Redressed By Calculating Damages Based On Masimo’s Profits. ....................... 55
                   1.         Apple’s Likely Irreparable Harm In The Latter Half Of 2023 Will Not Be
                              Redressed By A Reasonable Royalty. ...................................................... 56
                   2.         Apple’s Likely Irreparable Harm In The Latter Half Of 2023 Will Not Be
                              Redressed By Disgorging Masimo’s Profits. ............................................ 57
         D.        Enjoining Distribution Of W1 During 2023 Will Mitigate The Irreparable Harms
                   To Apple Resulting From Masimo’s Ongoing And Escalating Sales Of W1 In The
                   Latter Half Of 2023. .............................................................................................. 58
 VII.    A Post-Trial Injunction Is Not Likely To Significantly Harm Masimo............................ 58
 VIII.   Apple Watch’s Patented Designs Have Experienced Significant Commercial Success
         And Industry Praise........................................................................................................... 59




                                                                   ii
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 291 of 507 PageID #:
                                    6709



                        I, James Malackowski, state and declare as follows:

 I.     ASSIGNMENT.

        1.      I have been asked by counsel for Apple Inc. (“Apple”) to provide this Declaration

 in connection with Apple’s Motion for An Expedited Trial, which seeks an expedited trial date to

 adjudicate Masimo Corporation’s (“Masimo”) and Sound United, LLC’s (“Sound United”)

 (together, “Masimo”) liability for importing, marketing, selling, offering to sell, and/or otherwise

 commercializing within the United States Masimo’s W1 smartwatch (“W1”) with designs that are

 alleged to infringe Apple’s design patents (among other intellectual property).

        2.      I understand that Apple is seeking an expedited trial to ultimately seek post-trial

 injunctive relief against Masimo immediately following trial to mitigate the irreparable harm that

 Apple is likely to sustain in 2023, particularly the latter half of 2023, from Masimo’s ongoing and

 escalating sales of W1. I have been asked to address economic issues relating to irreparable harm,

 any harm to Masimo that is likely to result from a post-trial injunction, and commercial success

 and industry praise related to the patented designs in the Asserted Patents.

        3.      A listing of documents reviewed in this case is included in the footnotes to this

 Declaration and/or the summary provided in Appendix 2. References to documents are meant to

 provide examples of supporting information but are not intended to be a comprehensive or

 exhaustive list of all known support, or to signify a heightened level of importance. I reserve the

 right to supplement my opinions and the bases for my opinions in the event any additional

 information or opinions are submitted by the parties or experts in this matter.

 II.    QUALIFICATIONS.

        4.      I am a Co-founder and Senior Managing Director of Ocean Tomo, LLC, a part of

 J.S. Held. Ocean Tomo provides Financial Expert, Management Consulting, and Advisory

 services related to intellectual property (IP).       Practice offerings address economic damage

                                                   1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 292 of 507 PageID #:
                                    6710



 calculations and testimony; technology and intangible asset valuation; strategy and risk

 management consulting; debt and equity private placement; and IP brokerage. With more than

 100 offices globally, J.S. Held assists clients – corporations, insurers, law firms, governments, and

 institutional investors – on complex technical, scientific, and financial matters across all assets and

 value at risk.

         5.       Along with Supreme Court Justice Stephen Breyer, I was inducted into the IP Hall

 of Fame in 2022, chosen by the IP Hall of Fame Academy from a long list of nominees put forward

 by the global IP community. I was recognized by the Academy in 2022 with the Q. Todd

 Dickinson Award, which honors those who have made significant contributions to IP as a business

 asset. My inclusion into the IP Hall of Fame follows annual recognition since 2007 by leading

 industry publications as one of the “World’s Leading IP Strategists.”

         6.       On more than 100 occasions, I have served as an expert in U.S. Federal Court, U.S.

 Bankruptcy Court, State Court, Court of Chancery, the Ontario Superior Court of Justice, the U.S.

 Patent and Trademark Office Patent Trial and Appeal Board, and global arbitrations on questions

 relating to IP economics including the subjects of valuation, reasonable royalty, lost profits, price

 erosion, profit disgorgement, commercial success, irreparable harm, equities of a potential

 injunction, corrective advertising, creditor allocations, business significance of licensing terms

 including RAND obligations, and venture financing including expected risk / return. I have

 publicly addressed policy issues affecting international trade and have provided expert opinions

 concerning antidumping and countervailing duties imposed by the U.S. Department of Commerce

 as well as testimony on domestic industry, bond, and remedies before the ITC. I have substantial

 experience as a Board Director for leading technology corporations and research organizations as

 well as companies with critical brand management issues.



                                                   2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 293 of 507 PageID #:
                                    6711



        7.      I am a Past President of The Licensing Executives Society International, Inc.

 (“LESI”), with oversight for more than ten thousand members in 32 countries. As President of

 LESI, I helped facilitate the development of professional standards among members engaged in

 the licensing of technology of IP rights. I also oversaw initiatives to inform and educate the public

 – international bodies, government bodies, and the business community – concerning the economic

 significance of licensing and importance of developing professional standards.

        8.      I am a Summa Cum Laude graduate of the University of Notre Dame majoring in

 accountancy and philosophy. I am Certified/Accredited in Financial Forensics, Business

 Valuation and Blockchain Fundamentals. I am a Certified Licensing Professional and a Registered

 Certified Public Accountant in the State of Illinois. My curriculum vitae, which sets forth my

 qualifications to be an expert witness in this case, is attached hereto as Appendix 1. My hourly

 billing rate on this matter is $1,200. My and/or Ocean Tomo’s compensation is not dependent on

 the outcome of this matter. Ocean Tomo’s work on this matter was performed by me or under my

 supervision.

 III.   SUMMARY OF OPINIONS.

        9.      While my opinions are set forth throughout this Declaration, in summary, I have

 concluded the following:

            In the absence of an expedited trial, Apple is likely to sustain irreparable harm in 2023,
             specifically in the latter half of 2023, from Masimo’s ongoing and escalating sales of
             W1 in the forms of:

             o Present and future lost product market share1 comprising lost unit sales, revenues,
               and profits from Apple Watch; and



 1
   I understand Apple disputes Masimo’s definition of an alleged relevant market for the sale of
 “health watches” in the United States in its antitrust counterclaims in Apple Inc. v. Masimo Corp.
 et al., C.A. No. 1:22:cv-01378-MN, D.I. 15 (D. Del. Dec. 14, 2022). As discussed in my


                                                   3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 294 of 507 PageID #:
                                    6712



              o Present and future lost brand value resulting from an adverse impact on: (1) Apple’s
                reputation as an innovator of uniquely designed products; and (2) Apple’s
                reputation as a provider of high-quality consumer products.

 In my opinion, the foregoing harms are not quantifiable to a reasonable degree of economic
 certainty and are therefore irreparable. The non-quantifiable and irreparable nature of the
 foregoing harms is due in part to the fact that the harms are not limited to the time during the
 pendency of this case but will continue even if Apple is successful in obtaining post-trial injunctive
 relief.

 I have further concluded that:

             Apple’s potential recovery of Masimo’s profits or a reasonable royalty based on
              Masimo’s sales and profits related to W1 will not sufficiently compensate Apple for
              the irreparable harms described herein that Apple is likely to sustain from Masimo’s
              ongoing and escalating sales of W1;

             Enjoining Masimo’s distribution of W1 during 2023 will mitigate the likely irreparable
              harm to Apple resulting from Masimo’s ongoing and escalating sales of W1 in the latter
              half of 2023;

             A post-trial injunction is not likely to cause substantial harm to Masimo; and

             Apple Watch’s patented designs have experienced significant commercial success and
              industry praise.

 IV.    LEGAL STANDARDS

        10.      I am not an attorney. Apple’s counsel has conveyed to me certain legal principles

 relevant to my analysis in this report. I am relying on their instructions for these legal standards

 and I have applied these legal standards in forming my opinions in this report. I have included my

 understanding of these legal principles below.




 opinions herein, Apple will be irreparably harmed by Masimo’s unfair gain of share in any
 relevant market in which W1 and Apple Watch compete because of Masimo’s sales of its
 infringing W1 product.

                                                   4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 295 of 507 PageID #:
                                    6713



         11.      I understand that irreparable injury encompasses different types of losses that are

 often difficult to quantify, including lost market share and erosion in reputation and brand

 distinction.

         12.      I understand that a finding of irreparable harm requires proof of a nexus between

 the alleged harm and the alleged infringement.

 V.      BACKGROUND

         A.       Apple, Apple Watch, And Apple’s Reputation For Innovation And Design.

         13.      Apple indisputably is one of the most innovative companies of the 21st century.

         14.      Since its founding in 1976, Apple has been in the business of, among other things,

 designing, manufacturing, marketing, and selling, worldwide, consumer electronics, including

 smartphones, laptops, tablets, and wearables, like Apple Watch, and related accessories and

 applications.2

         15.      Beginning in 2015, for example, Apple released its first Apple Watch. 3 Nearly

 eight years later, in September 2022, Apple released its newest versions of Apple Watch, including

 Apple Watch Series 8 and Apple Watch Ultra. 4,5




 2
  Apple 2022 Form 10-K, pp. 1, 5; “The Founding of Apple Computers, Inc.,” Library of
 Congress, https://guides.loc.gov/this-month-in-business-history/april/apple-computers-founded.
 3
  “Apple Unveils Apple Watch—Apple’s Most Personal Device Ever,” Apple,
 https://www.apple.com/newsroom/2014/09/09Apple-Unveils-Apple-Watch-Apples-Most-
 Personal-Device-Ever/.
 4
  “Apple reveals Apple Watch Series 8 and the new Apple Watch SE,” Apple,
 https://www.apple.com/newsroom/2022/09/apple-reveals-apple-watch-series-8-and-the-new-
 apple-watch-se/.
 5
  “Introducing Apple Watch Ultra,” Apple,
 https://www.apple.com/newsroom/2022/09/introducing-apple-watch-ultra/.

                                                   5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 296 of 507 PageID #:
                                    6714



        16.      With every product that Apple develops, design is a pre-eminent focus and

 consideration. That focus on design has led Apple to become one of the most innovative

 companies in the world. Apple Watch, including Apple’s newest versions of Apple Watch,

 continue Apple’s long history as a global leader in product development and design.

        17.      For example, from 2010 to 2018, PwC ranked Apple as the most innovative

 company eight times, ranking it only behind Alphabet (Google) in 2017, as shown below in Figure

 1.6

                                         Figure 1
              PwC’s Annual Rankings of Most Innovative Companies, 2010 to 2018 7




        18.      According to PwC, “[a]t Apple, innovation has always been a top executive-team

 agenda item. . . . but Apple has also elevated innovation – and specifically, design – within the




 6
  “What the top innovators get right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.
 7
  “What the top innovators get right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 297 of 507 PageID #:
                                    6715



 organization.”8 Apple CEO, Tim Cook, has stated that “innovation is in the company’s DNA, and

 that its culture is not something that can be formulaically copied.” 9

        19.     A 2018 article published by PwC titled, “What the top innovators get right,”

 describes Apple as “Silicon Valley’s poster child for innovation excellence and the perennial

 leader of [PwC’s] ‘10 Most Innovative Companies’ list.”10 According to PwC, “[w]hat’s driven

 Apple’s commercial and financial success, after all, is its ability to design and develop distinctive

 new products and services and bring them to market successfully.” 11

        20.     Similarly, a 2020 Harvard Business Review article titled “How Apple is Organized

 for Innovation,” provides that “Apple’s main purpose is to create products that enrich people’s

 daily lives. That involves not only developing entirely new product categories such as the iPhone

 and [] Apple Watch, but also continually innovating within those categories.” 12

        21.     Boston Consulting Group likewise recently identified Apple as its most innovative

 company of 2022, ahead of other high-tech companies such as Microsoft, Amazon, Alphabet




 8
  “What the Top Innovators Get Right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.
 9
  “What the Top Innovators Get Right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.
 10
    “What the Top Innovators Get Right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.
 11
    “What the top innovators get right,” Strategy+Business, a PWC publication,
 https://www.strategy-business.com/feature/What-the-Top-Innovators-Get-Right.
 12
    “How Apple Is Organized for Innovation,” Harvard Business Review,
 https://hbr.org/2020/11/how-apple-is-organized-for-innovation.

                                                   7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 298 of 507 PageID #:
                                    6716



 (Google), and Tesla.13 In fact, from 2005 to 2022, Boston Consulting Group ranked Apple the

 “Most Innovative Company” every year, except for 2019 for which Apple ranked third. 14

        22.      Apple’s strong reputation as an innovator specifically includes its innovation in

 design. Apple’s commitment to product design is widely recognized, as illustrated by the

 following exemplary publications:

             The Christian Science Monitor – A 2011 article titled “What do Apple, GM, and P&G
              share? Design.” describes “Apple [as] the premier example of a company that has
              combined technical excellence with design brilliance.” “‘Design has played a huge
              role in Apple’s success,’ says Josh Linkner, chairman of ePrize, a brand marketing
              company based in Detroit whose clients include Coca-Cola, AT&T, and Microsoft.
              ‘It’s proof that design drives economic gain.’” 15

             Innovation Management – A 2017 article titled “Lessons from Apple on Why Aesthetic
              Innovation is Important,” provides that:

              o “There’s a lot of good-looking hardware out there, but most people agree that Apple
                has most of the competition beat – and has often been the inspiration for other
                manufacturers. Its sleek and simple designs are impressively minimalist, while
                staying high-quality and highly functional.”

              o “The aesthetics of the products embody Apple and its values – reinforcing trust and
                acting as a status symbol for buyers.”

              o “The design process at [Apple] can be lengthy, and the aesthetics of the next
                cutting-edge technology are as important as the hardware itself.” 16

             Cleverism.com – A 2019 post titled “Why Apple Design is Successful” describes the
              significance of Apple’s designs:


 13
   “Most Innovative Companies 2022” Boston Consulting Group, https://web-
 assets.bcg.com/63/15/963298f5460f8b768403b24ac242/bcg-most-innovative-companies-2022-
 sep-2022-1.pdf , p. 3.
 14
    “16 Years of the Most Innovative Companies,” Boston Consulting Group,
 https://www.bcg.com/publications/most-innovative-companies-historical-rankings.
 15
    “What do Apple, GM, and P&G share? Design.” The Christian Science Monitor,
 https://www.csmonitor.com/Business/2011/0323/What-do-Apple-GM-and-P-G-share-Design.
 16
    “Lessons from Apple on Why Aesthetic Innovation is Important,” Innovation Management,
 https://innovationmanagement.se/2017/06/22/lessons-from-apple-on-why-aesthetic-innovation-
 is-important/.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 299 of 507 PageID #:
                                    6717



            o “Groundbreaking. Pioneering. Enduring. All these words apply to the Apple design.
              One cannot discuss the success of Apple – the company – as a whole without
              touching on its design philosophies and sensibilities.”

            o “Ask Apple users why they stick to Apple products despite the fact that there are a
              lot of other . . . alternatives out there, and they will give you a lot of reasons, most
              of which are centered on design.”

            o “When Apple designs a good-looking product, you can tell that it really is good-
              looking. Other brands and manufacturers shamelessly copy the design features of
              Apple products, and they are rarely able to do it right.”

            o “Apple creates designs that instill ‘pride and ownership.’ Apple products are
              instantly recognizable at first glance, and they have now become status symbols of
              sort. This is another proof of how iconic Apple’s simple designs are.”

            o “Apple is a pioneer when it comes to design. . . . Apple introduces a new, cutting-
              edge design, competitors try to copy it, but by the time they are able to, Apple is
              already hard at work [on] another breakthrough design.” 17

           Business Insider – A 2020 video titled “Why Apple Products are so Expensive,”
            indicates that “Apple has, over the years, built a reputation for quality and the industrial
            design of its products” which has “created millions of loyal customers.” According to
            the video, consumers should “think of Apple as a luxury brand. As with Gucci or
            Hermès, customers pay more because the logo is a status symbol.” 18

           Medium.com – A 2021 article titled “Are Apple Products Really Worth It?” provides
            that Apple’s “[r]eaching such a level of quality demands a lot of time, research, and
            innovation.” The article also provides “[w]e all love the amazing and relentless
            finishing on Apple products. Even without the logo, it’s easy to recognize Apple’s
            signature bezel finishes.”19

           Medium.com – Another 2021 Medium.com article titled “What makes Apple designs
            so good,” provides that “Apple counts design as the foundation principle. It is the
            starting point of their development process for any new product.” This article also
            states that “[w]hile Apple is known for its great technology, a big part of its reputation
            lies in its clean minimalist design” and that a “key aspect of Apple’s design is


 17
   “Why the Apple Design is So Successful,” Cleverism, https://www.cleverism.com/why-apple-
 design-successful/.
 18
    “Why Apple Products are so Expensive,” Business Insider,
 https://www.businessinsider.com/why-apple-products-are-so-expensive-iphone-macbook-2019-
 11, video transcription.
 19
   “Are Apple Products really Worth It?” Medium, https://medium.com/geekculture/are-apple-
 products-really-worth-it-b0631dee8ac2.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 300 of 507 PageID #:
                                    6718



                 simplicity. More than being flashy or eye-catching. Apple always designed its
                 products to look clean, simple, and straightforward.”20

           23.      In addition, I understand that Apple’s Director of Apple Watch Product

 Management, Eric Jue, submitted a declaration in support of Apple’s Motion For An Expedited

 Trial. Mr. Jue’s statements further demonstrate Apple’s status as a global leader in product

 innovation and design.

           24.      According to Mr. Jue:

           Apple is an innovative, design-driven company that has worked extensively over
           decades to create a marketing identity that connects Apple as a brand with its unique
           products. Apple markets its products—including Apple Watch—to convey that
           message. For example, Apple frequently advertises Apple Watch with the product
           design front-and-center, set against a plain background with minimal text, or with
           simple text describing a key feature or benefit that supports the imagery. Apple has
           invested heavily in promoting Apple Watch, including through multiple major,
           high-profile advertising campaigns and significant expenditures of time, money,
           and effort. Such investments help establish Apple’s reputation of innovation and
           design.21

           25.      Thus, for at least the reasons above, Apple’s reputation as a global leader in product

 innovation and design cannot be subject to any serious dispute.

           B.       Apple Has Been Awarded Patent Protection For Its Innovative Designs That
                    Are Embodied In Apple Watch.

           26.      In this case, I understand that Apple has asserted U.S. Patent No. D883,279 (“the

 D’279 Patent”); U.S. Patent No. D947,842 (“the D’842 Patent”); U.S. Patent No. D962,936 (“the

 D’936 Patent”) (together, “the Watch Patents”); and U.S. Patent No. D735,131 (“the D’131

 Patent”) (together with the Watch Patents, “the Asserted Patents”).




 20
   “What makes Apple design so good,” Medium, https://medium.com/macoclock/what-makes-
 apple-design-so-good-d430ef97c6d2.
 21
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 4.

                                                     10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 301 of 507 PageID #:
                                    6719



           27.    Figures 2–4 below comprise illustrations from the Watch Patents reflecting certain

 views of designs that I understand are protected by the Asserted Patents.

                                          Figures 2–4
                             Exemplary Views Of The Watch Patents 22

            Figure 2                           Figure 3                       Figure 4
  Figure 4 of the Asserted ’279         Figure 2 of the Asserted       Figure 4 of the Asserted
             Patent23                       D’842 Patent24                 D’936 Patent25




           28.    I further understand that certain versions of Apple Watch practice one or more of

 the Asserted Patents by including the patented designs on the back of Apple Watch. Specifically,

 I understand that the versions of Apple Watch that practice one or more of the Asserted Patents

 include Apple Watch Series 4, Apple Watch Series 5, Apple Watch Series 6, Apple Watch Series

 7, Apple Watch Series 8, and Apple Watch Ultra. 26

           29.    While Apple has updated the design of the back of Apple Watch over time, I also

 understand that Apple Watch continues to incorporate designs of the Asserted Patents in Apple

 Watch to create consistency in Apple’s products that enables customers to identify Apple Watch



 22
      Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 72-110.
 23
      The D’279 Patent, Sheet 4 of 7.
 24
      The D’842 Patent, Sheet 2 of 7.
 25
      The D’936 Patent, Sheet 4 of 7.
 26
      Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 111-123.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 302 of 507 PageID #:
                                    6720
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 303 of 507 PageID #:
                                    6721



                      Apple Watch Series 5             September 20, 201931
                      Apple Watch Series 6             September 18, 202032
                      Apple Watch Series 7              October 15, 202133
                      Apple Watch Series 8             September 16, 202234
                       Apple Watch Ultra               September 23, 202235

        31.     I understand that each version of Apple Watch above that practices one or more of

 the Asserted Patents, except Apple Watch Series 4, are currently available for sale, including at

 national retailers like Best Buy.36 However, I understand that Apple Watch Series 5 is only being

 sold as a refurbished product.37

        32.     Apple’s success in innovation and design has made the Apple Watch a leading

 smartwatch in the market. Indeed, since Apple released Apple Watch Series 4 in 2018, Apple has




 31
    “Apple unveils Apple Watch Series 5,” Apple,
 https://www.apple.com/newsroom/2019/09/apple-unveils-apple-watch-series-5/.
 32
    “Apple Watch Series 6 delivers breakthrough wellness and fitness capabilities,” Apple,
 https://www.apple.com/newsroom/2020/09/apple-watch-series-6-delivers-breakthrough-
 wellness-and-fitness-capabilities/.
 33
    “Apple Watch Series 7 orders start Friday, October 8, with availability beginning Friday,
 October 15,” Apple, https://www.apple.com/newsroom/2021/10/apple-watch-series-7-orders-
 start-friday-october-8/.
 34
    “Apple reveals Apple Watch Series 8 and the new Apple Watch SE,” Apple,
 https://www.apple.com/newsroom/2022/09/apple-reveals-apple-watch-series-8-and-the-new-
 apple-watch-se/.
 35
    “Introducing Apple Watch Ultra,” Apple,
 https://www.apple.com/newsroom/2022/09/introducing-apple-watch-ultra/.
 36
    “Apple Watch Series 5 Search Results, Best Buy,
 https://www.bestbuy.com/site/searchpage.jsp?id=pcat17071&st=apple+watch+series+5.
 37
    “Apple Watch Series 5 Search Results, Best Buy,
 https://www.bestbuy.com/site/searchpage.jsp?id=pcat17071&st=apple+watch+series+5.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 304 of 507 PageID #:
                                    6722



 had the highest percentage of global smartwatch shipments each year, making Apple Watch the

 most popular smartwatch ever.38

          33.      Apple Watch’s historic and ongoing success clearly establishes Apple as

 instrumental in the development of smartwatches. Based on the data and information herein, I

 have every reason to expect that Apple will again be the leading smartwatch sold in 2023.

          C.       Apple Watch’s Designs Form A Key Part Of Apple Watch’s Success.

          34.      The significance of Apple Watch’s designs has been well recognized and those

 designs are important to consumers’ decisions to purchase Apple Watch.

          35.      For example, the significance of Apple Watch’s designs, including the design of

 Apple Watch Series 4 – 8 and Apple Watch Ultra, which practice the Asserted Patents, is illustrated

 by at least the following exemplary publications:

               CNBC – In a 2014 article, the CEO of Garrick, a London based watchmaker, stated
                that “[f]rom a design point of view it is a winner. [Apple has] the dimensions right and
                it is a stylish timepiece. It gets people interested in watches again.” The CEO of British
                watchmaker IWI added that “[i]t looks good, there is no question. The combination of
                straps and the way they have done that show’s they’ve made a good watch.” 39

               Hodinkee – A 2014 product review by this online resource and shop for modern and
                vintage wristwatch enthusiasts40 provides that “Apple got more details right on their
                watch than the vast majority of Swiss and Asian brands do with similarly priced
                watches, and those details add up to a really impressive piece of design.” The review
                also provides that “[t]he overall level of design in the Apple Watch simply blows away
                anything – digital or analog– in the watch space at $350. There is nothing that comes




 38
   “Quarterly smartwatch unit shipment share worldwide from 2018 to 2022, by vendor,”
 Statista, https://www.statista.com/statistics/910862/worldwide-smartwatch-shipment-market-
 share.
 39
    “Apple Watch design: ‘damn good’ or ‘bulky’?” CNBC,
 https://www.cnbc.com/2014/09/11/apple-watch-design-damn-good-or-bulky.html.
 40
      “Our Story,” Hodinkee, https://www.hodinkee.com/pages/our-story.

                                                     14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 305 of 507 PageID #:
                                    6723



            close to the fluidity, attention to detail, or simple build quality found on the Apple
            Watch in this price bracket.”41

           Wristly.co – According to Wristly, a 2015 survey of customer satisfaction with the
            first-generation Apple Watch found that 95 percent of 800 respondents were satisfied
            with aesthetics/design, with 74 percent of respondents “very satisfied/ delighted.”
            Figure 7 illustrates that “Build quality/Durability” and “Aesthetics/ Design” were the
            Apple Product characteristics that provided the most customer satisfaction. 42

                                          Figure 7
                               2015 Apple Watch Survey Results




           Counterpoint Research – An October 2018 article reported the findings of a customer
            survey which stated that “Apple [had] successfully established itself as a fashion brand;
            six out of ten respondents cited design as a key reason for choosing Apple Watch.” The
            survey results also indicated that “Apple was the top smartwatch brand last year. With



 41
   “In-Depth: A Watch Guy's Thoughts on The Apple Watch After Seeing It in The Metal (Tons
 of Live Photos),” Hodinkee, https://www.hodinkee.com/articles/hodinkee-apple-watch-review.
 42
    “First large scale Apple Watch customer satisfaction study,” Medium,
 https://medium.com/wristly-thoughts/wristly-apple-watch-insider-s-report-12-35463dc919b2.
                                                 15
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 306 of 507 PageID #:
                                    6724



            the Apple Watch Series 4 the company further enriches its position as a preferred
            smartwatch brand for a consumer’s next purchase.”43

           9to5Mac – A December 2018 review comparing the Apple Watch Series 4 with its
            predecessor Series 3 by an online resource noting that “[w]hen people ask me what’s
            different about the new Apple Watch Series 4, my immediate answer is simply the
            design. The review provides that “[t]he back of Series 4 is [] very attractive. You don’t
            see it when you’re wearing the watch, but it’s worth admiring,” specifically noting that
            “[t]he upgraded heart rate sensor has been redesigned to look less technical and more
            balanced.”

           The brandgym – A 2019 article titled “How Apple Watch Used Distinctive Design To
            Dominate The Smartwatch Market” noted that “Apple’s watch was just that, a
            beautifully designed and distinctive watch, from Apple.” The article indicated that
            “[o]ther so called ‘smart watches’ that had been on the market longer, such as Fitbit,
            had functionality but didn’t look that cool as a watch.” 44

           The Next Web – An October 2020 review described the Apple Watch as “a thing of
            absolute beauty.” According to the review, “[t]he Apple Watch’s design has become
            classic… [i]t’s recognizable, something you can spot from afar.” The article also
            indicates that: “[i]t’s functional, it’s recognizable, and it’s beautiful.” 45

           A UX Researcher’s Review – A 2021 review scored the Apple Watch 9.2 out of 10 for
            aesthetics “because of how minimal and beautiful this device looks.” The review stated
            that “[w]hen it comes to appearances, Apple knows the game almost better than any
            other competitor in the industry. The simple look of the device with just a band on
            each side gives the impression of simplicity to anyone who hasn’t seen a proper
            implementation of a smartwatch.”46

           Digital Trends – A 2022 review of Apple Watch Series 8 by this online resource
            highlighting Apple’s generally unchanging Apple Watch product design, noting that
            “[w]hen you have a design foundation that’s this good, it’s understandable why that is”
            and that “Apple’s execution of the Apple Watch’s design is also as excellent as it’s ever
            been.”



 43
    “Apple Watch Leads Customer Preferences in The USA,” Counterpoint Research,
 https://www.counterpointresearch.com/apple-watch-leads-customer-preferences-usa/.
 44
   “How Apple Watch Used Distinctive Design to Dominated (sic) the Smartwatch Market,” The
 brandgym, https://thebrandgym.com/apple-watch-brand-stretch/.
 45
    “The Apple Watch design is already a classic – will it ever change?” The Next Web,
 https://thenextweb.com/news/apple-watch-design-classic-future-analysis.
 46
   “A UX researcher’s review of the Apple Watch” Medium UX Collective, https://uxdesign.cc/a-
 ux-researchers-review-of-the-apple-watch-54daeb4ee89d/.

                                                 16
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 307 of 507 PageID #:
                                    6725



                Forbes – A 2022 review of Apple Watch Series 8 by this online resource, noting that
                 the Series 8 is “best for” its “slick design.” The reviewer highlights the various design
                 features of the Series 8, concluding “if you’ve liked the looks of any previous Apple
                 Watch, you’ll surely like this.”

                Tom’s Guide – A 2023 review of Apple Watch Series 8 by this online resource,
                 identifying “design” as a “Pro” and noting that “design . . really makes[s] Series 8
                 shine.” The review further attributes the “design” of Apple Watch to making “the
                 experience as great as it is.”

           36.      In addition, I understand that another expert retained by Apple, Itamar Simonson,

 conducted surveys to assess the materiality of the design of the back of Apple Watches in relation

 to consumer purchasing decisions.47 I understand that Dr. Simonson’s surveys included an

 assessment of Apple Watch Series 5 and Apple Watch Series 8.

           37.      I understand that the results of Dr. Simonson’s surveys showed that 28.3 percent of

 respondents identified the design of the back of Apple Watch Series 5 as a feature that would

 impact their decision to purchase the watch and 31.8 percent of respondents identified the design

 of the back of Apple Watch Series 8 as feature that would impact their decision to purchase the

 watch.48 I understand that those numbers increase to 32.1 percent and 33.3 percent, respectively,

 when focusing on respondents who are familiar with smartwatches. 49 Those results confirm the

 sentiment in the articles above that Apple’s design, and specifically the design on the back of

 Apple Watches that practice the Asserted Patents, has a connection to consumer purchasing

 decisions of Apple Watch.

           38.      I also understand that one of Apple Watch’s designers and an inventor on the

 Asserted Patents, Peter Russell-Clark, submitted a declaration in support of Apple’s Motion for an



 47
      Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶¶ 19-34.
 48
      Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 33, Fig. 4.
 49
      Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 33, Fig. 4.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 308 of 507 PageID #:
                                    6726



 Expedited Trial. Mr. Russell-Clark’s statements further support the notion that the designs of the

 back of the versions of Apple Watch that practice the Asserted Patents form a key part of Apple

 Watch’s success.

           39.    According to Mr. Russell-Clarke, the design of the back of Apple Watch “was and

 remains a key part of [Apple Watch’s] development and identity” and forms “part of the watch’s

 overall visual appeal.”50 He states that Apple Watch’s design was inspired by “traditional luxury

 watchmaking” in which “watches will often include a fully or partially transparent back so that the

 consumer can see portions of the high-quality internal mechanisms, such as gears and the materials

 from which they are crafted.”51 Thus, “[a]s an homage to such classic luxury watches, Apple’s

 design team took special care to make the back of Apple Watch—which houses its sensors

 (electrodes, LEDs, and photodiodes) and other components—aesthetically beautiful.” 52 Mr.

 Russell-Clark and his team focused heavily on design and kept “aesthetics at the forefront” 53

 because, according to Mr. Russell-Clark, “[i]f a product works perfectly, but is aesthetically

 unappealing, it is unlikely to be a successful product.” 54 I agree, and the inverse is also true: the

 tremendous success of Apple Watch therefore shows that Apple Watch’s beautiful designs form a

 key part of Apple Watch’s success.

           40.    Additional statements by Mr. Jue also demonstrate that the design of the back of

 the versions of Apple Watch that practice the Asserted Patents form a key part of Apple Watch’s

 success. According to Mr. Jue:


 50
      Declaration of Peter Russell-Clarke dated Jan. 12, 2023 at ¶¶ 4, 7.
 51
      Declaration of Peter Russell-Clark dated Jan. 12, 2023 at ¶ 7.
 52
      Declaration of Peter Russell-Clark dated Jan. 12, 2023 at ¶ 7.
 53
      Declaration of Peter Russell-Clark dated Jan. 12, 2023 at ¶ 10.
 54
      Declaration of Peter Russell-Clark dated Jan. 12, 2023 at ¶ 10.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 309 of 507 PageID #:
                                    6727



           “[T]he Apple Watch design—particularly its hardware design—is critical. Apple
           promotes Apple Watch not just as a piece of technology, but as a beautiful and
           thoughtfully designed watch. Its back is thoughtfully designed and beautiful,
           paying homage to the tradition of luxury watches. And Apple has focused
           marketing efforts on the design of the back of Apple Watch.” 55

           41.     Mr. Jue elaborates that “[t]he design of the back of Apple Watch has been a focus

 throughout the product’s lifespan,” and that “[i]n a promotional video played at the outset of the

 announcement [of Apple Watch Series 4], Apple highlighted the back of Apple Watch, focusing

 on its design without any technical explanation,” 56 as shown below:

                                             Figure 8
                              Apple Watch Series 4 Promotional Video57




           42.     Mr. Jue further recounts how, when Apple began to “discuss the back of Apple

 Watch specifically, the very first statement it made is that ‘the back of Series 4 is absolutely

 beautiful,’ and demonstrated that beauty with another image of the back design,”58 reproduced

 below:




 55
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 5.
 56
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶¶ 6, 7.
 57
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 7.
 58
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 9.

                                                    19
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 310 of 507 PageID #:
                                    6728



                                           Figure 9
                    Photograph From Apple Watch Series 4 Promotional Event 59




           43.     Mr. Jue further articulates that:

           “Apple Watch’s back design was not only a key at launch. In marketing Apple
           Watch generally, Apple internally utilizes a select few ‘themes,’ including the
           watch’s ‘health component,’ i.e., the watch as a wellness tool. The most visual
           aspect of Apple Watch’s health component is the back of the watch.” 60

           44.     Accordingly, and as stated by Mr. Jue, “the aesthetic design of the back has been

 an important pillar in the marketing and success of Apple Watch.” 61

           D.      Masimo Corporation Is A Hospital Equipment Company That Only Just
                   Recently Released Its First Smartwatch, W1.




 59
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 9.
 60
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 10.
 61
      Declaration of Eric Jue dated Jan. 18, 2023 at ¶ 10.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 311 of 507 PageID #:
                                    6729



          45.   Masimo is a publicly traded medical technology company that develops and

 produces numerous hospital products, including patient monitors. 62,63   Masimo’s securities are

 listed on the NASDAQ stock exchange under the ticker symbol: MASI.

          46.   Historically, Masimo has primarily sold products to hospitals and medical

 professionals for use in professional healthcare settings.64   According to Masimo, Masimo is

 “highly dependent” on Masimo’s SET and rainbow SET technologies, which involve pulse

 oximetry technology and “serve as the basis for [Masimo’s] primary product offerings.” 65 In

 addition, because Masimo’s devices use “single use sensors,” Masimo’s business has been

 described as a “razor/razor blade business model with the devices using [those] single-use sensors

 pursuant to five-year contracts resulting in 80% recurring revenue for Masimo.” 66

          47.   As of about January 30, 2023, Masimo’s market capitalization was about $9.0

 billion.67 Figure 10 below recounts that Masimo reported annual operating income of $221.2

 million, $255.8 million, and $275.8 million in 2019, 2020, and 2021, respectively.




 62
      “About Masimo,” Masimo, https://www.masimo.com/company/masimo/about/.
 63
    “Company Evolution: About Masimo,” Masimo,
 https://www.masimo.com/company/masimo/evolution/.
 64
    “Company Evolution: About Masimo,” Masimo,
 https://www.masimo.com/company/masimo/evolution/.
 65
   “About Masimo,” Masimo, https://www.masimo.com/company/masimo/about/; Masimo 2021
 Form 10-K, p. 38.
 66
   “How activist Politan Capital may find an opportunity to trim costs, build value at Masimo,”
 CNBC, https://www.cnbc.com/2022/08/20/how-activist-politan-capital-may-find-an-opportunity-
 to-trim-costs-build-value-at-masimo.html.
 67
    “Masimo Corp, NASDAQ:MASI,” Google Finance,
 https://www.google.com/finance/quote/MASI:NASDAQ?sa
 =X&ved=2ahUKEwiRr8jPmoH8AhXSl%20GoFHQWOCr8Q3ecFegQIJRAY.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 312 of 507 PageID #:
                                    6730



                                          Figure 10
                            Masimo Operating Income, 2019 to 202168

                             In Millions                2019     2020       2021
                    Revenue
                     Product                            $936.4   $1,143.7   $1,239.2
                     Royalty and other revenue             1.4        0.0        0.0
                    Total Revenue                       $937.8   $1,143.7   $1,239.2
                    COGS                                 308.7      400.7      430.8
                    Gross Profit                        $629.2    $743.1     $808.3
                    Operating Expenses
                     Selling, General and Admin         $314.7    $369.1     $395.3
                     Research and Development             93.3     118.7      137.2
                     Litigation settlement and other       0.0      -0.5        0.0
                    Total Operating Expenses            $408.0    $487.2     $532.5
                    Operating Income                    $221.2    $255.8     $275.8


          48.    On August 31, 2022, Masimo announced the release of a new product in the United

 States called “W1.”69 According to Masimo, W1 is a smartwatch that offers accurate, continuous

 health measurements and data.70,71 The price of W1 started at $499.72 Prior to releasing W1, I




 68
      Masimo 2021 Form 10-K, p. F-6.
 69
    “Medical Pioneer Masimo Announces the Full Market Consumer Release of the Masimo
 W1™, the First Watch to Offer Accurate, Continuous Health Data,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Medical-Pioneer-Masimo-Announces-the-
 Full-Market-Consumer-Release-of-the-Masimo-W1-the-First-Watch-to-Offer-Accurate-
 Continuous-Health-Data/default.aspx.
 70
    “Masimo LinkedIn page,” LinkedIn,
 https://www.linkedin.com/feed/update/urn:li:activity:7020126785317048320/.
 71
    “Medical Pioneer Masimo Announces the Full Market Consumer Release of the Masimo
 W1™, the First Watch to Offer Accurate, Continuous Health Data,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Medical-Pioneer-Masimo-Announces-the-
 Full-Market-Consumer-Release-of-the-Masimo-W1-the-First-Watch-to-Offer-Accurate-
 Continuous-Health-Data/default.aspx.
 72
      “Masimo W1TM,” Masimo, https://www.masimopersonalhealth.com/products/masimo-w1.

                                                   22
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 313 of 507 PageID #:
                                    6731



 understand that Masimo—as a hospital equipment company since its founding in 1989—had never

 designed, marketed, or sold a smartwatch. 73

          49.    Masimo’s advertisements and marketing materials related to W1 indicate that the

 design of the back of W1 is a key feature of W1. Masimo heavily features the design of the back

 of W1 in its product advertisements.74

          50.    For example, the back of W1 comprises the single largest image on W1’s webpage:

                                          Figure 11
                         Advertisements Of W1 On Masimo’s Website75




          51.    Numerous other images on Masimo’s website emphasize the design on the back of

 W1:




 73
    “Company Evolution: About Masimo,” Masimo,
 https://www.masimo.com/company/masimo/evolution/.
 74
      “Masimo W1TM,” Masimo, https://www.masimopersonalhealth.com/products/masimo-w1.
 75
      “Masimo W1TM,” Masimo, https://www.masimopersonalhealth.com/products/masimo-w1.

                                                23
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 314 of 507 PageID #:
                                    6732



                                          FIGURES 12-14
                            Advertisements Of W1 On Masimo’s Website76

                Figure 12                       Figure 13                        Figure 14




          52.      Masimo also promotes consumer reviews on its website that likewise focus on

 W1’s design. For example, one consumer review Masimo promotes on its website provides that

 the consumer “personally [wore] [] W1 and [was] impressed by its comfort and stylish look . . .

 .”77

          53.      Masimo so heavily features W1’s designs, including the design of the back of W1,

 because Masimo understands—and agrees with Mr. Russell-Clark—that consumers “[c]onsider

 quality of design to be a reflection of the quality of engineering,” as evidenced by the illustration

 below in Figure 15 that Masimo included in a recent presentation to its investors. 78




 76
      “Masimo W1TM,” Masimo, https://www.masimopersonalhealth.com/products/masimo-w1.
 77
    “Medical Pioneer Masimo Announces the Full Market Consumer Release of the Masimo
 W1™, the First Watch to Offer Accurate, Continuous Health Data,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Medical-Pioneer-Masimo-Announces-the-
 Full-Market-Consumer-Release-of-the-Masimo-W1-the-First-Watch-to-Offer-Accurate-
 Continuous-Health-Data/default.aspx.
 78
      Masimo Investor Day, December 13, 2022.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 315 of 507 PageID #:
                                    6733



                                         Figure 15
                       Masimo’s View Of How Consumers View Brands 79




          54.    Indeed, according to Masimo’s current COO of its Consumer division Blair

 Tripodi, “quality and design[] go hand in hand.”80 Tripodi elaborated that, during Masimo’s

 investor day presentations, investors will see “how important design is” for wearables and “how

 important design is for health care as well.” 81

          E.     Masimo’s W1 Is Substantially Similar To The Patented Designs In The
                 Asserted Patents.

          55.    I understand that Apple has retained another expert in this case with expertise in

 industrial design to assess the similarities between, on the one hand, Apple Watch and the patented




 79
      Masimo Investor Day, December 13, 2022.
 80
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 81
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 316 of 507 PageID #:
                                    6734



 designs in the Asserted Patents and, on the other hand, W1, to demonstrate Apple’s likelihood of

 success on the merits in this case to support Apple’s request for an expedited trial. 82

           56.    As shown in Mr. Ball’s report and below in Figure 16 and Figure 17, the design

 of the back of W1 and the patented designs of Apple Watch are substantially similar:

                                      Figure 16
        Exemplary Comparison: W1 And The Patented Designs Of The Asserted Patents 83




 82
      Declaration of Alan D. Ball dated Jan. 29, 2023.
 83
   Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 135-143; ; see also Declaration of Alan
 D. Ball dated Jan. 29, 2023 at ¶¶ 157-165 and 180-188.

                                                  26
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 317 of 507 PageID #:
                                    6735



                                         Figure 17
                         Exemplary Comparison: W1 And Apple Watch 84




          57.     In fact, I understand that Apple has accused Masimo of copying Apple Watch’s

 patented designs.85

          F.      Masimo Acquired Sound United To Distribute W1 And Intends To
                  Substantially Expand Its Sales Of W1 And Other Similar Products In The
                  Latter Half Of 2023.

          58.     As explained above, prior to releasing W1, Masimo had never sold smartwatches. 86

 Thus, Masimo required new distribution capacity to support W1’s release.




 84
   Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 148-156; see also Declaration of Alan D.
 Ball dated Jan. 29, 2023 at ¶¶ 170-178 and 193-201.
 85
      Complaint, 1:22-CV-01377, October 20, 2022, p. 19 – 30.
 86
      See Section V.D, supra.

                                                 27
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 318 of 507 PageID #:
                                    6736



        59.     In February 2022, six months before Masimo released W1, Masimo issued a press

 release that it intended to acquire Sound United87 for $1.025 billion.88 The acquisition closed two

 months later in April 2022.89

        60.     According to Investor’s Business Daily, Masimo’s acquisition of Sound United

 gave Masimo “access to an established distribution channel with major retailers.” 90 Masimo

 similarly stated that it purchased Sound United to “leverage Sound United’s expertise across

 consumer channels to accelerate distribution of the combined company’s expanding portfolio of

 consumer-facing healthcare products”91 and “accelerate [its] success in gaining adoption of

 integrated home-based telemedicine solutions, first with the Masimo Watch W1.” 92 Masimo’s

 CEO has stated on an earnings call that Masimo liked Sound United for its “management team”

 and “distribution channel” and that Sound United is “essential” to what Masimo is doing for its




 87
    “Sound United Enters into Agreement to Be Acquired by Masimo Corporation,” Masimo,
 https://www.soundunited.com/news/sound-united-enters-into-agreement-to-be-acquired-by-
 masimo-corporation.
 88
   “MASI Stock: The Masimo-Sound United Deal That Has Investors Scratching Their Heads,”
 InvestorPlace, https://investorplace.com/2022/02/masi-stock-the-masimo-sound-united-deal-
 that-has-investors-scratching-their-heads/.
 89
    “Masimo Closes Acquisition of Sound United,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Masimo-Closes-Acquisition-of-Sound-
 United/default.aspx.
 90
   “Is Masimo ‘Crazy Like A Fox’ For Spending $1.03 Billion To Buy Sound United?,”
 Investor’s Business Daily, https://www.investors.com/news/technology/masimo-stock-is-its-
 sound-united-buyout-crazy/.
 91
    “Masimo Closes Acquisition of Sound United,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Masimo-Closes-Acquisition-of-Sound-
 United/default.aspx.
 92
    “Masimo (MASI) Q4 2021 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/02/15/masimo-masi-q4-2021-earnings-call-
 transcript/.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 319 of 507 PageID #:
                                    6737



 “important product,” W1.93 Notably, Masimo has already implemented its goal of using Sound

 United’s management team to sell and distribute W1. For example, current COO of Masimo’s

 Consumer division, Blair Tripodi, was formerly Sound United’s Chief Commercial Officer. 94

        61.     The magnitude of Masimo’s pivot to selling a smartwatch to consumers rather than

 hospital products to hospitals is evidenced by the significant concerns that Masimo’s acquisition

 caused Masimo’s investors. As reported by Investor’s Business Daily, Masimo’s “investors and

 analysts weren’t impressed” with the acquisition. 95     In fact, when Masimo announced the

 acquisition, Masimo’s stock price declined by 33.8 percent, from $229 on February 15, 2022, to

 $144 on February 16, 2022.96 That decrease in stock price resulted in lost market capitalization of

 about $4.6 billion.97

        62.     As noted by CNBC, “news of the acquisition sent the stock into a nosedive . . . .

 [as] [c]learly, the market was concerned with the lack of strategic discipline” at Masimo. 98



 93
    “Masimo (MASI) Q4 2021 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/02/15/masimo-masi-q4-2021-earnings-call-
 transcript/.
 94
    “Masimo Appoints New Leader for Consumer Division,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Masimo-Appoints-New-Leader-for-
 Consumer-Division/default.aspx.
 95
   “Is Masimo ‘Crazy Like A Fox’ For Spending $1.03 Billion To Buy Sound United?,”
 Investor’s Business Daily, https://www.investors.com/news/technology/masimo-stock-is-its-
 sound-united-buyout-crazy/.
 96
    “Masimo Corporation – Stock Chart,” S&P Capital IQ,
 https://www.capitaliq.spglobal.com/web/client?auth=inherit#company/stock?id=4812814.
 97
   “How activist Politan Capital may find an opportunity to trim costs, build value at Masimo,”
 CNBC, https://www.cnbc.com/2022/08/20/how-activist-politan-capital-may-find-an-opportunity-
 to-trim-costs-build-value-at-masimo.html.
 98
   “How activist Politan Capital may find an opportunity to trim costs, build value at Masimo,”
 CNBC, https://www.cnbc.com/2022/08/20/how-activist-politan-capital-may-find-an-opportunity-
 to-trim-costs-build-value-at-masimo.html.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 320 of 507 PageID #:
                                    6738



 Another commentator stated that “Wall Street turned a total thumbs down on the transaction.” 99

 BioWorld reported that the acquisition both “stunned and dismayed analysts and investors.” 100

          63.    Concern over the direction of Masimo caused at least one activist investor to “push

 the medical device maker to make changes.” 101 In August 2022, activist investor Politan Capital

 Management announced that it owned nearly a 9.0 percent stake in Masimo 102 and pushed for a

 seat on its Board of Directors.103

          64.    Recently, after an Investor Day conference in December 2022, 104 industry analysts

 remarked Masimo’s strategy is just now “emerging from [a] fog,” 105 and Masimo “elaborated on

 why it spent $1.025 billion to buy Sound United.”106




 99
    “Masimo Acquisition of Sound United Spurs Ugly Activist Shareholder Lawsuit,” Strata-Gee,
 https://www.strata-gee.com/masimo-acquisition-of-sound-united-spurs-ugly-activist-
 shareholder-lawsuit/.
 100
    “To Wall Street’s surprise, Masimo acquires Sound United for $1B+,” BioWorld,
 https://www.bioworld.com/articles/516146-to-wall-streets-surprise-masimo-acquires-sound-
 united-for-1b?v=preview.
 101
    “Koffey’s Politan takes 9% stake in Masimo, to push for change,” Reuters,
 https://www.reuters.com/business/healthcare-pharmaceuticals/activist-investor-politan-capital-
 reports-84-stake-masimo-corp-2022-08-16/.
 102
    “Koffey’s Politan takes 9% stake in Masimo, to push for change,” Reuters,
 https://www.reuters.com/business/healthcare-pharmaceuticals/activist-investor-politan-capital-
 reports-84-stake-masimo-corp-2022-08-16/.
 103
    “Hedge Fund Sues Masimo Corp. In Del. Over Bylaw Changes,” Law360,
 https://www.law360.com/articles/1542262/hedge-fund-sues-masimo-corp-in-del-over-bylaw-
 changes.
 104
       Masimo Investor Day, December 13, 2022.
 105
    “Masimo, Sound United Parent, to Expand Denon’s HEOS System,” Strata-Gee,
 https://www.strata-gee.com/masimo-sound-united-parent-to-expand-denons-heos-system/.
 106
    “Masimo will turn millions of home entertainment systems into health hubs,” Mass Device,
 https://www.massdevice.com/masimo-millions-home-sound-systems-health-hubs/.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 321 of 507 PageID #:
                                    6739



        65.     Specifically, Masimo’s executives stated that its strategy is to incorporate W1 into

 a cloud-based health network using a product called an “HEOS device” produced by a company

 operated by Sound United called Denon. 107 Masimo Chief Operating Officer Blair Tripodi

 explained that the HEOS device “will behave as an extension to [a] Masimo Health Cloud and

 connect [consumers’] data through [their] W1 device or other Masimo creative devices to the

 cloud.”108 Industry commentators elaborated that “[a] W1 in the home will continuously monitor

 key health data, such as oxygen saturation, pulse rate, respiration rate, hydration, and body

 temperature. Via the home network, this data will be wirelessly relayed to the HEOS and Masimo

 Health cloud for storage, analysis, reporting, and transfer.” 109

        66.     Tripodi also announced that, while Masimo has increased the number of its devices

 in consumer homes from about 1,000 in 2020 to 23,000 today, “[b]y the end of 2023, [Masimo]

 will turn on a grand total of 4 million devices worldwide,” in part due to Masimo’s August 2022

 launch of W1.110

        67.     Also during Masimo’s Investor Day conference, Masimo Chief Financial Officer

 Micah Young confirmed that Masimo is not only planning to use Sound United for the distribution

 of the HEOS device, but also for distributing W1. Young stated that, because of Masimo’s


 107
    “HEOS,” Denon, https://www.denon.com/en-us/category/heos; “Masimo Closes Acquisition
 of Sound United,” Masimo, https://investor.masimo.com/news/news-details/2022/Masimo-
 Closes-Acquisition-of-Sound-United/default.aspx.
 108
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 109
    “Masimo, Sound United Parent, to Expand Denon’s HEOS System,” Strata-Gee,
 https://www.strata-gee.com/masimo-sound-united-parent-to-expand-denons-heos-system/.
 110
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 322 of 507 PageID #:
                                    6740



 acquisition of Sound United, Masimo “now ha[s] immediate access to over 20,000 points of retail

 distribution.”   Young further noted that Masimo plans to launch W1 into Sound United’s

 distribution channel in the second half to late 2023. 111 Accordingly, Masimo has confirmed that

 W1 will likely soon be on sale in some of the same national retailers that sell Apple Watch,

 including Amazon and Best Buy, as shown in an illustration below from Masimo’s Investor Day:

                                        Figure 18
                       Masimo’s Omni-Channel Go-To-Market Strategy112




        68.       Importantly, Masimo also indicated at the conference it intends to include the same

 sensor (e.g. the same back of the watch design) design included in W1 in at least two more watches,

 called the “Freedom” and “B1,” and that Masimo also intends to launch those watches through




 111
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 112
    “2022 Investor Day,” Masimo,
 https://s24.q4cdn.com/336820108/files/doc_presentations/Masimo-2022-Investor-Day-
 121322.pdf, p. 13.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 323 of 507 PageID #:
                                    6741



 Sound United’s distribution channel in the second half of 2023. 113 For example, Masimo Chief

 Operating Officer Bilal Muhsin stated that the “health module that’s in the back of the W1 today .

 . . will go into different products,” including the Freedom and B1 watches. 114 Another Masimo

 executive confirmed that the “health sensor for wearables currently being deployed in [] W1 is

 launching in the premium consumer watch segment format with Freedom and B1.” 115

         69.     Accordingly, Masimo is currently selling W1, intends to sell two additional

 watches that Masimo has suggested will use the same infringing back design as W1 in the latter

 half of 2023, and intends to sell all three watches through Sound United’s national distribution

 channels, which includes national retailers that also sell Apple Watch like Best Buy and Amazon,

 in the latter half of 2023.

 VI.     APPLE IS LIKELY TO SUSTAIN IRREPERABLE HARM FROM MASIMO’S
         ONGOING AND ESCALATING SALES OF W1 IN THE LATTER HALF OF 2023.

         70.     As explained in further detail below, in my opinion, Apple is likely to sustain

 irreparable harm in 2023, specifically in the latter half of 2023, as a result Masimo’s ongoing and

 escalating sales of W1 as well as other smart watches that Masimo has suggested will use the same

 infringing design. Accordingly, it is also my opinion that the post-trial enjoinment of Masimo’s

 sale of W1 prior to Masimo’s planned ramp up of the distribution of W1 in the latter half of 2023




 113
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 114
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 115
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 324 of 507 PageID #:
                                    6742



 would mitigate the likely irreparable harms to Apple caused by Masimo’s ongoing and escalating

 sales of W1.

         A.      Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of 2023 Is
                 Likely To Cause Apple Irreparable Harm By Requiring Apple To Compete
                 With Its Own Patented Designs And, Consequently, Lose Product Market
                 Share, Sales, Revenues, And Profits Related To Apple Watch.

                 1.      Apple Watch And W1 Will Compete In The Latter Half Of 2023 If
                         Masimo’s Distribution Plans Come To Fruition.

         71.     In my opinion, Apple Watch will compete directly with W1 at least as early as the

 latter half of 2023 for at least six reasons.

         72.     First, although Apple Watch offers an array of features not offered by W1, such as

 the ability to make and receive phone calls, the ability to send and receive text messages, the ability

 to communicate with iPhones, GPS tracking, and Siri commands (e.g., alarms, timers,

 reminders),116 Masimo maintains that its product will be in direct competition with the Apple

 Watch in the U.S.117




 116
    “66 essential Apple Watch tips and features everyone should know,” Wareable,
 https://www.wareable.com/apple/apple-watch-tips-and-tricks-iwatch-7383.
 117
    “Masimo (MASI) Q2 2022 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/08/10/masimo-masi-q2-2022-earnings-call-
 transcript/.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 325 of 507 PageID #:
                                    6743



          73.    Masimo characterizes its watch as a “smartwatch” in its own social media posts. 118

Numerous third-party publications have referenced W1 as a “smartwatch.” 119,120,121 And, Masimo

itself has asserted that W1 will compete in a market segment “defined by smart watches.”

          74.    According to Masimo:

          The consumer health market today is primarily defined by smart watches that
          purport to monitor various physiological parameters. . . . [W]e believe Masimo is
          perfectly positioned to impact this growing market segment and to provide the
          necessary technology, just as we are doing in the hospital market. We believe we
          can grow even faster by empowering everyday people through our core technology
          to live healthier and better lives, both in the hospital and in the home. 122

          75.    Masimo has further stated that W1 and Freedom (to be released in 2023) “should

 command 100%” of the smartwatch market segment. 123 During Masimo’s Q2 2022 earnings call,

 Mr. Kiani provided the following answer to an analyst’s124 question:



 118
    Masimo LinkedIn page,
 https://www.linkedin.com/feed/update/urn:li:activity:7020126785317048320/.
 119
    “Masimo Releases Smart Watch With Continuous Monitoring of Biometrics Such as Pulse,
 Heart Rate Variability,” Sports Business Journal,
 https://www.sportsbusinessjournal.com/Daily/Issues/2022/08/31/Technology/masimo-smart-
 watch-masimo-w1-biometrics-pulse-hrv-oxygen.
 120
    “Masimo’s first smartwatch packs a hydration index,” Gadgets & Wearables,
 https://gadgetsandwearables.com/2022/12/08/masimo-w1-health-tracking-watch/.
 121
    “Masimo W1 smartwatch with accurate pulse oximeter receives Hydration Index feature,”
 Notebookcheck, https://www.notebookcheck.net/Masimo-W1-smartwatch-with-accurate-pulse-
 oximeter-receives-Hydration-Index-feature.674864.0.html.
 122
    “Medical Pioneer Masimo Announces the Full Market Consumer Release of the Masimo
 W1™, the First Watch to Offer Accurate, Continuous Health Data,” Masimo,
 https://investor.masimo.com/news /news-details/2022/Medical-Pioneer-Masimo-Announces-the-
 Full-Market-Consumer-Release-of-the-Masimo-W1-the-First-Watch-to-Offer-Accurate-
 Continuous-Health-Data/default.aspx.
 123
    “Masimo (MASI) Q2 2022 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/08/10/masimo-masi-q2-2022-earnings-call-
 transcript/.
 124
       Mr. Michael Matson, Needham & Company, LLC, Research Division.

                                                 35
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 326 of 507 PageID #:
                                    6744



        Q.     With the consumer strategy in the smartwatch, maybe you could talk about
        what you think it is about your smartwatch, the W1 or the upcoming Freedom
        watch, which is really going to kind of help differentiate you in the market versus
        some of the bigger companies out there like Apple or Samsung.

        ....

        A.      [W]e have some unique new parameters that have never been released in a
        commercial watch before for both healthcare and consumer wellness, which we’re
        hoping to release with the launch of W1. And then as far as Freedom, I want to just
        tell you the things I've said before and know more because of the competitive nature
        of this business. But we believe we have a compelling design, we believe with the
        addition of the Android features and some unique features that, again, have never
        been made available before. We think we have a great product. So we think we
        have a product that should command 100% market share, which is what you want
        to have, what you want for your team to feel. 125

        76.     Accordingly, because Masimo has suggested that W1 will directly compete with

 Apple Watch, and because Masimo asserts that its products, which include (or will include) the

 patented designs of the Asserted Patents, should command “100%” share, Apple Watch and W1

 will necessarily directly compete at least as early as the latter half of 2023.

        77.     Notably, future competition between Apple Watch and W1 is made even more

 likely because of Masimo’s apparent long-term commitment to entering the smartwatch segment.

 For example, the amount that Masimo paid to acquire Sound United—over $1 billion dollars—

 relative to Masimo’s market capitalization indicates Masimo’s serious and long-term intentions to

 pivot into the smartwatch segment—a new strategic direction for Masimo. Indeed, as evidenced

 by the steep decline in the value of Masimo’s stock by more than 35 percent–equating to lost

 market capitalization of $4.6 billion—following Masimo’s announcement of its acquisition of

 Sound United, Masimo’s investors recognized Masimo’s serious intentions in entering the




 125
    “Masimo (MASI) Q2 2022 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/08/10/masimo-masi-q2-2022-earnings-call-
 transcript/, (emphasis added).

                                                   36
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 327 of 507 PageID #:
                                    6745



 segment.126 If Masimo’s entry into the smartwatch segment was merely temporary or exploratory,

 Masimo’s investors would not have reacted so strongly (if at all).

        78.     Second, Apple Watch and W1 are expected to be offered at some of the same

 national retailers, including Best Buy and Amazon, at least as early as the latter half of 2023. 127

 As explained above, Sound United purportedly provides Masimo “immediate access” to 20,000

 points of distribution, including at major retailers like Best Buy and Amazon. 128 An August 2022

 Wall Street Journal article observed the Sound United acquisition “gave [Masimo] access to

 consumer distribution channels such as Best Buy, which will be useful as it rolls out its own health-

 focused smartwatches.”129 Apple Watch is also sold in Best Buy retail stores and online on

 BestBuy.com and Amazon.com.130 Thus, at least as early as the latter half of 2023, Apple Watch

 and W1 are likely to be sold side-by-side in the same retailers and distribution channels, further

 evidencing direct competition between those products.



 126
    “Masimo completes acquisition of Sound United,” Mass Device,
 https://www.massdevice.com/masimo-completes-acquisition-of-sound-united/; “How activist
 Politan Capital may find an opportunity to trim costs, build value at Masimo,” CNBC,
 https://www.cnbc.com/2022/08/20/how-activist-politan-capital-may-find-an-opportunity-to-trim-
 costs-build-value-at-masimo.html.
 127
    “2022 Investor Day,” Masimo,
 https://s24.q4cdn.com/336820108/files/doc_presentations/Masimo-2022-Investor-Day-
 121322.pdf, p. 13.
 128
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.
 129
    “Activist Politan Capital Has 9% Stake in Masimo,” Wall Street Journal,
 https://www.wsj.com/articles/activist-politan-capital-has-9-stake-in-masimo-11660600800.
 130
    “Apple Watch,” Best Buy, https://www.bestbuy.com/site/wearable-technology/apple-watch-
 device-accessories/pcmcat748300489081.c?id=pcmcat748300489081; “Apple Watch,”
 Amazon.com, https://www.amazon.com/stores/page/47259FD7-DAA2-4BD0-8CDF-
 BB87B8981EB6?ingress=2&visitId=314e8917-521a-4745-b02d-34de24ffb0b8&ref_=ast_bln.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 328 of 507 PageID #:
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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 329 of 507 PageID #:
                                    6747



          81.    Fourth, Apple Watch and W1 each offer health and fitness tracking and monitoring

 features.138

          82.    Fifth, Masimo itself has recognized that Apple Watch and W1 will compete. For

 example, Masimo’s 2021 Form 10-K provides:

          Some of the world’s largest technology companies that have not historically
          operated in the healthcare or medical device space, such as Alphabet Inc.,
          Amazon.com, Inc., Apple Inc., Samsung Electronics Co., Ltd. and others, have
          developed or may develop products and technologies that may compete with our
          current or future products and technologies. For example, in September 2020,
          Apple, Inc. announced that its Apple Watch Series 6 includes a pulse oximetry
          monitoring feature, which may compete with certain of our existing products and
          products in development, including the consumer versions of our iSpO and
          MightySat pulse oximeters. In addition, in September 2021, Apple, Inc. announced
          that its Apple Watch Series 7 includes a blood oxygen level monitoring feature and
          a sleep tracking function, both of which compete with our existing products. 139

          83.    Indeed, Masimo repeatedly mentioned Apple during its Investor Day

 presentation.140

          84.    Sixth, and finally, recent publications confirm the anticipated competition between

 Apple Watch and W1. For example, a 2022 article by FirstWord Healthtech titled, “How a billion-

 dollar merger could ring in the era of hearables,” provides that W1 does “not seem to differ that

 much from” competing product offerings like those of Apple:

          Apart from Masimo’s long-standing reputation as a leader in critical care
          monitoring to give the technology gravitas, what W1 offers would not seem to




 138
   See, e.g. “Apple Watch Series 8,” Apple, https://www.apple.com/apple-watch-series-8/;
 “Masimo W1TM,” Masimo, https://www.masimopersonalhealth.com/products/masimo-w1.
 139
       Masimo 2021 Form 10-K, p. 39.
 140
    “Masimo Corporation (MASI) | Transcript(Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.

                                                 39
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 330 of 507 PageID #:
                                    6748



        differ that much from what the likes of Apple, Samsung, Fitbit, Garmin, Withings
        (the list is long) also offer.141

        85.     A recent product review likewise confirmed that W1 will compete with Apple

 Watch just like other “copycat” devices. According to the review, Masimo “is taking a bold step

 by putting that technology on [W1] to sell to consumers, competing against tech giants Apple and

 Samsung, as well as a host of other copycats [, like Masimo,] in this emerging space of wearable

 technology.”142

        86.     Accordingly, for at least the reasons above, in my opinion, Apple Watch will

 directly compete with W1 as early as the latter half of 2023.

                2.      Competition Between Apple Watch And W1 In The Latter Half Of
                        2023 Will Cause Apple Irreparable Harm By Improperly Requiring
                        Apple To Compete With Its Own Patented Designs, Resulting In
                        Irreparable Lost Product Market Share, Sales, Revenues, And Profits.

        87.     As stated above, I understand that W1 incorporates the patented designs of the

 Asserted Patents.143 In view of that understanding, and in view of the anticipated competition

 between Apple Watch and W1 in the latter half of 2023, it is my opinion that Masimo’s ongoing

 and escalating sales of W1 during 2023 is likely to cause Apple irreparable harm by causing Apple

 to compete against its own patented designs, lose market share to Masimo, and sustain

 unquantifiable lost unit sales, revenues, and profits related to Apple Watch.




 141
   “Spotlight On: How a billion-dollar merger could ring in the era of hearables,” FirstWord
 Healthtech, https://www.firstwordhealthtech.com/story/5510895.
 142
    “Masimo’s W1: A Game Changer in Watch Industry,” Orange Country Business Journal,
 https://www.ocbj.com/healthcare/masimos-w1-a-game-changer-in-watch-industry/ (emphasis
 added); see Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 148-156, 170-178, 193-201.
 143
    See Section V.E, supra; see also Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 111-
 123.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 331 of 507 PageID #:
                                    6749



        88.     First, Masimo’s ongoing and escalating sales of W1 during 2023 is likely to cause

 Apple irreparable harm by causing Apple to compete against its own patented designs.

        89.     “Knockoffs” like W1 diminish the value of Apple Watch to consumers because

 consumers (or, their friends) can purchase a similar-in-design product from another source. 144

 Indeed, the ready availability of W1, which Masimo intends to eventually distribute in 2023

 through “[20,000] Points of Retail and Custom Installations,” 145 creates a disincentive for

 consumers to buy the authentic Apple Watch and consumers may no longer view Apple Watch as

 unique or as desirable.146 As an article from Organisation for Economic Co-operation and

 Development puts it: “[t]he proliferation of counterfeit versions of luxury goods can make the

 genuine articles less desirable to their traditional consumers.” 147 I agree. And, because I

 understand that W1 incorporates the patented designs of the Asserted Patents, in my opinion the

 harms above, which are unquantifiable, will be caused to Apple by Masimo’s ongoing and

 escalating sales of W1 in the latter half of 2023.




 144
    See, e.g., “The Economic Impact of Counterfeiting and Piracy: Executive Summary,”
 Organisation for Economic Co-operation and Development, 2007,
 https://www.oecd.org/sti/38707619.pdf, p. 18.
 145
    Figure 18; “2022 Investor Day,” Masimo,
 https://s24.q4cdn.com/336820108/files/doc_presentations/Masimo-2022-Investor-Day-
 121322.pdf, p. 13.
 146
    See, e.g., “The Economic Impact of Counterfeiting and Piracy: Executive Summary,”
 Organisation for Economic Co-operation and Development, 2007,
 https://www.oecd.org/sti/38707619.pdf, p. 18.
 147
    See, e.g., “The Economic Impact of Counterfeiting and Piracy: Executive Summary,”
 Organisation for Economic Co-operation and Development, 2007,
 https://www.oecd.org/sti/38707619.pdf, p. 18.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 332 of 507 PageID #:
                                    6750



        90.      Second, requiring Apple to compete with its own patented technology in the latter

 half of 2023 will result in irreparable harm to Apple in the form of lost market share by Apple and

 gains in market share by Masimo with long term effects.

        91.      According to a Harvard Business Review article titled “Market Share—a Key to

 Profitability”: “[m]arket share is more important for infrequently purchased products than for

 frequently purchased ones . . . . Infrequently purchased products tend to be durable, higher unit-

 cost items such as capital goods, equipment, and consumer durables, which are often complex and

 difficult for buyers to evaluate. Since there is a bigger risk inherent in a wrong choice, the

 purchaser is often willing to pay a premium for assured quality.” 148

        92.      That dynamic applies here in view of the anticipated competition between Apple

 Watch and W1 in the latter half of 2023.

        93.      Indeed, Masimo’s competing sales of W1 will erode Apple’s market share to

 Masimo’s benefit.149     That   lost market share is likely to lead to unquantifiable financial

 consequences.

        94.      For example, losses in market share by Apple to Masimo will likely result in Apple

 having to increase its marketing and sales efforts for Apple Watch, to distinguish Apple Watch




 148
    “Market Share—a Key to Profitability,” Harvard Business Review, 1975,
 https://hbr.org/1975/01/market-share-a-key-to-profitability.
 149
    For purposes of this report, I was not asked to define any specific market in which Apple
 Watch and W1 will compete. No such definition is required. Apple Watch will directly compete
 with W1. And because W1 is the first watch Masimo has sold, Masimo is a new entrant to any
 market in which watches are sold. Thus, regardless of how the market is defined, sales of W1
 are likely to result in a lesser amount of share of that market for Apple and some greater amount
 of share of that market for Masimo. It is those changes in market share—Apple’s loss of market
 share and Masimo’s gain of market share—that, in my opinion, is likely to result in the
 unquantifiable harms to Apple described herein.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 333 of 507 PageID #:
                                    6751



 from Masimo’s infringing product, thereby decreasing Apple’s overall profitability for Apple

 Watch.

          95.   Moreover, Apple will be irreparably damaged by Masimo’s presence as a new

 direct competitor and Masimo’s gains in market share from its unauthorized use of Apple’s

 patented designs. The harm from Masimo’s gains in market share are unquantifiable, long-term,

 not easily reversible, and therefore irreparable.

          96.   Indeed, through its sales of W1, Masimo is attempting to benefit from Apple’s

 investments in the design of Apple Watch (among other features of Apple Watch) by marketing a

 product design–Apple’s design–that is already proven and familiar to consumers to gain a foothold

 in a new market related to watches.150 In other words, Masimo is using the patented designs of the

 Asserted Patents in W1 without authorization to directly compete and gain market share, and such

 unauthorized use will result in the existence of a new competitor to Apple that would not otherwise

 exist but for Masimo’s infringement.

          97.   Using another’s intellectual property to enter a market irreparably harms the prior

 participants in that market by creating new competitor to compete for market share that would not

 otherwise exist but for the competitor’s infringement. And, notably, the improper foothold that

 the new competitor gains by virtue of its infringement cannot be addressed by a later redesign to

 the accused product (e.g., upon the finding of infringement) at least because consumer interest in




 150
    “Apple Watch Leads Customer Preferences in The USA,” Counterpoint Research,
 https://www.counterpointresearch.com/apple-watch-leads-customer-preferences-usa/; “How
 Apple Watch Used Distinctive Design to Dominated the Smartwatch Market,” the brand gym,
 https://thebrandgym.com/apple-watch-brand-stretch/; “The Apple Watch design is already a
 classic – will it ever change?” The Next Web, https://eW/news/apple-watch-design-classic-future-
 analysis.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 334 of 507 PageID #:
                                    6752



 even the re-designed product will be based at least in part on the new competitor’s prior infringing

 acts.

         98.    Third, Apple’s lost market share resulting from Masimo’s ongoing and escalating

 sales of W1 during 2023 is likely to cause Apple to lose unquantifiable unit sales, revenues, and

 profits related to Apple Watch. A single sale of W1 in place of a single sale of Apple Watch will

 not merely result in a 1:1 lost sale of Apple Watch. Instead, a sale of W1 in place of Apple Watch

 will cause Apple unquantifiable lost future sales, revenues, and profits from Apple Watch because

 Apple will lose future sales from repeat purchasers and customers who are referred to Apple Watch

 from prior Apple Watch purchasers. Those benefits—repeat purchasers and word-of-mouth sales,

 each of which is garnered by Apple Watch’s premier design and quality—are significant, cannot

 be quantified to a reasonable degree of economic certainty, and are lost when a consumer purchases

 W1 instead of Apple Watch. Apple’s loss of those significant benefits is therefore irreparable.

         99.    Indeed, Apple Watch purchasers are likely to successively purchase different

 versions of Apple Watch over time because of the strong brand loyalty Apple has created because

 of its premier engineering and design. As reported by Business Insider, “Apple has, over the years,

 built a reputation for quality and the industrial design of its products” that has “created millions of

 loyal customers.”151 Apple’s brand loyalty, garnered by Apple Watch’s premier quality and

 design, results in customers being much more likely to purchase Apple Watch after making an

 initial purchase. A sale of W1 by Masimo that replaces a sale of Apple Watch will prevent Apple

 from gaining those additional sales that would have resulted from Apple’s brand loyalty but for

 Masimo’s sale of W1.


 151
    “Why Apple Products are so Expensive,” Business Insider,
 https://www.businessinsider.com/why-apple-products-are-so-expensive-iphone-macbook-2019-
 11, video transcription.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 335 of 507 PageID #:
                                    6753



          100.   Apple’s strong brand loyalty will also compel Apple Watch purchasers to advertise

 and recommend Apple Watch to their friends and family, often referred to as word-of-mouth

 sales.152 Those types of advertisements and recommendations will lead to additional sales of Apple

 Watch. Thus, a sale of W1 by Masimo that replaces a sale of Apple Watch will prevent Apple

 from benefiting from word-of-mouth advertisements and recommendations by prior Apple Watch

 purchasers and thereby prevent Apple from gaining an unquantifiable number of sales of Apple

 Watch from those recommendations.

          101.   Accordingly, in view of my understanding that W1 practices the Asserted Patents,

 and in view of the anticipated competition between Apple Watch and W1 in the latter half of 2023,

 it is my opinion that Masimo’s ongoing and escalating sales of W1 during 2023 is likely to cause

 Apple irreparable harm by causing Apple to compete against its own patented technology, lose

 market share to Masimo, and lose unquantifiable unit sales, revenues, and profits related to Apple

 Watch.

                 3.     The Likely Irreparable Harm To Apple From Requiring Apple To
                        Compete With Its Own Patented Inventions And Consequently Lose
                        Product Market Share In The Latter Half Of 2023 Is Causally Linked
                        To Masimo’s Unauthorized Use Of The Patented Designs In The
                        Asserted Patents.

          102.   In my opinion, Masimo’s use of the patented designs in the Asserted Patents has a

 nexus to the likely irreparable harms to Apple described above. That nexus is shown through the

 importance of the patented designs in the Asserted Patents to consumers’ purchasing decisions.




 152
    “How Word of Mouth Advertising Made The Apple Watch A Star!,” Mobile Mob,
 https://mobilemob.com.au/blogs/news/how-word-of-mouth-advertising-made-apple-watch-the-
 star-of-the-show; “Steve Jobs’ Advertising Strategy Is Why Apple Still Tops the Market,”
 Observer, https://observer.com/2017/12/steve-jobs-advertising-strategy-is-why-apple-still-tops-
 the-market/.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 336 of 507 PageID #:
                                    6754



 Masimo’s unauthorized use of those patented designs will continue to result in Apple’s lost market

 share, sales, revenues, and profits.153

        103.    I am aware of at least three sources of evidence that demonstrate the connection

 between the patented designs in the Asserted Patents and consumer purchasing decisions, and the

 importance of the patented designs to consumer purchasing decisions: Masimo’s own statements

 and advertisements, survey evidence, and relevant industry publications.

        104.    First, Masimo’s own advertisements reflect the connection between the patented

 designs in the Asserted Patents and consumer purchasing decisions, and the importance of those

 designs to consumer purchasing decisions, and thus demonstrate the nexus between Masimo’s use

 of Apple’s patented designs and Apple’s anticipated lost product market share.

        105.    For example, Masimo’s advertisements heavily feature the design of the back of

 W1, which incorporates Apple’s patented designs, on Masimo’s webpage marketing W1. As

 shown in Figure 11 above, the design of the back of W1 is prominently featured in Masimo’s

 marketing material and comprises the single largest image on W1’s webpage, indicating that

 Masimo considers the design to be important to consumers. Numerous other images on Masimo’s

 website also emphasize the design on the back of W1, as shown in Figures 12-14, further

 evidencing the importance of W1’s back’s design.




 153
     I am qualified to evaluate the causal nexus between Apple’s harm and Masimo’s use of the
 Asserted Patents based, in part, on my experience as a licensing professional who regularly
 assists clients with the valuation of IP, both inside and outside of litigation. More specifically, I
 have experience negotiating licensing/sales agreements for IP assets, the terms of which are
 predicated on identifying the specific economic benefits and value derived from the IP being
 licensed. I am also qualified based on my experience as a financial professional and Certified
 Public Accountant who regularly assists clients with the evaluation of potential businesses and
 markets that could possibly be created from the development and commercialization of IP.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 337 of 507 PageID #:
                                    6755



        106.    Masimo’s promotion of consumer reviews likewise focuses on W1’s design. For

 example, one consumer review that Masimo promotes on its website provides that the consumer

 “personally [wore] [] W1 and [was] impressed by its comfort and stylish look . . . .” 154 Masimo’s

 own CEO admitted that Masimo relies on W1’s design to attract sales, stating that Masimo thinks

 it “[has] a compelling design.”155 Masimo’s current COO of its Consumer division Blair Tripodi

 stated during Masimo’s recent investor day conference that “quality and design[] go hand in hand”

 and wanted to show Masimo’s investors “how important design is” for wearables and “how

 important design is for health care as well.” 156

        107.    Notably, the importance of the back of the design of W1 to consumer purchasing

 decisions is also evidenced by Masimo’s decision to use the patented designs of Apple Watch for

 the design of the back of W1 rather than any other design. As shown above, Apple is a global

 leader in product development and design. The fact that Masimo used the same design as Apple

 Watch—as evidenced by Mr. Ball’s declaration—for the design of the back of W1 to launch a new

 product rather than some other design demonstrates the importance of the back of W1 to Masimo’s

 success. Masimo could have chosen any other design but chose Apple’s patented designs because

 of Apple’s reputation as a leader in design.



 154
    “Medical Pioneer Masimo Announces the Full Market Consumer Release of the Masimo
 W1™, the First Watch to Offer Accurate, Continuous Health Data,” Masimo,
 https://investor.masimo.com/news/news-details/2022/Medical-Pioneer-Masimo-Announces-the-
 Full-Market-Consumer-Release-of-the-Masimo-W1-the-First-Watch-to-Offer-Accurate-
 Continuous-Health-Data/default.aspx.
 155
    “Masimo (MASI) Q2 2022 Earnings Call Transcript,” The Motley Fool,
 https://www.fool.com/earnings/call-transcripts/2022/08/10/masimo-masi-q2-2022-earnings-call-
 transcript/.
 156
    “Masimo Corporation (MASI) | Transcript (Analyst or Investor Day): Event on 12/13/2022”
 S&P Capital IQ,
 https://www.capitaliq.spglobal.com/apisv3/docviewer/documents?mid=197045029.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 338 of 507 PageID #:
                                    6756



           108.   Thus, in my opinion, each of the foregoing facts show a nexus between Masimo’s

 use of the patented designs in the Asserted Patents and the irreparable harm to Apple in the form

 of lost product market share from such use.

           109.   Second, survey evidence shows a connection between the patented designs in the

 Asserted Parents and consumer purchasing decisions, and thus demonstrates that Masimo’s use of

 Apple’s patented designs has a nexus to Apple’s anticipated product market share.

           110.   I understand that another expert retained by Apple, Dr. Simonson, asked

 respondents about various features of W1 that would impact their purchasing decision. Of the 197

 respondents surveyed, up to 30.5 percent stated that the design of the back of W1 would impact

 their decision, and that number increased to 36.6 percent when focusing on respondents who are

 familiar with smartwatches.157 While respondents also identified other features as impactful to

 their purchasing decision, I understand that a patented feature need not be the only feature that

 drives consumer purchasing decisions to show nexus. Moreover, I understand that Dr. Simonson

 included another feature in the survey, “Two Time Zone Display,” and assessed the relative

 materiality of the design of the back of W1 to that feature. The results show that the design of the

 back of W1 was selected more than twice as often as “Two Time Zone Display,” further evidencing

 how the design of the back of W1 impacts consumer purchasing decisions. 158

           111.   Third, industry publications demonstrate the importance of design to smartwatch

 consumers,159 and that general importance of design applies equally to the design of the back of

 the watch. Indeed, the backs of the smartwatches constitute a substantial portion of the surface



 157
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 33, Fig.4.
 158
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 33, Fig.4.
 159
       See Section V.A, supra.

                                                   48
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 339 of 507 PageID #:
                                    6757



 area of smartwatches that a smartwatch provider can design. Clearly, consumers’ focus on the

 beautiful “design” of smartwatches is not limited to only one side of a smartwatch (e.g., the front

 of the watch). Indeed, the general importance of the design of the back of smartwatches is further

 supported by Mr. Jue’s and Mr. Russell-Clarke’s statements regarding Apple’s thoughtful design

 of the back of Apple Watch.160

           112.   Accordingly, in my opinion, the foregoing evidence demonstrates that Masimo’s

 use of the patented designs in the Asserted Patents has a nexus to the likely harm to Apple’s market

 share, sales, revenues, and profits of Apple Watch in the latter half of 2023.

           B.     Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of 2023
                  Will Result In Irreparable Harm To Apple’s Reputation As An Innovator of
                  Product Designs And Provider Of High-Quality Products.

           113.   As stated above, the designs of the backs of W1 and Apple Watch are substantially

 similar, and Apple has accused Masimo of copying the patented designs in the Asserted Patents

 that are embodied in Apple Watch. 161

           114.   Because of those substantial similarities between Apple Watch and W1, consumers

 may have one of two reactions upon encountering W1, each of which is likely to cause irreparable

 harm to Apple’s reputation. First, consumers may mistakenly conclude that Apple’s iconic designs

 are common because they appear on a non-Apple product, resulting in irreparable harm to Apple’s

 reputation as an innovator. Second, alternatively, consumers may mistakenly associate Apple with

 W1—a product of lesser quality, resulting in irreparable harm to Apple’s reputation for high-

 quality products. In my opinion, each type of harm to Apple is irreparable.




 160
       See Section V.C, supra.
 161
       See Section V.E, supra.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 340 of 507 PageID #:
                                    6758



               1.      Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of
                       2023 Will Cause Irreparable Harm To Apple’s Reputation As An
                       Innovator Of Product Designs.

        115.   As set forth above (see Section V.A–Section V.C), Apple is widely regarded as a

 leading innovator of consumer electronics designs, and various product reviews and publications

 recognize the significance of Apple’s design innovation in Apple Watch. 162 Through years of

 investments, Apple has gained a hard-earned reputation for its innovative approach to design,

 which forms a substantial part of its brand identity and brand value. 163 Indeed, Apple’s iconic

 designs, including Apple’s designs in Apple Watch, are a central pillar of Apple’s value

 proposition to Apple customers.164 Accordingly, consumers expect that Apple’s innovative

 designs will exclusively be found on Apple’s products, and Apple’s distinctive aesthetics give

 Apple a unique advantage in the consumer electronics marketplace. 165




 162
     “What do Apple, GM, and P&G share? Design.” The Christian Science Monitor,
 https://www.csmonitor.com/Business/2011/0323/What-do-Apple-GM-and-P-G-share-Design;
 “Lessons from Apple on Why Aesthetic Innovation is Important,” Innovation Management,
 https://innovationmanagement.se/2017/06/22/lessons-from-apple-on-why-aesthetic-innovation-
 is-important/.
 163
    “Why the Apple Design is So Successful,” Cleverism, https://www.cleverism.com/why-
 apple-design-successful/; “Why Apple Products are so Expensive,” Business Insider,
 https://www.businessinsider.com/why-apple-products-are-so-expensive-iphone-macbook-2019-
 11, video transcription; “Are Apple Products really Worth It?” Medium,
 https://medium.com/geekculture/are-apple-products-really-worth-it-b0631dee8ac2.
 164
    “How Apple’s thoughtful, measured approach is building a revolution in health,”
 TechCrunch, https://techcrunch.com/2022/06/13/apple-health-executive-interviews/.
 165
    See Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel/
 intellcont/MSI_Report_13-1081-1.pdf, p. 9.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 341 of 507 PageID #:
                                    6759



        116.    In my opinion, if Apple’s designs are found in another product, as they are in W1,

 consumers may conclude that Apple’s designs are commonplace and no longer unique or

 innovative.166 That conclusion will lead to long-lasting harm to Apple’s brand. 167

        117.    As stated above in relation to Apple’s lost product market share, “[k]nockoffs” like

 W1 diminish the value of Apple Watch to consumers because consumers (or, their friends) can

 purchase a similar-in-design product from another source. 168 The ready availability of W1, which

 Masimo intends to distribute through “[20,000] Points of Retail and Custom Installations,” 169

 creates a disincentive for consumers to buy the authentic Apple Watch. 170 That consequence of

 Masimo’s use of the patented designs in the Asserted Patents irreparably harms Apple not only in

 the form of lost product market share, but also irreparably harms Apple’s reputation as an

 innovator.

        118.    According to a 2013 report of the impact of fashion knockoffs by Marketing

 Science Institute, “the entry of a knockoff has an overall negative effect on the financial



 166
    See Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel/
 intellcont/MSI_Report_13-1081-1.pdf, p. 4.
 167
     Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel
 /intellcont/MSI_Report_13-1081-1.pdf, p. 5.
 168
    See, e.g., “The Economic Impact of Counterfeiting and Piracy: Executive Summary,”
 Organisation for Economic Co-operation and Development, 2007,
 https://www.oecd.org/sti/38707619.pdf, p. 18.
 169
    Figure 18; “2022 Investor Day,” Masimo,
 https://s24.q4cdn.com/336820108/files/doc_presentations/Masimo-2022-Investor-Day-
 121322.pdf, p. 13.
 170
    See, e.g., “The Economic Impact of Counterfeiting and Piracy: Executive Summary,”
 Organisation for Economic Co-operation and Development, 2007,
 https://www.oecd.org/sti/38707619.pdf, p. 18.

                                                 51
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 342 of 507 PageID #:
                                    6760



 performance of the original. In over 97% of cases, the combined harm due to substitution and

 uniqueness is greater than the positive effect of acceleration.” 171 The report concludes that “[t]hese

 results support the concerns voiced by industry groups regarding the harm done by knockoffs.” 172

        119.    The Marketing Science Institute report further described the harm to a brand from

 the loss of uniqueness as follows:

           “[F]or many products, and fashions in particular, consumers’ need for uniqueness plays
            a significant role in their adoption and attrition decisions [] and consequently aggregate
            market demand. Thus, even if consumers cannot differentiate between a copy and the
            original design, the mere presence of more items in the market will affect the degree to
            which consumers perceive a design as unique and so can create monetary harm to the
            original product.”173

           “The need for uniqueness is increasingly recognized as a major driver of consumer
            behavior in the context of fashions yet can be observed in various markets.” 174

           “Studies have further investigated the role of uniqueness in increasing the desirability
            of certain goods…and have shown that a loss of uniqueness can cause customers to be
            upset[]. Thus, the introduction of a knockoff might create harm to the original product
            merely by increasing the number of items in the market.” 175




 171
     Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel
 /intellcont/MSI_Report_13-1081-1.pdf, p. 5.
 172
     Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel
 /intellcont/MSI_Report_13-1081-1.pdf, p. 5.
 173
    Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel/
 intellcont/MSI_Report_13-1081-1.pdf, p. 4.
 174
    Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel/
 intellcont/MSI_Report_13-1081-1.pdf, p. 9.
 175
    Appel, Gil, et al., “The Short- and Long-term Impacts of Fashion Knockoffs on Original
 Items,” Marketing Science Institute, 2013, https://msbfile03.usc.edu/digitalmeasures/gappel/
 intellcont/MSI_Report_13-1081-1.pdf, p. 9.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 343 of 507 PageID #:
                                    6761



           120.   I agree with these articulations of harm to designers resulting from knockoff

 products and, in my opinion, those harms are likely to result in relation to Masimo’s use of the

 patented designs in the Asserted Patents. While the report’s findings are about fashion knockoffs,

 the report’s findings are directly applicable to the likely harm to Apple by W1 at least because, as

 consumer wearables, Apple Watch and W1 embody both function and fashion. That is exactly

 why the design of watches like Apple Watch and W1 is so important to consumers, and why the

 copying of the design of watches like Apple Watch can be so harmful and damaging to Apple.

           121.   Accordingly, in my opinion, Masimo’s continued unauthorized use of the patented

 designs in the Asserted Patents will cause irreparable, long-term damage to Apple’s brand value

 by harming Apple’s reputation as an innovator of iconic and distinctive designs.

                  2.      Masimo’s Ongoing And Escalating Sales Of W1 In The Latter Half Of
                          2023 Will Cause Irreparable Harm To Apple’s Reputation As A
                          Provider Of High Quality Products.

           122.   In my opinion, Masimo’s ongoing and escalating sales of W1 is likely to cause

 irreparable harm to Apple’s reputation as a provider of high-quality watches.

           123.   I understand that, despite using the design of the back of Apple Watch, W1’s

 details, materials, and finishes do not have the same sophisticated and premium appearance as

 Apple Watch.176 However, because of the design similarities of Apple Watch and W1, Masimo’s

 sales of W1 will likely result in irreparable harm to Apple’s reputation as a provider of high quality

 products because consumers may mistakenly believe that Apple is somehow involved in the

 design, manufacture, and/or licensing of W1 and its inferior product quality. 177


 176
       Declaration of Alan D. Ball dated Jan. 29, 2023 at ¶¶ 126-127.
 177
    “Understanding Product Quality: What It Is and Why It Matters,” Indeed,
 https://www.indeed.com/career-advice/career-development/product-quality (“[P]roduct quality
 earns customer loyalty [and] helps establish brand recognition”); New Consumer Survey


                                                  53
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 344 of 507 PageID #:
                                    6762



           124.     For example, consumers may see the lower quality details, materials, and finishes

 of W1 on others in public, or potentially view negative reviews for W1 online, and develop a

 negative opinion of Apple.

           125.   I understand that Dr. Simonson’s survey evidence supports my conclusion that a

 mistaken association between Apple and W1 by consumers is likely. Specifically, I understand

 that Dr. Simonson showed 194 respondents in the test group, and 200 respondents in the control

 group, the design of the back of W1 and inquired as to whether the respondent associated that

 design with a company or brand (if any).178 I further understand that up to 50.5 percent of

 respondents associated the design of the back of W1 with Apple, relative to the 10.0 percent of

 respondents who associated the design of the back of a control smartwatch with Apple. 179 That is

 an extremely high degree of association between W1 and Apple. Thus, if consumers accurately

 conclude that W1 is a product of lesser quality, it is likely that consumers will mistakenly associate

 W1 with Apple and thereby associate Apple with a lesser-quality product. The harm to Apple

 from that mistaken association cannot be reversed or quantified to a reasonable degree of economic

 certainty and thus constitutes irreparable harm to Apple.

           126.   Accordingly, in my opinion, Masimo’s continued unauthorized use of the patented

 designs in the Asserted Patents will cause irreparable, long-term damage to Apple’s brand value

 by harming Apple’s reputation as a provider of high-quality products.




 Highlights Shift in Mindset - Consumers Valuing Quality Over Price When Selecting Products,”
 First Insight, https://www.firstinsight.com/press-releases/quality-more-important-than-price-
 study (“Quality is becoming more important than price to most consumers, as 53 percent rate
 quality as the most important factor when making purchases”).
 178
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 45, Fig. 8.
 179
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 45, Fig. 8.

                                                   54
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 345 of 507 PageID #:
                                    6763



                  3.     The Likely Irreparable Harm To Apple’s Reputation In The Latter
                         Half Of 2023 Is Causally Linked To Masimo’s Use Of The Patented
                         Designs In the Asserted Patents.

           127.   As explained above, due to W1’s use of the patented designs in the Asserted

 Patents, Masimo’s use of the patented designs may cause one of two consumer reactions: they may

 either (1) mistakenly conclude that Apple’s iconic designs are common because they show up on

 a non-Apple product, resulting in irreparable harm to Apple’s reputation for innovation, or (2)

 mistakenly associate Apple with W1 (a poorer-quality product), resulting in irreparable harm to

 Apple’s reputation for high-quality products.180 Each of those harms is specifically tied to the

 design of the back of W1 and therefore bears a nexus to Masimo’s use of the patented designs.

           128.   Indeed, as explained above, Dr. Simonson’s survey evidence directly shows that

 the public is likely to associate the design of the back of W1 with Apple. That survey evidence

 alone is sufficient to establish a causal nexus for the irreparable harm to Apple’s reputation that is

 likely to result from Masimo’s ongoing and escalating sales of W1 in the latter half of 2023.

           129.   Accordingly, in my opinion, the foregoing evidence supports a causal nexus

 between the Asserted Patents and the harm to Apple’s reputation that Apple is likely to sustain

 from Masimo’s ongoing and escalating sales of W1.

           C.     The Likely Irreparable Harms To Apple In The Latter Half Of 2023 Will Not
                  Be Redressed By Calculating Damages Based On Masimo’s Profits.

           130.   The foregoing paragraphs demonstrate my opinions that the harms to Apple from

 Masimo’s unauthorized use of the patented designs in the Asserted Patents are unquantifiable and

 therefore irreparable in nature. However, even if Apple were to try to calculate a recovery based

 on Masimo’s unauthorized sales and/or profits of W1 (e.g., a calculation of a reasonable royalty




 180
       See Section VI.B.2, supra.

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 346 of 507 PageID #:
                                    6764



 or of Masimo’s profits), those measures of recovery will not redress Apple’s harms and therefore

 cannot adequately compensate Apple for Masimo’s infringement. Accordingly, the irreparable

 harms to Apple will not be redressed by monetary recovery based on a reasonable royalty or

 Masimo’s profits.

                  1.      Apple’s Likely Irreparable Harm In The Latter Half Of 2023 Will Not
                          Be Redressed By A Reasonable Royalty.

           131.   35 U.S. Code § 284 states in part that:

           Upon finding for the claimant the court shall award the claimant damages adequate to
           compensate for the infringement, but in no event less than a reasonable royalty for the
           use made of the invention by the infringer, together with interest and costs as fixed by
           the court.

           132.   The determination of a reasonable royalty considers many factors. The seminal

 authority on this issue, Georgia-Pacific Corp. v. United States Plywood Corp.,181 provides 15

 factors which may be relevant to a determination of a reasonable royalty.

           133.   The reasonable royalty measure of damages for patent infringement is sometimes

 structured as a running royalty based on a percentage of the net sales of an infringing product. A

 reasonable royalty structured as a running royalty may also be calculated as a fixed sum per unit

 sale of an infringing product. Alternatively, a reasonable royalty may be structured as an upfront,

 lump-sum payment.

           134.   Regardless of the structure, as a starting point, a reasonable royalty is often

 influenced by the Cost, Market, and Income Approaches to valuation. The Income Approach is a

 direct measure of profitability.

           135.   Here, Masimo’s profitability from sales of W1 will likely reflect the start-up nature

 of Masimo’s smartwatch business and will not reflect the value of the technologies that W1


 181
       318 F.Supp. 1116 (S.D.N.Y. 1970).

                                                   56
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 347 of 507 PageID #:
                                    6765



 embodies. Thus, any calculation of a reasonable royalty based on Masimo’s profitability will not

 be adequate to compensate Apple.

        136.    As indicated above, the release of W1 on August 31, 2022 constituted Masimo’s

 first release of a Masimo smartwatch. It is unlikely that the value of the technologies embodied in

 W1 will be reflected in Masimo’s profits until Masimo’s unit sales reach sufficient levels to

 achieve manufacturing and operating efficiencies. It is further unlikely that Masimo will reach

 such levels of unit sales during the pendency of these proceedings.

        137.    Accordingly, although Apple is entitled to a reasonable royalty upon the finding of

 infringement of a valid claim of the Asserted Patents pursuant to §284 of the Patent Act, the

 reasonable royalty measure of recovery, based on the Income Approach, likely will not sufficiently

 address the harm that Apple will sustain from Masimo’s sale of W1 during this case.

                2.     Apple’s Likely Irreparable Harm In The Latter Half Of 2023 Will Not
                       Be Redressed By Disgorging Masimo’s Profits.

        138.    35 U.S. Code § 289 provides an “[a]dditional remedy for infringement of design

 patent[s]” based on an infringer’s unjust enrichment:

        Whoever during the term of a patent for a design, without license of the owner, (1)
        applies the patented design, or any colorable imitation thereof, to any article of
        manufacture for the purpose of sale, or (2) sells or exposes for sale any article of
        manufacture to which such design or colorable imitation has been applied shall be liable
        to the owner to the extent of his total profits, but not less than $250, recoverable in any
        United States district court having jurisdiction of the parties.

        139.    Thus, in addition to the measures of recovery available under §284, §289 also

 provides for the recovery of a defendant’s profits for infringement of a design patent. As each of

 the Asserted Patents are design patents, this measure of recovery is available to Apple.

        140.    However, as stated above, Masimo’s profitability from sales of W1 likely will not

 reflect the value of the technologies embodied in W1 until Masimo’s unit sales reach sufficient


                                                 57
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 348 of 507 PageID #:
                                    6766



 levels to achieve manufacturing and operating efficiencies, which is not likely to occur during

 these proceedings. Accordingly, although Apple is entitled to Masimo’s profits upon the finding

 of infringement of a valid claim of an Asserted Patents pursuant to §289 of the Patent Act, those

 profits likely will not be adequate to compensate Apple.

           D.     Enjoining Distribution Of W1 During 2023 Will Mitigate The Irreparable
                  Harms To Apple Resulting From Masimo’s Ongoing And Escalating Sales Of
                  W1 In The Latter Half Of 2023.

           141.   As stated above, Masimo has specific plans to expand and accelerate its sales of

 W1 in the latter half of 2023, including through Sound United’s distribution channels, which

 include major national retailers that also sell Apple Watch like Best Buy. 182 In my opinion, Apple

 will suffer each of the previously described harms most significantly in the latter half of 2023 if

 Masimo is not enjoined prior to implementing its planned, large expansion of sales of W1 in the

 second half of the year. Accordingly, it is also my opinion that the post-trial enjoinment of

 Masimo’s sales of W1 prior to Masimo’s planned ramp up of the distribution of W1 in the second

 half of 2023 would mitigate the likely irreparable harms to Apple caused by Masimo’s ongoing

 and escalating sales of W1.

 VII.      A POST-TRIAL INJUNCTION IS NOT LIKELY TO SIGNIFICANTLY HARM
           MASIMO.

           142.   Masimo is unlikely to suffer any significant harm to its business if sales of W1 are

 enjoined following a trial in this case. As stated above, historically, Masimo’s core business is

 hospital devices and those products are not implicated in this case. 183 W1 has therefore not yet

 become a core product of Masimo and sales of W1 will not immediately constitute a large portion


 182
    Figure 18; “2022 Investor Day,” Masimo,
 https://s24.q4cdn.com/336820108/files/doc_presentations/Masimo-2022-Investor-Day-
 121322.pdf, p. 13.
 183
       See Section V.D, supra.

                                                   58
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 349 of 507 PageID #:
                                    6767
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 350 of 507 PageID #:
                                    6768



                         Apple Watch Ultra              September 23, 2022190

           144.   I understand that each of those versions of Apple Watch that practice one or more

 of the Asserted Patents, except Apple Watch Series 4, are currently available for sale, including at

 national retailers like Best Buy.191 However, I understand that Apple Watch Series 5 is only being

 sold as a refurbished product.192

           145.   Apple’s success in innovation and design has resulted in Apple Watch repeatedly

 ranking as the highest selling smartwatch. Indeed, since Apple Watch released Apple Watch Series

 4 in 2018, Apple has had the highest percentage of the global smartwatch shipments each year,

 making Apple Watch the most popular smartwatch ever. 193

           146.   Accordingly, in my opinion, the versions of Apple Watch that practice one or more

 Asserted Patents, including at least Apple Watch Series 4, Apple Watch Series 5, Apple Watch

 Series 6, Apple Watch Series 7, Apple Watch Series 8, and Apple Watch Ultra, have experienced

 significant commercial success.

           147.   Additionally, Apple Watch’s designs, including the design of Apple Watch Series

 4 – 8 and Apple Watch Ultra, which practice the Asserted Patents, have received industry praise

 in numerous publications.194



 190
    “Introducing Apple Watch Ultra,” Apple,
 https://www.apple.com/newsroom/2022/09/introducing-apple-watch-ultra/.
 191
    “Apple Watch Series 5 Search Results, Best Buy,
 https://www.bestbuy.com/site/searchpage.jsp?id=pcat17071&st=apple+watch+series+5.
 192
    “Apple Watch Series 5 Search Results, Best Buy,
 https://www.bestbuy.com/site/searchpage.jsp?id=pcat17071&st=apple+watch+series+5.
 193
    “Quarterly smartwatch unit shipment share worldwide from 2018 to 2022, by vendor,”
 Statista, https://www.statista.com/statistics/910862/worldwide-smartwatch-shipment-market-
 share.
 194
       See supra ¶¶ 34-35.

                                                 60
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 351 of 507 PageID #:
                                    6769



           148.   Further, Apple’s commercial success and industry praise is directly related, in part,

 to the patented designs in the Asserted Patents.

           149.   I understand that Dr. Simonson’s surveys included questions regarding the

 materiality of the design of the back of Apple Watches in relation to consumer purchasing

 decisions, and the impact of the design on consumer purchasing decisions. 195 Specifically, I

 understand that Dr. Simonson’s surveys included assessment of Apple Watch Series 5 and Apple

 Watch Series 8, which, as shown above in Figures 5–6, addresses all versions of Apple Watch

 that practice the Asserted Patents because Apple Watch Series 4 and Series 5 have the same back

 design and Apple Watch Series 6, Apple Watch Series 7, Apple Watch Series 8, and Apple Watch

 Ultra have the same back design.

           150.   I understand that, of the 198 respondents surveyed, 28.3 percent stated that the

 design of the back of Apple Watch Series 5 would impact their purchasing decision and of the 195

 respondents surveyed, 31.8 percent stated that the design of the back of Apple Watch Series 8

 would impact their purchasing decision.196 I understand that those numbers increase to 32.1

 percent and 33.3 percent, respectively, when focusing on respondents who are familiar with

 smartwatches. While respondents also identified other features as impactful to their purchasing

 decision, I understand that a patented feature need not be the only feature that drives consumer

 purchasing decisions to show a nexus to commercial success and industry praise. Moreover, the

 results show that the design of the back of Apple Watch was selected approximately twice more

 frequently than “Two Time Zone Display,” further evidencing the impact of the design of the back

 of Apple Watch to its commercial success and industry praise.


 195
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶¶ 19-34.
 196
       Declaration of Itamar Simonson dated Jan. 27, 2023 at ¶ 33, Fig. 4.

                                                    61
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 352 of 507 PageID #:
                                    6770



           151.   In addition, and as stated above in relation to the nexus between Masimo’s use of

 the patented designs in the Asserted Patents and Apple’s likely lost product market share, relevant

 industry publications identified above show the importance of design to the smartwatches

 generally,197 and that general importance of design applies equally to the design of the back of

 Apple Watch. Indeed, the back of the watch constitutes a substantial portion of the surface area

 of smartwatches that a smartwatch provider can design. Clearly, consumers’ focus on the beautiful

 “design” of smartwatches is not limited to only one side of a smartwatch (e.g., the front of the

 watch). Indeed, the general importance of the design of the back of smartwatches is further

 supported by Mr. Jue’s and Mr. Russell-Clarke’s statements regarding Apple’s thoughtful design

 of the back of Apple Watch.198

           152.   Accordingly, Apple’s commercial success and industry praise for Apple Watch is

 directly related to the patented designs in the Asserted Patents.


           Date: January 30, 2023                      Respectfully submitted,




                                                       James E. Malackowski




 197
       Section V.A, supra.
 198
       Section V.C, supra.

                                                  62
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 353 of 507 PageID #:
                                    6771




                         Appendix 1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 354 of 507 PageID #:
                                    6772




    January 27, 2023



                                   JAMES E. MALACKOWSKI
                                     CURRICULUM VITAE
    James E. Malackowski is a Co-founder and Senior Managing Director of Ocean Tomo, LLC, a part of J.S.
    Held. Ocean Tomo provides Financial Expert, Management Consulting, and Advisory services related to
    intellectual property (IP) and other intangible assets; corporate accounting investigations; regulatory and
    reporting obligations; solvency and restructuring; and contractual or competition disputes. Practice
    offerings address economic damage calculations and testimony; accounting investigations and financial
    forensics; technology and intangible asset valuation; strategy and risk management consulting; mergers and
    acquisitions; debt and equity private placement; and IP brokerage. Subsidiaries of Ocean Tomo include
    Ocean Tomo Investments Group, LLC, a registered broker-dealer. With more than 100 offices globally,
    J.S. Held assists clients – corporations, insurers, law firms, governments, and institutional investors – on
    complex technical, scientific, and financial matters across all assets and value at risk.

    Along with Supreme Court Justice Stephen Breyer, Mr. Malackowski was inducted as the 87th member of
    the IP Hall of Fame, chosen by the IP Hall of Fame Academy from a longlist of nominees put forward by
    the global IP community. Mr. Malackowski was recognized by the Academy in 2022 with the Q. Todd
    Dickinson Award, which honors those who have made significant contributions to IP as a business asset.
    Mr. Malackowski’s inclusion into the IP Hall of Fame follows annual recognition since 2007 by leading
    industry publications as one of the ‘World’s Leading IP Strategists’. Significantly, Mr. Malackowski is
    listed among “50 Under 45” by IP Law & Business™; included in the National Law Journal’s inaugural
    list of 50 Intellectual Property Trailblazers & Pioneers; and, named as one of “The Most Influential People
    in IP” by Managing Intellectual Property™. Mr. Malackowski was named as1 of 50 individuals,
    companies and institutions that framed the first 50 issues of IAM Magazine as well as 1 of 60 leading global
    Economics Expert Witnesses by the same publication in 2014. In 2011 Mr. Malackowski was selected by
    the World Economic Forum as one of less than twenty members of the Network of Global Agenda
    Councils to focus on questions of IP policy. In 2013 he was inducted into the Chicago Area
    Entrepreneurship Hall of Fame by the Institute for Entrepreneurial Studies at the University of Illinois at
    Chicago College of Business Administration. In 2018, Mr. Malackowski joined the Standards
    Development Organization Board of the Licensing Executives Society (USA & Canada), Inc. governing
    voluntary consensus-based professional practices that are guided in their development by the American
    National Standards Institute's (ANSI's) Essential Requirements. LES standards are designed to encourage
    and teach consensus practices in many of the business process aspects of intellectual capital management.

    On more than one hundred occasions, Mr. Malackowski has served as an expert in U.S. Federal Court, U.S.
    Bankruptcy Court, State Court, Court of Chancery, the Ontario Superior Court of Justice, the U.S. Patent
    and Trademark Office Patent Trial and Appeal Board, and global arbitrations on questions relating to
    intellectual property economics including the subject of valuation, reasonable royalty, lost profits, price
    erosion, commercial success, corrective advertising, creditor allocations, Hatch Waxman Act market
    exclusivity, business significance of licensing terms including RAND obligations, venture financing
    including expected risk / return, and equities of a potential injunction. Mr. Malackowski’s experience
    extends to matters of general business valuation and commercial disputes, both domestic and foreign. Mr.
    Malackowski has publicly addressed policy issues affecting international trade and has provided expert
    opinions concerning antidumping and countervailing duties imposed by the U.S. Department of Commerce
    as well as testimony on domestic industry, bond, and remedies before the International Trade Commission.




                                                         1
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 355 of 507 PageID #:
                                    6773
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 356 of 507 PageID #:
                                    6774
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 357 of 507 PageID #:
                                    6775
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 358 of 507 PageID #:
                                    6776
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 359 of 507 PageID #:
                                    6777
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 360 of 507 PageID #:
                                    6778
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 361 of 507 PageID #:
                                    6779
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 362 of 507 PageID #:
                                    6780
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 363 of 507 PageID #:
                                    6781
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 364 of 507 PageID #:
                                    6782
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 365 of 507 PageID #:
                                    6783
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 366 of 507 PageID #:
                                    6784
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 367 of 507 PageID #:
                                    6785
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 368 of 507 PageID #:
                                    6786
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 369 of 507 PageID #:
                                    6787
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 370 of 507 PageID #:
                                    6788
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 371 of 507 PageID #:
                                    6789
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 372 of 507 PageID #:
                                    6790
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 373 of 507 PageID #:
                                    6791
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 374 of 507 PageID #:
                                    6792
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 375 of 507 PageID #:
                                    6793
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 376 of 507 PageID #:
                                    6794
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 377 of 507 PageID #:
                                    6795
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 378 of 507 PageID #:
                                    6796
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 379 of 507 PageID #:
                                    6797
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 380 of 507 PageID #:
                                    6798
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 381 of 507 PageID #:
                                    6799
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 382 of 507 PageID #:
                                    6800
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 383 of 507 PageID #:
                                    6801
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 384 of 507 PageID #:
                                    6802
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 385 of 507 PageID #:
                                    6803
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 386 of 507 PageID #:
                                    6804
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 387 of 507 PageID #:
                                    6805
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 388 of 507 PageID #:
                                    6806
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 389 of 507 PageID #:
                                    6807
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 390 of 507 PageID #:
                                    6808
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 391 of 507 PageID #:
                                    6809
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 392 of 507 PageID #:
                                    6810
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 393 of 507 PageID #:
                                    6811
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 394 of 507 PageID #:
                                    6812
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 395 of 507 PageID #:
                                    6813
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 396 of 507 PageID #:
                                    6814
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 397 of 507 PageID #:
                                    6815
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 398 of 507 PageID #:
                                    6816
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 399 of 507 PageID #:
                                    6817
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 400 of 507 PageID #:
                                    6818
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 401 of 507 PageID #:
                                    6819
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 402 of 507 PageID #:
                                    6820
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 403 of 507 PageID #:
                                    6821
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 404 of 507 PageID #:
                                    6822
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 405 of 507 PageID #:
                                    6823
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 406 of 507 PageID #:
                                    6824
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 407 of 507 PageID #:
                                    6825
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 408 of 507 PageID #:
                                    6826
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 409 of 507 PageID #:
                                    6827
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 410 of 507 PageID #:
                                    6828
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 411 of 507 PageID #:
                                    6829
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 412 of 507 PageID #:
                                    6830
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 413 of 507 PageID #:
                                    6831
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 414 of 507 PageID #:
                                    6832




                         Appendix 2
                                                  Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 415 of 507 PageID #:
                                                                                      6833

Apple Inc., v. Masimo Corporation and Sound United, LLC
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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 418 of 507 PageID #:
                                    6836




                    EXHIBIT P
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
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                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            1 of 419
                                                                 65 PageID
                                                                     of 507 PageID
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                                     6837                                       1


     1                           IN THE UNITED STATES DISTRICT COURT

     2                           IN AND FOR THE DISTRICT OF DELAWARE

     3                                             - - -
           SECUREBUY, LLC,
     4                                                       :   CIVIL ACTION
                           Plaintiff,                        :
     5     v                                                 :
                                                             :
     6     CARDINALCOMMERCE CORPORATION,                     :
                                                             :   NO. 13-1792-LPS
     7                     Defendant.                        :
                                                   - - -
     8
                                          Wilmington, Delaware
     9                                  Friday, February 7, 2014
                                          Telephone Conference
    10
                                                   - - -
    11
           BEFORE:            HONORABLE LEONARD P. STARK, U.S.D.C.J.
    12
           APPEARANCES:                            - - -
    13

    14                     SHAW KELLER, LLP
                           BY: KAREN E. KELLER, ESQ.
    15
                                 and
    16
                           ROTHWELL FIGG ERNST & MANBECK, P.C.
    17                     BY: BRIAN A. TOLLEFSON, ESQ., and
                                JENNIFER B. MAISEL, ESQ.
    18                          (Washington, District of Columbia)

    19                                  Counsel for SecureBuy, LLC

    20
                           PEPPER HAMILTON LLP
    21                     BY: JAMES G. McMILLAN, III, ESQ.

    22                           and

    23

    24
                                                    Brian P. Gaffigan
    25                                              Registered Merit Reporter
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
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                                            03/04/14
                                                 02/10/23
                                                       Page
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                                                            2 of 420
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2410 #:
                                     6838                                       2


     1     APPEARANCES:      (Continued)

     2
                           GOODWIN PROCTER, LLP
     3                     BY: MARK J. ABATE, ESQ., and
                                MICHAEL S. DeVINCENZO, ESQ.
     4                          (New York, New York)

     5                           and

     6                     GOODWIN PROCTER, LLP
                           BY: JENNIFER A. ALBERT, ESQ.
     7                          (Washington, District of Columbia)

     8                                   Counsel for CardinalCommerce Corporation

     9

    10                                        - oOo -

    11                                 P R O C E E D I N G S

    12                     (REPORTER'S NOTE:       Telephone conference was held

    13     in chambers, beginning at 3:01 p.m.)

    14                     THE COURT:     Good afternoon, everybody.         This is

    15     Judge Stark.      Who is there, please?

    16                     MR. McMILLAN:      Good afternoon, Judge Stark.

    17     This is James McMillan from Pepper Hamilton for the

    18     defendant CardinalCommerce Corporation.             This is our motion

    19     so I guess I'll introduce my people first, if that is okay.

    20                     THE COURT:     You have already started.         Go ahead.

    21                     MR. McMILLAN:      I have on the line from my

    22     co-counsel, Goodwin Procter in New York City, I have

    23     Jennifer Albert, Mark Abate, and Michael DeVincenzo.                Also

    24     on the line with us is Michael Keresman is the Chief

    25     Executive Officer of CardinalCommerce.             With the Court's
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            3 of 421
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2411 #:
                                     6839                                       3


     1     permission, Mr. Abate will present the motion today.

     2                     THE COURT:     That's fine.     Good afternoon to all

     3     of you.

     4                     MS. KELLER:     Good afternoon, Your Honor.          It's

     5     Karen Keller of Shaw Keller on behalf of SecureBuy.                And on

     6     the line today are Brian Tollefson and Jennifer Maisel of

     7     the Rothwell Fig firm in Washington, D.C. and James Packer,

     8     general counsel for SecureBuy.           And Brian Tollefson from

     9     Rothwell Fig will be presenting the argument on behalf of

    10     SecureBuy.

    11                     THE COURT:     That's fine.     Thank you.

    12                     I have my court reporter here with me.            For the

    13     record, it is our case of SecureBuy LLC versus CardinalCommerce,

    14     our Civil Action No. 13-792-LPS.           We're here today to discuss

    15     the defendant's motion for a preliminary injunction based on

    16     alleged infringement by the plaintiff of claim 1 of the '429

    17     patent and also to discuss the alternative relief requested by

    18     CardinalCommerce of an expedited trial.

    19                     I want to hear from the defendant first on both

    20     of those matters and then we'll turn it over to the plaintiff.

    21     So, Mr. Abate, the floor is yours.

    22                     MR. ABATE:     Thank you, Your Honor.        And thank

    23     you for expediting briefing and hearing our motion and for

    24     allowing us to appear before you today.

    25                     CardinalCommerce, Your Honor, is a leader and
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 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            4 of 422
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2412 #:
                                     6840                                       4


     1     innovator in the field of payment authentication processing

     2     for Internet transaction, and it holds a number of patents

     3     in that field including the three patents in this suit.

     4                     The patents generally relate to novel systems

     5     for supporting processing of Internet transactions between

     6     customers and merchants through the use of a centralized

     7     authentication processing system, and Cardinal practices the

     8     patents in suit and has spent 12 years developing the market

     9     for its patented inventions.

    10                     In November, SecureBuy filed this declaratory

    11     judgment action of invalidity and noninfringement for the

    12     three patents in suit.         CardinalCommerce counterclaimed for

    13     infringement.      And SecureBuy also filed petitions for

    14     Covered Business Method review of the patents in suit in the

    15     Patent Office.

    16                     We're here today because after SecureBuy filed

    17     its declaratory judgment suit and after Cardinal had

    18     answered and counterclaimed.          And after SecureBuy filed its

    19     petitions for Covered Business Method review of the patents,

    20     SecureBuy decided to attempt to circumvent the processes

    21     that it initiated and take matters into its own hands by

    22     giving away free of charge the infringing features of its

    23     SecureBuy 2.0 product.

    24                     In that action, Your Honor, SecureBuy's giveaway

    25     of its infringing product threatens to destroy the market
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            5 of 423
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2413 #:
                                     6841                                       5


     1     for the patented product, and that threat is what

     2     precipitated Cardinal's motion for preliminary injunction.

     3                     Now, before addressing the four preliminary

     4     injunction factors, I would like to address at a high level

     5     the way we see the landscape of the dispute before the Court

     6     today.

     7                     SecureBuy filed its Covered Business Method

     8     petition, Your Honor, with an intent to obtain a stay of

     9     this litigation.       They said that in their papers.           They have

    10     admitted that.       And that would give SecureBuy a multiyear

    11     runway to destroy the market for our patented invention.

    12                     Now, there is some dispute between the parties

    13     as to how long that runway might be, Your Honor, but when

    14     you include the process of the Patent Office, the appeal,

    15     coming back to this Court and a subsequent appeal from this

    16     Court's decision, it would be a number of years.

    17                     THE COURT:     Let me interrupt you then.

    18                     MR. ABATE:     But then --

    19                     THE COURT:     Mr. Abate, I have some questions for

    20     you.

    21                     MR. ABATE:     Sure.

    22                     THE COURT:     So they suggest in one of their

    23     letters that you have already essentially conceded that

    24     if the CBM is granted, the case should be stayed.                Is that

    25     correct?
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            6 of 424
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2414 #:
                                     6842                                       6


     1                     MR. ABATE:     No such thing, Your Honor.         Our

     2     letter doesn't say that, and we would never concede that,

     3     and that is why we're asking for an expedited trial.                 The

     4     giveaway of the accused product has now changed the

     5     landscape and absolutely makes stay inappropriate.

     6                     I should mention there is no stay motion pending

     7     before the Court.       Under the statute, the stay has to be

     8     made by motion, it can't be sua sponte; but we absolutely

     9     would oppose a stay because of their conduct which is

    10     leading to irreparable harm, their conduct of giving away

    11     the infringing features of the patent.

    12                     So, Your Honor, then after setting this

    13     litigation and the CBM in motion, that is when they launched

    14     their giveaway of the patented features to disrupt the

    15     market and to gain access to our customers.              And, Your

    16     Honor, they did so with the intent that they would stay this

    17     action, delaying resolution of our claims for many years

    18     and knowing that the delay would allow the giveaway and the

    19     infringing product time to take hold and destroy the market

    20     for the patented invention.

    21                     I would suggest to you the filing of the CBM

    22     review and the expressed intent to request stay of this

    23     litigation is calculated to allow the giveaway of the

    24     infringing product ample time to destroy the market and for

    25     them to get in and steal our customers.
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 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            7 of 425
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2415 #:
                                     6843                                       7


     1                     Now, when SecureBuy hatched this plan, Your Honor,

     2     it failed to consider an important thing.              What it failed to

     3     consider is the law does not allow this type of conduct during

     4     ongoing litigation.        Preliminary injunctions are available to

     5     preclude attempted circumvention of the District Court process.

     6     Specifically, they preclude upsetting the status quo in a way

     7     that would cause irreparable harm.

     8                     This next point, Your Honor, is very important.

     9     Those goes to SecureBuy's conduct.            In their brief, they

    10     talk about how their product has a number of features; and

    11     we see that discussed in Mr. Wooten's declaration.                And I

    12     know we have client representatives on the phone so I'm not

    13     going to mention anything that is confidential but I might

    14     just point to a few things in the public declaration.

    15                     This comes from paragraph 9 on page 3.            He

    16     points out that the accused products have real-time passive

    17     authentication.       That is one feature.

    18                     Another feature is client-controlled risk-based

    19     fraud scoring that interacts with a proprietary patent

    20     pending 3-D Secure decision engine, and it goes on.

    21                     A third feature is active authentication which

    22     deploys within the merchant shopping cart and checkout

    23     process without using popup windows or redirections.

    24                     A fourth feature is a patent-pending decision

    25     engine that alerts the merchant when the issuing bank may
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            8 of 426
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2416 #:
                                     6844                                       8


     1     not accept liability under the terms of the card.

     2                     There is more, Your Honor.         There are actually

     3     eight or nine features, some of which are patented, including

     4     patented biometric e-signatures and others which are not, the

     5     ones I mentioned and screen-scraping technology.

     6                     But the point is, Your Honor, there are a lot

     7     of features in this accused product.            They could have given

     8     away any one of those features if they wanted to make a

     9     splash; and you know what?          They didn't.     They didn't.      The

    10     feature they gave away was the patented feature -- the

    11     feature that Cardinal had patented, that Cardinal built a

    12     business on.      That's the only feature they choose to give

    13     away.

    14                     So I would suggest to you, Your Honor, that the

    15     giveaway was targeted directly at the patented product.                 It

    16     was targeted directly at the market for our patented product,

    17     and it was targeted directly to destroy that market.

    18                     SecureBuy is willing to cannibalize our market,

    19     the market that Cardinal created with its own technology,

    20     that it dedicated 12 years of time to develop, destroy that

    21     market for its own ends.

    22                     THE COURT:     All right.     Mr. Abate.

    23                     MR. ABATE:     I see this as a concerted --

    24                     THE COURT:     A couple more questions.

    25                     You have referenced the status quo.           Isn't the
Case
 Case1:22-cv-01377-MN-JLH
       1:13-cv-01792-LPS Document
                          Document5351-4
                                      FiledFiled
                                            03/04/14
                                                 02/10/23
                                                       Page
                                                          Page
                                                            9 of 427
                                                                 65 PageID
                                                                     of 507 PageID
                                                                            #: 2417 #:
                                     6845                                       9


     1     status quo that the two of you are competitors, apparently

     2     fierce competitors?        And shouldn't I allow that to continue?

     3                     MR. ABATE:     Your Honor, we're not against free

     4     and fair competition, but what I would suggest to you is

     5     they're misusing the process to launch this giveaway of the

     6     infringing feature.        They're misusing the process as indicated

     7     by their intent to move for a stay.            They're trying to delay

     8     the District Court process as long as possible and allow them

     9     ample time to get in and destroy the market by giving away the

    10     infringing feature.

    11                     What we're asking for in our motion is merely an

    12     injunction as to that infringing feature.              They can still

    13     sell the product with all the other infringing features, and

    14     that is free and fair competition.

    15                     THE COURT:     What if they were ordered to

    16     return to their prior strategy and charge for the accused

    17     infringing functionality?

    18                     MR. ABATE:     That is an interesting question.           I

    19     don't know how that would work in terms of, you know, the

    20     Department of Justice has regulations about competitors

    21     talking about pricing.         So I don't know how that would be

    22     monitored if they were to return to their prior level of

    23     pricing.

    24                     But I don't think it's workable as I work

    25     through it because I don't see how we could monitor what
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          10 of428
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2418#:
                                    6846                                      10


     1     they are doing.      In other words, they may stop announcing it

     2     publicly, but what are their salesmen really doing in the

     3     field?    There is no way to monitor that, Your Honor.             So I

     4     would suggest to you that while a creative solution, I don't

     5     think it's workable in this situation.

     6                    I think the workable solution is what we asked

     7     for, which is either enjoining as to the infringing feature

     8     or an expedited trial to resolve this quickly before the

     9     giveaway pricing takes hold.

    10                    THE COURT:     And you have made numerous

    11     references in the papers and today already to your client

    12     being the pioneer in this field and having created the

    13     market.    Do I have evidence of that in the record to this

    14     point other than the fact that you own these patents?

    15                    MR. ABATE:     I think it's in the record.        I mean

    16     it's in the declaration of Mr. Keresman and also that we own

    17     these patents.      This particular field, this focused area of

    18     the invention in the patents is the thing we're saying we

    19     pioneered.

    20                    THE COURT:     All right.     Before you get into the

    21     merits, and I'm only going to have you get into the merits

    22     just briefly, but talk to me a little bit about whether you

    23     met and conferred at all prior to filing this motion.

    24                    You have seen that there was a reference that

    25     you violated our Local Rule 7.1.1, and it seems from the
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          11 of429
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2419#:
                                    6847                                      11


     1     response that you acknowledge you violated it but want

     2     me just to sort of not pay attention to that.             Help me

     3     understand what really happened and why I shouldn't be

     4     concerned that this emergency motion was sort of dropped on

     5     us perhaps without any effort to work out a resolution.

     6                    MR. ABATE:     Well, Your Honor, we viewed the meet

     7     and confer as being it would have been futile to try to suggest

     8     to them that they would have to agree to an injunction while

     9     the litigation was ongoing.

    10                    And you see, Your Honor, in the opposition we're

    11     faced with an allegation that we waited too long and there

    12     should be laches applied.        There was also something else

    13     bearing on our mind:       That we had to deal with pulling this

    14     together through the holidays and, you know, get an expert

    15     onboard and things like that, and we were trying to get it

    16     on file as soon as we could so that the Court would be able

    17     to consider it.

    18                    THE COURT:     All right.     And what about this

    19     action they also filed in Mississippi?           How should, if at

    20     all, that affect the analysis I have to undertake?

    21                    MR. ABATE:     I think it has no affect at all.

    22     The Mississippi case, we filed the motion to dismiss for

    23     lack of personal jurisdiction, but there is also a second

    24     basis of that motion which is improper claim splitting

    25     that they filed in both courts, both in Delaware and in
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          12 of430
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2420#:
                                    6848                                      12


     1     Mississippi.     The cases were filed on the same day.           We have

     2     consented to jurisdiction in Delaware, and we believe the

     3     case should go forward in Delaware.           The case is now moving

     4     forward in Delaware; and the Mississippi case is bogged down

     5     in some motions and it is really not going forward.

     6                    But I think it has no impact.         We believe our

     7     motion to dismiss will be granted and we will move forward

     8     with the case in Delaware.

     9                    THE COURT:     So I'll give you a couple of

    10     minutes to talk about the merits.          But start, if you would,

    11     on validity.     And do you accept that as part of your showing

    12     of likelihood of success on the merits, you have to persuade

    13     me that all of the validity challenges lack substantial merit?

    14                    MR. ABATE:     Yes, we would agree that that is the

    15     standard.     We have to show that they lacked merit, and we

    16     believe we have.

    17                    There are seven different bases of invalidity

    18     that are alleged.       Five of them were asserted in the CBM

    19     petitions, and there were two that were asserted for the

    20     first time in the opposition of the preliminary injunction.

    21                    I think the fact that SecureBuy didn't feel it

    22     necessary to add two bases speaks volumes.            It shows a lack

    23     of confidence in the basis they originally set forth in the

    24     CBM petition.

    25                    There is no reference, Your Honor, and no
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          13 of431
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2421#:
                                    6849                                      13


     1     combination of references that disclose all of the elements

     2     in the patent.      What SecureBuy is doing is using the

     3     teachings of the patent as a roadmap to pick and choose and,

     4     in fact, restructure the elements in the prior art and

     5     change them around to allegedly arrive at the claimed

     6     invention; and the Federal Circuit said that is hindsight

     7     and that is not an appropriate analysis for obviousness.

     8                    I would point out that the two new bases for

     9     invalidity that are being alleged now rely on references

    10     that are not prior art at all.          The one allegation depends

    11     on the '429 patent not being entitled to its effective

    12     filing date; and I think we have shown in our reply that

    13     they were mistaken.       That it does, in fact, teach both

    14     credit and debit card and other types of transactions.               It

    15     uses credit and debit cards as examples of the '002 -- I'm

    16     sorry.    The '002 patent is the one that we're looking at

    17     for the disclosure, and it shows that the '429 is entitled

    18     to that filing date of the '002; in fact, of the provisional

    19     application, going all the way back to provisional.

    20                    But the other basis for the allegation, the new

    21     basis for invalidity that alleged based on this Raja Sacarin

    22     (phonetic) reference also turns out in looking at that a

    23     little bit more, we realize Raja Sacarin is not prior art

    24     because it's not entitled to its provisional date.

    25                    The teachings that SecureBuy relies on in that
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          14 of432
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2422#:
                                    6850                                      14


     1     reference are not disclosed in its provisional patent

     2     application.     So when they say it's prior art based on its

     3     provisional application, they didn't give Your Honor the

     4     provisionals, but when we looked at those we realized there

     5     was no disclosure of the prior art.

     6                    You know, I would like to address -- that was

     7     sort of an overview and I would like to address some of the

     8     invalidity allegations in some detail.           Your Honor, are

     9     there any particular ones you are most focused on or would

    10     you like me to address each one in turn?

    11                    THE COURT:     I will give you a couple minutes.

    12     You can run through them.        I read what you put in the

    13     letter, of course, and I have looked at the CBM petition.

    14     You don't have an expert to support you so I think it's a

    15     pretty uphill battle to persuade me at this point on this

    16     record that all seven of them lack substantial merit.               But

    17     if you have something to add in addition to what you put in

    18     writing, go ahead.

    19                    MR. ABATE:     Well, Your Honor, let me start with

    20     the Weller reference.       The Weller reference, it just doesn't

    21     disclose all of the elements of the claim.            They argue that

    22     is anticipation, and it doesn't have all the elements of the

    23     claim so it's not an anticipation.          It's as simple as that.

    24     They essentially admit this when they rely on inherency.

    25                    This patent was also art of record before the
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          15 of433
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2423#:
                                    6851                                      15


     1     Patent Office.      That makes proving invalidity more difficult.

     2     In fact, it's similar to what is disclosed in the background

     3     of the patent.      It requires merchants to install plug-in

     4     software in their payment processing system.

     5                    This is shown in the patent at Figure 1.            If you

     6     look at Figure 1 of Weller, on the right-hand side, you see

     7     there is an identification of a merchant and merchant

     8     plug-in software.       So this is really very similar to what we

     9     have -- I'm sorry.       Did I say ...     I'm looking to see which.

    10     Oh, yes.    I'm sorry.     It is Figure 1.

    11                    Yes.    Figure 1, the merchant is No. 132 and the

    12     merchant plug-in software is 134.          And this is very similar

    13     to what we see in the background of the invention, that

    14     there is a merchant that has plug-in software that is loaded

    15     locally.    So it does not have the claim element that you

    16     need a server, a third-party server, which is the server

    17     receiving payment information and determining and selecting

    18     among authentication protocols.

    19                    This patent also, Weller, does not disclose a

    20     plurality of authentication protocols.           There is a merchant

    21     with a plug-in.       It's one protocol that is being used.          So

    22     Weller doesn't anticipate.

    23                    Now, if we go to Swain, the next argument they

    24     make is Weller in combination with Swain.            And I can just

    25     spend a minute on this.        So Swain discloses a virtual wallet.
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          16 of434
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2424#:
                                    6852                                      16


     1     And what this is, Your Honor, by analogy to something you

     2     may have done in your own life, you may -- you know, if you

     3     are buying something on a website, for example, Amazon, you

     4     might register with Amazon, put your personal information,

     5     your address, your name, your credit card information, to

     6     become a registered user.        That information is then stored

     7     on the Amazon server, and you can purchase from Amazon

     8     without having to reenter that information every time you

     9     want to make a purchase.

    10                    So Swain, you can consider that, what I just

    11     described with Amazon, you can think of that as an Amazon

    12     specific wallet.      So what Swain is describing is a virtual

    13     wallet that is not specific to any one merchant.              It would

    14     be stored up in the cloud, and it would be available for use

    15     with many merchants.       You would have your information stored

    16     in the virtual wallet, your personal information, your

    17     credit cards, and that can be used with various merchants.

    18                    So if you combine the Weller reference with the

    19     Swain reference, you don't get the patented invention.               What

    20     you would end up with is the Weller system for consumer

    21     authentication using one merchant plug-in stored on the

    22     merchant server in conjunction with a Swain wallet for

    23     allowing a customer to make purchases using a virtual wallet.

    24                    What SecureBuy is saying is someone would be

    25     motivated to really tear this apart, not pick and choose but
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          17 of435
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2425#:
                                    6853                                      17


     1     actually tear it apart and take all of the wallet

     2     functionality out of Swain and somehow reconstruct it such

     3     that you would have the patented invention.            And what

     4     they're doing is using the '429 disclosure to pick, choose,

     5     and reconstruct the prior art to get to where they want to

     6     be, which is to say that the patent is invalid as obvious.

     7                    The next combination they make suffers from the

     8     same problem.      It's the background of the '429 background in

     9     view of the K reference.        It's the same thing.       We have the

    10     background of the patent; and the K reference, again, has

    11     nothing to do with authentication.          It's a front-end proxy

    12     server, and it serves as a single entry point to a website.

    13     It sits between a consumer and a merchant, and it

    14     facilitates access to content on the website.

    15                    THE COURT:     All right.     What about --

    16                    MR. ABATE:     Yes.

    17                    THE COURT:     That is good.     I have heard a lot,

    18     plenty at this point on obviousness.           Talk briefly about the

    19     101 challenge.

    20                    MR. ABATE:     Okay.    Well, I'm turning to that.           K

    21     is the same thing as Weller.          You can't put it together.       It

    22     doesn't get you there.        Same argument, just slightly

    23     different teachings.

    24                    Okay.    101, there is nothing abstract about

    25     our claimed invention.        It specifically recites parties
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          18 of436
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2426#:
                                    6854                                      18


     1     communicating over a network with a server of a third party

     2     that determines, based on payment information, which of a

     3     plurality of authentication protocols to use for processing

     4     a transaction, and then facilitates authentication of the

     5     consumer by the issuing bank or service organization.               The

     6     claims are very specific in that regard.

     7                    I mentioned in our paper that there was a similar

     8     challenge raised in Australia that was rejected by the

     9     Australian court.       I understand, Your Honor, the laws differ

    10     and the claims are slightly different there, but the rationale

    11     is very similar to our case law.          The Australian Patent Office

    12     talked about the functionality and juxtaposition of tangible

    13     network features.       That is what it saw in the claim; and the

    14     Federal Circuit cases have recognized that.

    15                    I would also point out that if you start with

    16     the background of the invention, you see that we're talking

    17     about a very technical problem.          The problem is, the problem

    18     the inventors were facing was that merchants were typically

    19     required to install software in their payment processing

    20     system related to each different payment brand, and this was

    21     very onerous.      It was onerous in terms of maintenance, and

    22     it was onerous in terms of the storage and the processing

    23     power needed to run those systems.

    24                    And then the patent discloses a very technical

    25     solution to that problem.        It says that these problems are
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          19 of437
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2427#:
                                    6855                                      19


     1     overcome by using the central processing system that stores

     2     all the authentication plug-in centrally away from the

     3     merchant and allows the merchants to process payment with a

     4     single implementation regardless of the payment brand.

     5                    Then the claim tracks that.         I have sort of

     6     summarized the claim, but it tracks that:            receiving,

     7     determining, selecting.        Those various steps are all being

     8     used by the central processing system.           It has software

     9     layers for doing these various steps to facilitate the

    10     authentication of the transaction.

    11                    This can be distinguished from the cases where

    12     the Federal Circuit and the Patent Office have found in some

    13     cases the patent is invalid under Section 101.             So, for

    14     example, a very recent case, just last month, the Federal

    15     Circuit invalidated the patent under Section 101 where the

    16     patent was related to a method for guiding selection of a

    17     treatment regimen for a patient with a known disease.                And

    18     the claim referred to use of the computer to gather

    19     information and to take the patient's data and do certain

    20     searching and exit databases, but nonetheless the patent was

    21     held invalid because the Court said it was directed to the

    22     abstract idea of a series of mental steps that are routinely

    23     done by doctors.

    24                    Well, that is just not the case here.           Our

    25     system is capable of serving billions of customers with, you
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          20 of438
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2428#:
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     1     know, trying to make purchases from millions of merchants

     2     involving thousands of issuing banks in a relatively

     3     seamless way, and it includes a server involved in that,

     4     and the server specifically forwards and routes messages

     5     according to authentication protocol through the computer

     6     network.    This is not a method that can be done with the pen

     7     and paper.

     8                    Your Honor, just by way of reference, our

     9     commercial product has six million lines of code.              So this

    10     is really very different from the cases that where Section

    11     101 has been applied.       This is a very technical problem, a

    12     technical solution, and the claim very specifically identifies

    13     what we're covering.       There is no ambiguity there.

    14                    THE COURT:     All right.     Let me --

    15                    MR. ABATE:     And the server is in fact -- one

    16     last thing.     I'm sorry, Your Honor.

    17                    The server is integral and necessary to that

    18     process because the education protocol as taught in the spec

    19     requires formatting and routing messages, and that involves

    20     putting headers on messages, arranging the bits in a certain

    21     way.    This is a process where the computer is integral.

    22     It's not something that can be done with a pen and paper.

    23                    THE COURT:     All right.     Let me ask you two other

    24     questions, and then I want to hear from the plaintiff.

    25                    MR. ABATE:     Sure.
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          21 of439
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2429#:
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     1                    THE COURT:     On irreparable harm, there is some

     2     back and forth about possible licensing efforts.              I want

     3     to better understand what was going on there and why that

     4     effort, whatever it was, doesn't suggest that there will be

     5     a way, at the end of the day, to quantify whatever harm

     6     there may be to your client between now and whenever this

     7     case would go to trial.

     8                    MR. ABATE:     Sure.   Your Honor, the first thing

     9     is we never licensed the patent; and the offer, it wasn't

    10     an offer to license the patent.          What it was, was an offer

    11     to settle the case based on SecureBuy using our system.                In

    12     other words, we would sort of -- see, we're an OEM in a

    13     sense.     We're going to be running our -- they're going to

    14     be using our system.       They're going to be directing their

    15     customers to our system.        So the settlement is no in no way

    16     a value of the patent; and that is because of the way the

    17     deal was structured.       SecureBuy was using and paying for our

    18     service.

    19                    So the critical thing here, Your Honor, is we

    20     would be able to maintain our goodwill with our customers.

    21     We would be able to maintain our reputation as a market

    22     leader.    We would be able to maintain our market share.              And

    23     these are all the types of things that the Federal Circuit

    24     and the District of Delaware have recognized in numerous

    25     cases as being appropriate bases for granting a P.I.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          22 of440
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2430#:
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     1                    You know, like in the Bendix case, for example,

     2     the Court talked about the infringer and the patentee being

     3     direct competitors.

     4                    In the Martek Biosciences, the infringer was

     5     targeting the patentee's customers.           That is exactly what

     6     SecureBuy is doing here.        That case also talked about

     7     likelihood of losing market share that you may not be able

     8     to recapture.      These are the types of harms that are

     9     irreparable.

    10                    The Novozymes case in this district also talked

    11     the patent, the right to exclude in the patent cannot be

    12     equated with monetary damages.          Here, the irreparable harm

    13     is flowing from their attempts to usurp our pioneering

    14     position in the market and our goodwill with customers.

    15                    When there is potential for loss of market share

    16     and loss of goodwill, again, that has been recognized in a

    17     number of cases as irreparable harm.           That is what we're

    18     dealing with here.

    19                    They specifically went to this -- you know, I

    20     call it pricing but they are giving the product away.               They

    21     emphasize this was very dramatic, the dramatic nature of

    22     this.    They would lose millions as a result of this

    23     giveaway.     They say, no, we're not simply giving this away,

    24     we're using this as an opportunity to gain exposure for our

    25     other technology to Cardinal's customers.            And they noted
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          23 of441
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2431#:
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     1     specifically the cost of client acquisition is extremely

     2     expensive and the giveaway would be a good mechanism to gain

     3     an audience with merchants and expose them to SecureBuy's

     4     other technology.

     5                    Your Honor, they're attempting to destroy our

     6     market.    And as I said at the outset, there are a lot of

     7     features in their product they could have given away.               They

     8     gave away our feature, our patented feature.             They are

     9     trying to destroy our market to get in front of our

    10     customers, to monetize our invention, and those are

    11     irreparable harms that are recognized.

    12                    THE COURT:     All right.     One more question for

    13     you at this point.       As I consider whether to expedite the

    14     trial, your request for alternative relief, I think a big

    15     concern I have is that we might end up wasting the parties'

    16     time and money as well as the Court's if the CBM petition

    17     is granted.     And if potentially, for instance, you end up

    18     amending the claims, it seems foreseeable these things may

    19     happen, and we may find ourselves going to trial or on the

    20     eve of trial on claims that don't exist any longer in the

    21     form that they exist now.        Help me see if I can be more

    22     comfortable with that.

    23                    MR. ABATE:     I'm glad you raised that because I

    24     noticed, in re-reading the briefing, I noticed that was one

    25     thing we didn't answer.        We will not be amending the claims;
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          24 of442
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2432#:
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     1     and I can say that with certainty.          And the reason why is

     2     we have pending applications before the Office in the same

     3     family.    We will keep the claims in the three patents

     4     exactly as they are.       And if we feel the need to make

     5     amendments, we will do it in the pending applications, not

     6     in these applications.        So there will be no amendment of

     7     these claims.      We are not going to get to the situation you

     8     described where on the eve of trial, the claims have been

     9     changed.    That is not going to happen.

    10                    I think with respect to the CBM, we're fairly

    11     confident -- we're very confident that the CBM will not be

    12     granted.    I think it's pretty clear, as I was saying

    13     earlier, that they are picking and choosing.             They don't

    14     have anticipation.       The Section 101 cases are very different

    15     than this type of case.        The obviousness challenges are

    16     very weak in that they reconstruct the prior art, pull out

    17     different features, really destroy the references and put

    18     them back together to say that the claims are invalid as

    19     obvious; and they don't show any motivation for doing that.

    20                    If you look at the expert declaration, it's

    21     extremely thin.      It just doesn't have the -- they just

    22     don't have it to show the patents are invalid.             We are very

    23     confident that we will do well in the CBM process, but I

    24     think that, you know, the critical thing here from our

    25     standpoint is the irreparable harm that is going to result.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
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                                               02/10/23
                                                     PagePage
                                                          25 of443
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2433#:
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     1     We think that they shouldn't be allowed fo use the CBM

     2     process in conjunction with this calculated plan that they

     3     have, Your Honor.

     4                    I would suggest to you that they filed the

     5     complaint on November 1st, they filed the CBMs on

     6     November 15th, and they announced in their press release on

     7     November 19th that they're giving this product away.               And

     8     I would suggest to you that that was not by happenstance.

     9     That is a calculated effort to get into the market in an

    10     unfair way, to use the process to give them a long runway

    11     to destroy our market.        That is why we're here for the

    12     preliminary injunction.

    13                    THE COURT:     All right.

    14                    MR. ABATE:     And --

    15                    THE COURT:     Mr. Abate, I have let you go on for

    16     quite awhile, and you will have a chance for rebuttal; but

    17     let me hear now from Mr. Tollefson, please.

    18                    Go ahead.

    19                    MR. TOLLEFSON:      Thank you, Your Honor.

    20                    Before I get into the things that I had planned

    21     on saying, I would just like to point out that Mr. Abate

    22     made an interesting concession there at the end of his time.

    23     He states that they have no intention to amend any claims

    24     during the CBM process.

    25                    Now, their motion is entirely based on a single
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
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                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          26 of444
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2434#:
                                    6862                                      26


     1     claim from a single one of patents.           It happens to be the

     2     broadest claim that they could be asserting, or at least

     3     that is how I understand it.         So based on this concession,

     4     the way I see it is there is an extremely high likelihood

     5     that claim 1 of the '849 patent will be disclaimed through

     6     the CBM process in lieu of patents not in suit and patents

     7     not material to this motion.         So I think that concession I

     8     think is informative that this particular motion is not

     9     soundly based on the merits.

    10                    Now, the law on preliminary injunction and

    11     expedited trial overlaps, as I'm sure the Court is aware.

    12     That they both require equitable harm and the showing of a

    13     likelihood of success on the merits, although the amount of

    14     showing might be different.         If we look at the Court of

    15     Chancery cases, they're very instructive on the matter.

    16                    Since Cardinal failed to show both, this Court

    17     should deny the motion in its entirety and grant neither

    18     relief sought.

    19                    First, as the Court already noted today,

    20     SecureBuy, although it publicly announced on November 19th

    21     its new marketing initiative and Cardinal found out no later

    22     than November 20th, they waited nearly two months to file

    23     their motion and made no attempt to explain its delay other

    24     than a mention of the holidays.          I guess they were fearful

    25     meeting and conferring with SecureBuy's counsel would cause
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                               02/10/23
                                                     PagePage
                                                          27 of445
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2435#:
                                    6863                                      27


     1     even more delay.

     2                    THE COURT:     Well, let me stop you there,

     3     Mr. Tollefson.      Because I think you say in the letter it's a

     4     five week delay, and I imagine there are circumstances and

     5     you point to a Chancery case where maybe something on the

     6     order of five weeks could give rise to laches, but you don't

     7     make any argument that I see as to how five weeks could be a

     8     basis for laches such that I should deny this motion.               So

     9     help me understand if that is really one of the arguments

    10     you are pressing.

    11                    MR. TOLLEFSON:      Well, if my papers said that it

    12     was only five weeks, then maybe my math was incorrect or

    13     there was a typo because November 20th to I believe the

    14     motion was filed on January 28th, so that is more than five

    15     weeks.    But, regardless, five weeks is enough time to

    16     cause prejudice, so there is prejudice to our client.

    17                    As represented and testified to in the papers,

    18     this plan has been in the works far before Cardinal even

    19     approached SecureBuy.       And they have been marketing, they

    20     have been making marketing efforts, and if now there was an

    21     injunction against providing the SecureBuy 3-D Secure MPI,

    22     that would essentially gut their only product which is the

    23     SecureBuy 2.0 platform.        It would also destroy any credibility

    24     that they have.      So there will be significant prejudice to

    25     SecureBuy.     That is enough to merit denying the motion based
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                               02/10/23
                                                     PagePage
                                                          28 of446
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2436#:
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     1     on the delay.

     2                    THE COURT:     All right.     You can move on.

     3                    MR. TOLLEFSON:      Thank you.    An understanding

     4     of the technology will probably make it a little easier to

     5     understand the allegations here.

     6                    Now, Cardinal talked about our product having a

     7     number of different features and that we could have given

     8     away any number of those features.          The fact is that the MPI

     9     is a very small part of the product.           It's a small piece of

    10     code, and it doesn't correlate to Cardinal's product which

    11     is called Sentinel.       What Mr. Keresman testified is that the

    12     Cardinal Sentinel product amounts of upwards of 75 percent

    13     of their business; and I think the suggestion there is that

    14     we're going to be cutting into a significant part of their

    15     business, but that is just not the case at all.

    16                    The 3-D Secure MPI is a very finite feature that

    17     relates to a very specific type of processing that occurs.

    18     It's not just any merchant plug-in.           It doesn't process every

    19     kind of authentication protocol that exists.             It processes

    20     very, very specific narrow types of payments, and what is

    21     called Active 3-D authentication.

    22                    What that is, is if you log into the website

    23     to make a purchase, maybe Valentine's Day is coming up

    24     and you want to buy flowers.         You put in your credit card

    25     information and you hit go, and then it says a transaction
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      1:13-cv-01792-LPS Document
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                                               02/10/23
                                                     PagePage
                                                          29 of447
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2437#:
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     1     has been authorized and you get a receipt sent to your

     2     e-mail.    That is not a 3-D Secure transaction.           So those

     3     sorts of transactions are not in jeopardy based on the

     4     provision of this 3-D Secure MPI by SecureBuy.             That is not

     5     what this case is about.

     6                    This is a very, very narrow piece of code that

     7     only relates to high risk transactions.            What it does is it

     8     invokes a protocol which is called 3-D Secure, and it requires

     9     the customer to take additional steps to authenticate him or

    10     herself.    For example, with MasterCard, their 3-D Secure

    11     initiative requires that the MasterCard holder, in addition to

    12     putting all their information in, they will get a popup and

    13     then they will have to put in a password.

    14                    Now, most people on this phone call probably

    15     haven't been exposed to that because the vast majority of

    16     transactions that occur on the Internet are not authenticated

    17     via 3-D Secure.      So what we're talking about is a provision

    18     of a product by our client that doesn't cause any risk to

    19     think they're going to lose any of their business.              It

    20     doesn't cause any risk they're going to destroy the market.

    21     We're talking a very, very finite product that only relates

    22     to, say, somewhere around 10 percent of the transactions

    23     that Cardinal processes.

    24                    The evidence that was put forth upon which

    25     Cardinal's motion was based fails to draw the connection
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      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          30 of448
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2438#:
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     1     between the revenue brought in by a similar product or

     2     the transactions made to the actual product that they're

     3     accusing.     So I think it's really important to understand

     4     we're talking about a patent, one patent claim that covers

     5     all kinds of authentication, and they're accusing a single

     6     product which is a really, really small piece and only

     7     relates to a very small percentage of Cardinal's business.

     8                    THE COURT:     Is the accused functionality,

     9     Mr. Tollefson, one that your client could technologically

    10     disable?

    11                    MR. TOLLEFSON:      Well, could?     Technologically,

    12     it could.     It would essentially gut their product.           This

    13     particular piece of code is embedded in their product offering

    14     and it would make their product offering incomplete.

    15                    THE COURT:     So help me understand how it would gut

    16     the product if it's only one of a number of functionalities

    17     and it only gets implicated in a small number of transactions

    18     in the market.

    19                    MR. TOLLEFSON:      Okay.   So the SecureBuy 2.0

    20     product is a comprehensive fraud protection product which

    21     provides a number of features to merchants.            And so like as

    22     an example, it may provide things like risk assessment which

    23     has nothing to do with the patent.          So risk assessment may

    24     be, for example, looking at the location of the computer

    25     that is making the purchase request and doing some sort of
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      1:13-cv-01792-LPS Document
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                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          31 of449
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2439#:
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     1     risk assessment there and then providing maybe some sort of

     2     deliverable to the merchant along with other information or

     3     may even -- I don't want to get too far into it because

     4     there are some proprietary technology that is confidential

     5     to SecureBuy.

     6                    The MPI is not what sells the products.           What

     7     sells these products, CardinalCommerce, it has all kinds of

     8     features, none of which have to do with the patent claim,

     9     claim 1 of the '429 patent.         There are all these additional

    10     features like latency detection and -- I'm sorry.              I'm

    11     looking for my piece of paper -- DCS compliance, system

    12     monitoring, device compatibility, latency monitoring and all

    13     kinds of other features that Cardinal counts are important,

    14     in fact, critical qualities to its product, and the SecureBuy

    15     system is sort of the same way.          It has all these other

    16     features.

    17                    SecureBuy is marketing itself as being focused

    18     on fraud protection and trying to protect the merchant in

    19     that way.     So the MPI is important to its product because it

    20     invokes this 3-D Secure process which is really important

    21     for high risk transactions.         So while the MPI is a little

    22     piece, it is sort of an important piece and all the code for

    23     the 2.0 system is especially tailored to work with our MPI.

    24     So if you ripped that out, it's not like we could plug in

    25     someone else's MPI and just make it work.
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 Case1:22-cv-01377-MN-JLH
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                                               02/10/23
                                                     PagePage
                                                          32 of450
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2440#:
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     1                    THE COURT:     All right.     Tell me a little bit

     2     more about the marketplace because another seeming tension

     3     I have had trouble understanding is that evidently the

     4     giveaway was announced with much fanfare and was touted by

     5     your client as being somewhat revolutionary, but on the

     6     other hand, you seem be arguing there are lots and lots of

     7     competitors in this market and you are not doing something

     8     much different than other folks already in the market.               I'm

     9     having trouble understanding exactly what is going on there.

    10                    MR. TOLLEFSON:      Right.    I understand.     So

    11     SecureBuy is a very small company, and it is using a developed

    12     marketing plan in order to try to, as they say, board more

    13     clients.

    14                    There are other companies out there that provide

    15     MPIs.    There are other companies out there that provide

    16     comprehensive systems.        Cardinal is not the only company that

    17     does it.    There are hundreds of companies that are -- maybe

    18     100 plus companies that offer these sort of products and offer

    19     an MPI, which is a merchant plug-in; and Cardinal does not

    20     claim to have invented the merchant plug-in, as Mr. Abate

    21     explained.     Their patent and the claim at issue here is about

    22     putting that merchant plug-in on a third-party server so that

    23     multiple merchants can access it.

    24                    There are lots of competitors in the marketplace.

    25     Most companies in the marketplace charge per transaction for
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                                               02/10/23
                                                     PagePage
                                                          33 of451
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2441#:
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     1     use of their systems.       It is my understanding that Cardinal

     2     does the same.      So I'm not really sure how our giveaway of the

     3     MPI will destroy the market because these products are being

     4     driven by the comprehensive solutions that are provided.

     5                    SecureBuy's marketing plan involves a process to

     6     merchants that they can use the merchant plug-in any way

     7     they want as long as they comply with the card association

     8     rules, but we do that because, as we tout in fact in the

     9     press releases that Cardinal cite to, we explain that the

    10     3-D Secure MPI is an important piece to a comprehensive

    11     solution.

    12                    If you refer to the e-mail that they claim as

    13     providing a basis for their allegation that we're targeting

    14     their customers, you note that they say that SecureBuy, I'm

    15     paraphrasing, is telling them that they do the same and more

    16     for less.     But that's not a reference solely to the MPI.            I

    17     mean what SecureBuy wants to do is sell.            It's not in the

    18     business to not make money.         It wants to sell its comprehensive

    19     product which includes the MPI.

    20                    So this is really a marketing strategy.           As is

    21     well known in the industry, in the software industry, it's

    22     a loss leader.      You take some of your software, you give it

    23     away with the hopes to sell other products and services.

    24     And that is certainly the case here.

    25                    Now, I should point out that Cardinal has made
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 Case1:22-cv-01377-MN-JLH
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                                               02/10/23
                                                     PagePage
                                                          34 of452
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2442#:
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     1     no effort to explain how they believe that giving away the

     2     MPI per se infringes their patent claim.            So they have

     3     charted some process from our developer's guide, but in fact

     4     the press release that Cardinal relies on states that the

     5     merchants can use the MPI in a way they want; and Cardinal,

     6     of course, would never take the position that if the MPI is

     7     on the merchant website, that that is infringing.              I don't

     8     think they can take that position.          I just want to point out

     9     that Cardinal has failed to make any attempt to show that

    10     giving away the MPI itself is an act of infringement.

    11                    Now, also, since Cardinal fails to make a

    12     connection between what the MPI does, and like how many

    13     transactions it would lose through our MPI, which only does

    14     a small percentage of the overall type of transactions that

    15     Cardinal handles, the type of harm that they're suggesting

    16     might occur is speculative.         Although it's speculative, it's

    17     completely calculable.

    18                    If it's okay with, Your Honor, I would like to

    19     move on to the license issue.

    20                    THE COURT:     Sure.

    21                    MR. TOLLEFSON:      So Cardinal states it never

    22     licensed the '429 patent.        That is a tough representation to

    23     understand.     Certainly, they tout how many merchants they

    24     process and how many partners that they have.

    25                    I'm not going to get into too many details over
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          35 of453
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2443#:
                                    6871                                      35


     1     the business proposal that was provided because there is a

     2     dispute in the Mississippi action over the submission of the

     3     business proposal.       The business proposal was not an offer

     4     to settle the litigation.        The litigation didn't exist when

     5     the business proposal was first made.

     6                    The bottom line, as we understand it, they

     7     charge, Cardinal charges people per transaction for the use

     8     of their system which they claim is covered by the patent.

     9     And so whether they say that they don't license the '429

    10     patent, it's really irrelevant because it's legally

    11     economically the same thing as giving a license.

    12                    The law on implied license goes back well into the

    13     1800s.     It's bedrock that if you make a sale of a patented

    14     product where you allow someone to use your patented product,

    15     that there is an implied license to the patent that transfers

    16     with that use or that sale.         So it's really no issue that they

    17     claim that they have never patented -- excuse me, they never

    18     licensed the '429 patent because their customers don't have a

    19     piece of paper that says they have a license.

    20                    The bottom line is that any harm can be tracked

    21     and can be calculated because there are lots of companies

    22     out there that charge per transaction, and Cardinal is one

    23     of them.    So the idea that this is irreparable harm is

    24     baffling to me.      It's not a pharmaceutical case where there

    25     are lots of expert testimony and case law on the submission
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      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          36 of454
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2444#:
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     1     of a generic drug into the market.          This is sort of a garden

     2     variety technology case where all the information can be

     3     tracked and damages can easily be calculated.

     4                    So Cardinal makes the assertion also that it has

     5     no other products other than Sentinel and would not be able

     6     to cross-sell other products to its customers; and I think

     7     that point is misleading.        So since the accused product is

     8     just the -- the subject of the motion is just this very narrow

     9     MPI, it's going to have very little affect on Cardinal's

    10     overall marketing and overall product offering because it's

    11     really just a very, very tiny, tiny piece of its business.

    12                    As to validity, I don't think I need to get

    13     into the weeds on all the issues.          Obviousness is a mixed

    14     question of law and fact, and there is an ample amount of

    15     expert testimony in the record.

    16                    As to how one skilled in the art would view the

    17     references, the expert testimony speaks for itself.              It is

    18     uncontroverted and Cardinal offers nothing but attorney

    19     argument on those points.

    20                    I would like to address the priority issue which

    21     I think that Cardinal doesn't seem to take very seriously.

    22                    In the patent that is the subject of the motion,

    23     the '429 patent, there is so much new subject matter that

    24     it is hard to imagine that the priority challenge is not

    25     significant.     In fact, if one were to compare the summary of
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          37 of455
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2445#:
                                    6873                                      37


     1     the invention of the '429 patent to the summary of the

     2     invention of the '002 patent, over 75 percent of the words

     3     were changed.      These were not just insignificant words.

     4     These are actually very significant changes where the word

     5     "payment instrument" is broadened to mean payment option.

     6     There are listings of different kinds of payment networks.

     7                    This is all classic new matter, and the law is

     8     clear.    If the full scope of the claims are not supported in

     9     the priority document, then there is no entitlement to that

    10     date.    We believe that there is a very substantial challenge

    11     to the priority date of the '429 patent, thereby opening it

    12     up to other prior art, including the publication of its own

    13     patent application.       This is a critical error, and Cardinal

    14     has failed to rebut it.

    15                    THE COURT:     All right.     Now, I recognize,

    16     Mr. Tollefson, you ultimately hope that this case plays out

    17     in a way that your CBM petition is granted and you would

    18     ask the Court to stay this action.          I don't have any of that

    19     in front of me because, of course, those things haven't

    20     happened yet, but I think we all know, and I don't think you

    21     have denied it, that is what you hope is going to happen.

    22     So I'm thinking about the stay and how that might factor

    23     into the discretionary decisions I have to make now.

    24                    So thinking in that forward-looking way, why

    25     would I stay this case when you are both obviously vigorous
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          38 of456
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2446#:
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     1     competitors with one another?         This appears to be a market

     2     that is evolving and the technology might be evolving.               As

     3     you already alluded to, you have got various invalidity

     4     defenses that you have already come up with to this point in

     5     the case that aren't part of your CBM, meaning unless you

     6     prevail entirely in the CBM proceeding, I'm still going to

     7     have a case left at the end of that.

     8                    So, again, looking forward, recognizing you

     9     haven't yet asked me to stay the case, can you foresee how

    10     I would be persuaded under these circumstances ever to stay

    11     this case?

    12                    MR. TOLLEFSON:      Absolutely.     In fact, it would

    13     be hard for me to comprehend circumstances that would

    14     convince you not to stay the case.

    15                    First, I go to the actual intent and sort of back

    16     story.    It was always our intention to fight this where we

    17     think that the fight should occur, and that is the United

    18     States Patent and Trademark Office.           We think these patents

    19     are the classic patents that are covered by the American

    20     Invents Act.     These are bad Covered Business Method patents.

    21     Congress has made clear that it created this process specific-

    22     ally to address these sorts of patents.            And Congress has also

    23     made clear that it's nearly impossible to imagine a scenario

    24     where the District Court would not issue a stay in this

    25     situation.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          39 of457
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2447#:
                                    6875                                      39


     1                    Now, all the patent claims and all the patents

     2     are challenged in the CBM petitions.           There isn't a single

     3     case in which the Patent Trial and Appeal Board, we call it

     4     the PTAB, has failed to initiate a trial on a patent

     5     challenged under the Covered Business Method protocol.

     6                    There have been several petitions that have

     7     been -- denied is not the proper word.           A trial has not been

     8     instituted.     But most of those petitions involved a case

     9     where the parties settled the suit before -- settled the

    10     overall dispute and submitted a request to the PTAB to not

    11     institute a trial.

    12                    There were two petitions in the Apple Sight

    13     Sound case that were denied, but in that instance, Apple

    14     brought their grounds up in multiple petitions and the

    15     patents were put into review.         Trials were instituted on

    16     other grounds.

    17                    So in fact, there is 100 percent rate right now

    18     for Covered Business Method patent review as it relates to

    19     patents being challenged.

    20                    Now, as your Honor knows, there is a statute

    21     that lays out the factors.         It's a four factor test.        And

    22     Congress has said that there is a very heavy thumb on the

    23     scale in favor of a stay.

    24                    So the factors are:       potential to simplify the

    25     issues, stage of the proceedings, potential prejudice, and
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          40 of458
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2448#:
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     1     reduction of burden on the courts and the parties.

     2                    Here, all the claims are being challenged.            And

     3     you have the representation of Cardinal that they're not

     4     going to amend any of the claims.          So there is a near

     5     certainty that the issues are going to be reduced in the

     6     form of disclaimed claims, and a reduction in the number

     7     of claims at issue.

     8                    Now, the stage of the proceedings.          We filed the

     9     complaint in Delaware second after the Mississippi action and

    10     didn't serve either complaint because we wanted to discuss

    11     possible settlement and Cardinal, even though we hadn't served

    12     the complaint, answered in Delaware and not in Mississippi,

    13     obviously to try to secure Delaware as the forum, and then

    14     they have been the aggressor in the litigation.

    15                    We see this motion essentially for the expedited

    16     trial as an attempt to get this case moving, as Mr. Abate

    17     suggested, so that at the time that the petitions are

    18     granted, he will be able to say to Your Honor that this case

    19     is halfway to trial.

    20                    So if this case were to follow its sort of

    21     normal process, we wouldn't even be to a Rule 16 order yet.

    22     And if there was a Rule 16 order, if there were a Rule 16

    23     order, at that time it would have told Your Honor that there

    24     are CBM proceedings, that the petition should be acted on by

    25     the Patent Office in and around April and ask Your Honor's
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          41 of459
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2449#:
                                    6877                                      41


     1     advice as to whether you wanted us to file a formal motion

     2     or if you wanted to just extend the schedule out to see what

     3     happened.     So that is why we haven't filed the motion for

     4     stay yet.

     5                    But looking at the statute, there seems almost

     6     no reason not to stay this case.          And, in fact, I would like

     7     to reference Your Honor to a case, Chicago Board of Options

     8     Exchange v International Securities Exchange, Case No.

     9     13-cv-1339 in the Southern District of New York where a

    10     motion for stay was filed by defendants in that case.

    11                    The case was very far along.         The parties were

    12     direct competitors.       There was a very strong showing of

    13     infringement and of prejudice, but Judge Furman stayed the

    14     case anyway and the petitions had not even yet been granted.

    15     And what Judge Furman said is that he ruled that the Patent

    16     Trial and Appeals Board trial practice guide states that

    17     the proceedings begin with the filing of the petition.               He

    18     decided and held in that case that he needed to stay the

    19     case then based on the four factor test even though the

    20     petitions had not yet been decided because the statute says

    21     upon a proceeding.       It doesn't say upon the grant of a

    22     petition.

    23                    So in summary, the CBMs will narrow the issues

    24     for this Court.      I know that this Court is extremely

    25     burdened, and it will reduce the burden on the Court, it
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          42 of460
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2450#:
                                    6878                                      42


     1     will reduce the burden on the parties.

     2                    Also, Cardinal contends it is a small company.

     3     SecureBuy is an even smaller company.           And so the prejudice

     4     and the cost on the parties will be extremely significant to

     5     have to handle the three CBM proceedings and an expedited

     6     trial at the same time.

     7                    THE COURT:     All right.     So you sketched out

     8     what you think is their plan.         On the flip side to you, did

     9     you have to file the litigation here and in Mississippi?

    10     Couldn't you have just tried to proceed with the PTO?

    11                    MR. TOLLEFSON:      Could we have just filed the

    12     CBMs?    Yes, we could have, Your Honor.         We choose to file

    13     the District Court lawsuit first in order to sue.

    14                    THE COURT:     All right.     So if I go ahead and

    15     schedule a trial and do it on an expedited basis, wouldn't

    16     the prejudice to you be less than in the ordinary case not

    17     just because you choose to file a case here but because you

    18     have obviously done a lot of work that will help you get a

    19     big headstart in this case through the preparation of the

    20     CBM petition.      You have sketched out a whole lot of your

    21     invalidity defenses.       You have an expert.       You I think made

    22     some arguments about claim construction.

    23                    Help me understand why under those circumstances

    24     it would be prejudicial to you to have a trial something

    25     like six months from now.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
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                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          43 of461
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2451#:
                                    6879                                      43


     1                    MR. TOLLEFSON:      Well, first of all, we have

     2     already paid for the CBM proceedings, and the Patent Office

     3     is best suited to handle the validity issues in this case.

     4                    Second of all, it's going to be extremely,

     5     extremely expensive and burdensome to prepare a patent case

     6     for trial in six months.        And although we have prepared

     7     expert testimony in connection with the CBMs, we're talking

     8     about conducting a full patent case with three patents

     9     and discovery and all that.         It would just be extremely

    10     burdensome.

    11                    I submit to Your Honor that the marketing

    12     efforts by my client have absolutely nothing to do with

    13     Cardinal or this lawsuit.        We see no reason why this case

    14     should be handled any differently than any other declaratory

    15     judgment action.      It would be far less prejudicial on our

    16     client to handle the CBMs than to handle a full-blown

    17     District Court litigation in six months.

    18                    THE COURT:     One more thing, Mr. Tollefson.

    19     There is this back and forth in the most recent letters

    20     about the securebuycommerce.com domain, and reading between

    21     the line it appears that the facts that your client owned

    22     that domain name for some time but only just started using

    23     it maybe days ago but after the preliminary injunction

    24     motion was filed.

    25                    Do I understand the correctly?         And how, if at
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          44 of462
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2452#:
                                    6880                                      44


     1     all, does that fit into the analysis I have to undertake?

     2                    MR. TOLLEFSON:      No, Your Honor.      You do not

     3     understand the fact correctly.          That allegation was made out

     4     of hole cloth.      I don't understand where the allegation came

     5     from.    In fact, I can reference Your Honor to, for example,

     6     Exhibit D, which is part of Cardinal's own filing.              If you

     7     look at page 1 of Exhibit D, it says www.securebuycommerce.com.

     8                    I can reference you to other exhibits that

     9     CardinalCommerce had in their possession that reference

    10     www.securebuycommerce.com.         This has been their website

    11     since April.     I have no idea where that allegation came

    12     from.    It was made out of hole cloth.         We have never owned

    13     securebuy.com.      And we didn't, after the preliminary

    14     injunction was filed, change this.

    15                    THE COURT:     Is there anything else from you,

    16     Mr. Tollefson?

    17                    MR. TOLLEFSON:      No, Your Honor.

    18                    THE COURT:     Back to you, Mr. Abate.

    19                    MR. ABATE:     Thank you, Your Honor.       So on the

    20     issue of the burden of hardship, I think Your Honor figured

    21     this out.     SecureBuy just can't have it both ways.           They are

    22     arguing the demand for the platform is coming from other

    23     features.     You know, that the accused portion is just this

    24     little itty-bitty piece, but then they also argue that if

    25     you were to take out that little itty-bitty piece, the
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          45 of463
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2453#:
                                    6881                                      45


     1     platform would be wholly anticompetitive.            They couldn't

     2     compete in the market.

     3                    Well, they just can't have it both ways.            Either

     4     the demand is coming from the other features, in which case

     5     they would not detrimentally impacted by the -- (beeping

     6     sound) -- to the patented feature.          Or -- I'm sorry.       I sort

     7     of beeped.     Did we lose anyone?

     8                    THE COURT:     I don't know.     Is Mr. Tollefson is

     9     still on?

    10                    MR. ABATE:     If you are still on, Your Honor, I

    11     can continue.

    12                    THE COURT:     I'm here.    How about the plaintiff?

    13     Are you still there?       Uh-oh.    Mr. Tollefson?

    14                    MR. TOLLEFSON:       No, I am, Your Honor.

    15                    THE COURT:     Oh, okay.    All right.     Go ahead.

    16                    MR. ABATE:     I just want to make sure everyone is

    17     still on.

    18                    So either this is, the other features drive

    19     demand, in which case removing this little portion which --

    20     (beeping sound) -- can be removed, you know, shouldn't have

    21     an impact on its ability to sell its other features or the

    22     entire platform would be uncompetitive without this feature.

    23     If that is the case --

    24                    RECORDED VOICE:      Joining the meeting.

    25                    MR. ABATE:     -- that shows a nexus of the relief
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          46 of464
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2454#:
                                    6882                                      46


     1     we're requesting --

     2                    THE COURT:     Hold on a second.

     3                    MR. ABATE:     -- to the infringement.

     4                    THE COURT:     Mr. Abate, I'm sorry.

     5                    Has somebody just joined us?

     6                    MS. KELLER:     I'm sorry, Your Honor.        It's Karen

     7     Keller.    My phone was disconnected, so I just dialled right

     8     back in.

     9                    THE COURT:     Mr. Tollefson, are you still there?

    10     Mr. Tollefson?      Mr. Tollefson, are you still there?

    11                    Mr. Keller, do you know if your co-counsel are

    12     still there?

    13                    MS. KELLER:     I'm going to check with them, Your

    14     Honor.     I don't know if something happened with the line or

    15     something else.      I'll check with them.

    16                    THE COURT:     All right.

    17                    MR. McMILLAN:     This is Mr. McMillan.        I'm still

    18     here, and I'm the one who initiated the call, so we do still

    19     have a conference line.

    20                    THE COURT:     Mr. Abate, you are still there;

    21     correct?

    22                    MR. ABATE:     Yes, I am.

    23                    THE COURT:     All right.     Just hold on until we

    24     find out where Mr. Tollefson is.

    25                    (Pause.)
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          47 of465
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2455#:
                                    6883                                      47


     1                    RECORDED VOICE:       Joining the meeting.

     2                    MR. TOLLEFSON:      Brian Tollefson for SecureBuy.

     3                    THE COURT:     All right.     So Mr. Tollefson.

     4                    MR. TOLLEFSON:      Sorry.    I was dropped off the

     5     line somehow.

     6                    THE COURT:     Ms. Keller, you are there?

     7                    MS. KELLER:     Yes, I am, Your Honor.        Thank you.

     8                    THE COURT:     Mr. Abate, you are still there?

     9                    MR. ABATE:     Yes.

    10                    THE COURT:     All right.     I think you probably

    11     ought to go back and repeat the best you can the point you

    12     were trying to make.       Go ahead.

    13                    MR. ABATE:     Yes.    The point is that they're

    14     taking just inconsistent positions.           They say that,

    15     SecureBuy is saying the majority of the demand is coming

    16     from other features, not the patented feature in the accused

    17     product.    They admitted that feature can be disabled.             It

    18     can be removed from the product.

    19                    If that is the case, if the majority of the

    20     demand is coming from those other features, then their

    21     business should not be impacted by an injunction that just

    22     goes to the patented feature, which is what we're asking

    23     for.

    24                    But then they also say that -- to the contrary,

    25     they say, well, it would render the whole platform
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          48 of466
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2456#:
                                    6884                                      48


     1     uncompetitive to take out that one feature.            Well, if that

     2     is the case, then certainly we have established a nexus

     3     between the infringement and the relief requested.              So

     4     they're taking sort of inconsistent positions there.

     5                    I would point out on the burden of harms, the

     6     harm we're talking about is the irreparable harm to

     7     CardinalCommerce that I mentioned earlier, the loss of

     8     market share, price erosion, reputational harm, loss of

     9     goodwill, loss of our position as a leader in the industry,

    10     that type of thing, recognized in the case if infringement

    11     continues.

    12                    On the other hand, the harm that is imposed by

    13     SecureBuy is a harm that is imposed as a matter of law.               The

    14     Federal Circuit has said that if you create a business out of

    15     an infringing product, you should not be heard to complain if

    16     you are forced to stop using that infringing product.

    17                    I would also point out that SecureBuy referenced

    18     the statements of Senator Schumer in the legislative history

    19     about the CBM process being designed to get these invalid

    20     patents off the record.

    21                    If you look at that statement, Your Honor, it is

    22     clearly directed to non-practicing entities that are not

    23     legitimate, he says the words "legitimate businesses."

    24     These are patents not being asserted by legitimate businesses.

    25                    Well, we're certainly a legitimate business.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          49 of467
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2457#:
                                    6885                                      49


     1     We're competitors in this industry.           So the comment that

     2     they rely on in the legislative history really just doesn't

     3     apply here.

     4                    Now, one other thing I want to talk about is on

     5     the issue of infringement.         If you look at their reply

     6     paper, Your Honor, nowhere in that paper will you see the

     7     words "SecureBuy does not infringe."           They haven't said

     8     that they do not infringe.         They have essentially admitted

     9     infringement.

    10                    They say that we haven't carried our burden

    11     because the way we tried to show infringement involves

    12     multiple parties.       But that is not the case.        You can look

    13     at the way we did the claim read.          It's all directed to the

    14     SecureBuy server and the interactions with that server.                But

    15     the point is they don't even dispute infringement.              They

    16     don't dispute it.

    17                    I would point out that the representation of the

    18     business is just incorrect.         We've said that 75 percent of

    19     Cardinal's business is Sentinel.          In fact, there is a

    20     greater of number of transactions than 75 percent that

    21     actually use 3-D Secure.        It's a much greater number of

    22     transactions.      I think SecureBuy said 10 to 15 percent of

    23     transactions or something.         That may be in their case but

    24     not in ours.

    25                    Just maybe a few other items I might like to
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          50 of468
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2458#:
                                    6886                                      50


     1     address.

     2                    You know, SecureBuy talked about the harm being

     3     calculable as damages.        It isn't, Your Honor.       It's a

     4     growing market.      It's really important to establish yourself

     5     in this developing market.         We, as referenced in one of the

     6     declarations, the Keresman declaration, we recently received

     7     an award from the Merchant Risk Trade Association which we

     8     mentioned had this annual meeting in March.            We received the

     9     award at last year's meeting, and this type of positioning

    10     that we have and the market that we built is not compensable

    11     in damages.

    12                    I really don't know what he is talking about

    13     when he referenced the idea of implied licenses.              We don't

    14     sell or license our patent to anyone.           We provide a service

    15     and people use that service.

    16                    That doesn't give them a license to develop a

    17     competing service.       They're paying for using the service.

    18     They're buying the service from us.           That is not licensing

    19     a patent or valuation of a patent.

    20                    I would like to turn to some of those stay

    21     factors that you mentioned also, Your Honor.

    22                    I think the most significant issue here that

    23     would prevent the stay is the specific factor about undue

    24     prejudice on the nonmoving party.          So in this situation, if

    25     we're talking about a stay, SecureBuy would be the moving
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          51 of469
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2459#:
                                    6887                                      51


     1     party, we would be the nonmoving party.            And we pointed

     2     to the irreparable harm being created here by their new

     3     giveaway of the infringing product, a giveaway that they

     4     implemented after starting a litigation, after the CBM was

     5     started.    They did this consciously knowing that we have a

     6     patent in this market and we believe they were infringing.

     7                    And one aspect of this undue prejudice to the

     8     moving party that is looked at, and this is recognized in

     9     the Market-Alerts case of Judge Sleet but other cases as

    10     well, is the relationship between the parties.             We're direct

    11     competitors.     And, specifically, we're not only direct

    12     competitors but they're trying to undermine our market with

    13     this giveaway of the infringing technology.

    14                    In Market-Alerts, the Court specifically stated

    15     they were reluctant to stay proceedings when the parties are

    16     direct competitors.

    17                    Also, there is an apprehension to, or there is

    18     a reluctance to grant stay when the consequences to the

    19     patentee might be outside, was the language used.              And that

    20     is exactly what we're talking about here.            They say outside

    21     consequences in terms of loss of market share and erosion of

    22     goodwill.     That is exactly what we're talking about here.

    23                    So that factor weighs very heavily in our favor

    24     against any stay.       Again, there is no stay motion pending,

    25     but we're looking down the road, so I wanted to mention
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          52 of470
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2460#:
                                    6888                                      52


     1     that.

     2                    I do believe that we're not talking about a

     3     significant reduction of burden on the parties and the Court

     4     because SecureBuy stated in its papers and here today that

     5     they're going to continue to contest invalidity on grounds

     6     that are not raised in the CBM.

     7                    There are lots of claims in that CBM.           I think

     8     it is very unlikely, it's tremendously unlikely that every

     9     claim is going to be invalidated.          In fact, when SecureBuy

    10     presented the statistics about what is going on in the

    11     Patent Office, they failed to mention that it is very common

    12     for the Patent Office to not grant in toto the request.               So

    13     oftentimes, the requests are granted in part as to certain

    14     claims or certain prior art references but they're not granted

    15     in toto.    So there is a high likelihood that we're going to

    16     be back here with claims from these patents.             And SecureBuy

    17     again, as I said, is going to raise invalidity challenges.

    18     So there is not, there is not much reduction in effort that

    19     is going to be seen by any proposed stay on SecureBuy's part.

    20                    I would point out, Your Honor, that CBM has yet

    21     to be instituted.       We don't know where that is going to go.

    22     There is just no way of telling whether the issue will be

    23     narrowed for trial, but we're facing immediately irreparable

    24     harm.    That is why we asked for, in the alternative, if you

    25     don't grant the preliminary injunction, that you at least
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          53 of471
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2461#:
                                    6889                                      53


     1     consider our motion for expedited trial.

     2                    I think as Your Honor correctly pointed out,

     3     this case is far along and that both parties have done a lot

     4     of work.    We have put out our infringement proof as to one

     5     claim.     They have already put out their invalidity as to

     6     every claim in all three patents.          And I think we could move

     7     quickly into discovery through their essential admission of

     8     infringement here in these papers, but also we see that in

     9     the CBM papers by the way, Your Honor.           In their 101

    10     argument, they essentially admit that they're infringing the

    11     way they make that argument.

    12                    But the point is I think they're going to make

    13     this primarily a validity case and not a noninfringement case.

    14     Therefore, I think we really are ready to move forward and an

    15     expedited trial would not be prejudicial to either side.

    16                    Let me see.     I think that is all I have to say.

    17     I just would close with one point, you know, just a mea

    18     culpa, Your Honor.

    19                    We got the timing wrong with the SecureBuy

    20     Commerce name, but the point really there is that there is

    21     about a million words in the English language.             And when

    22     they realized that the SecureBuy name was unavailable, they

    23     could have chosen any number of terms to put after

    24     SecureBuy.     For example, SecureBuy Payments or SecureBuy

    25     Processing or SecureBuy Transactions or SecureBuy
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          54 of472
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2462#:
                                    6890                                      54


     1     Authentication, and they choose SecureBuy Commerce, I just

     2     think it's sort of insulting to all of our intelligence to

     3     suggest there was some other reason to do that other than to

     4     try to affiliate yourself with the market leader.

     5                    So that is my comment.        I do apologize for

     6     getting the timeline wrong, but I did want to point out the

     7     name.    I think that is significant.

     8                    I guess one other point on the motion for

     9     expedited trial.      What we're proposing is exactly what this

    10     Court did in the Eaton case when it declined a PI in that

    11     case and said an expedited trial would be appropriate and

    12     imposed a six-month deadline.         The facts in that case are

    13     so similar to ours in that it was a similar situation where

    14     the party was giving away the product.           And the Court said,

    15     well, I'm not going to grant a PI but I am going to go for

    16     an expedited trial, six months to trial.            And I think that

    17     is doable in this case.        We have already prepared a proposed

    18     scheduling order which we could send to the other side if

    19     that is necessary.

    20                    And, Your Honor, lastly, I would like to thank

    21     you again for hearing our motion today and expediting the

    22     process.

    23                    THE COURT:     All right.     Thank you.    Let me thank

    24     all the parties for moving quickly.           The briefing even under

    25     the time constraints I imposed was very, very good, very
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          55 of473
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2463#:
                                    6891                                      55


     1     helpful, as has been the argument today.            That puts me

     2     happily in a position in which I'm able to rule on the

     3     preliminary injunction motion and the request for an

     4     expedited trial at this time.

     5                    I think it's to everyone's benefit really given

     6     the fact that the parties are direct competitors that I not

     7     leave these issues hanging out there any longer than need

     8     be.   So I do thank all the parties for putting me in a

     9     position where I am able to make the rulings that I think

    10     are necessary.

    11                    Without dragging out the drama unnecessarily,

    12     what I have decided to do is to deny the preliminary

    13     injunction but to grant the request for an expedited trial.

    14     So I'm denying the principal relief sought by the defendant

    15     here but granting their alternative relief.

    16                    Let me try to briefly explain to you how I came

    17     to that conclusion.       First, I'll talk about the preliminary

    18     injunction.

    19                    As everyone recognizes, a motion for preliminary

    20     injunction is a request for extraordinary relief.              And it's

    21     a matter left to the Court's sound discretion.

    22                    I don't want to linger too much on Local Rule

    23     7.1.1, but I will say, as has been alluded to and as all

    24     counsel on this call know, this Court is overburdened.               We

    25     all have hundreds of patent cases, and I know that requests
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          56 of474
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2464#:
                                    6892                                      56


     1     for expedited treatment are made only after careful

     2     consideration and recognition as to the burdens that are

     3     already on this Court and the increased burden that comes

     4     with the request for expedited treatment.

     5                    In that regard, it's a little hard to understand

     6     why defendant wouldn't feel it appropriate to take the

     7     extra step and reach out to plaintiff and see if one more

     8     conversation just might possibly lead to some type of

     9     resolution that could eliminate the need for burdening the

    10     Court with an expedited emergency request.

    11                    Clearly, the parties have had discussions about

    12     some of the underlying issues, and it's clear obviously at

    13     this point that there was no way the plaintiff was going to

    14     agree certainly to an injunction.          So I'm certainly not

    15     basing my decision on what appears to be a violation of our

    16     local rule, but I do think it is important that parties in

    17     all instances, and certainly before requesting expedited

    18     relief, avail themselves of all reasonable opportunities to

    19     talk with one another, to see if that request is really

    20     necessary to the Court.

    21                    In any event, turning to the factors.

    22                    Obviously, the law is well settled as to what the

    23     factors are.     There is no dispute about that.          Ultimately, the

    24     Court is just simply not persuaded that the extraordinary

    25     relief sought principally by the defendant is warranted here.
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          57 of475
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2465#:
                                    6893                                      57


     1     That is because on at least two of the four factors, I'm not

     2     at this point persuaded that the defendant, the moving party

     3     here, had met its burden.

     4                    First, I find that the defendant CardinalCommerce

     5     has failed to show a likelihood of success on the merits.

     6     That is because in the context here, in order to make that

     7     showing, the Court would have to be satisfied that each of

     8     the invalidity defenses asserted by the plaintiff SecureBuy

     9     lacks substantial merit.        At this point, I'm just not simply

    10     convinced of that on all of the bases that have been asserted

    11     by SecureBuy.

    12                    Primarily -- and I'm not going to get into the

    13     weeds.    There is a lot in the record here, and we have

    14     looked at it all, including the CBM filing and the expert

    15     testimony.     Primarily, the Section 101 patentable subject

    16     matter and the obviousness defenses certainly strike me

    17     at this point as establishing substantial questions of

    18     patentability.

    19                    Those substantial questions remain notwithstanding

    20     the fact that, for instance, with respect to obviousness, much

    21     of the prior art was in fact before the PTO previously, and I

    22     know that the Australian Patent Office has rejected seemingly

    23     similar defenses under what might be a similar legal regime.

    24                    I certainly recognize the defendant has made

    25     good points in response to the invalidity defenses, although
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          58 of476
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2466#:
                                    6894                                      58


     1     I do note there is no expert testimony provided by the

     2     defendant in support of its arguments against invalidity

     3     defenses.

     4                    But when I put all of that together, again, I

     5     end up with the conclusion that the defendant has failed

     6     to persuade me that all of the invalidity defenses lack

     7     substantial merit; and under the procedural posture we're

     8     at, I think that is dispositive and really warrants me

     9     denying the request for preliminary injunction.

    10                    Let me say in that regard, I have considered,

    11     of course, the fact that there is the CBM petition pending;

    12     and I think it's likely, certainly given the statistics,

    13     it's likely that the CBM petition will be granted and there

    14     is some possibility, of course, then that the CBM will

    15     ultimately result in invalidation of the one patent claim

    16     that the present motion is predicated on, claim 1 of the

    17     '429 patent.

    18                    I say all that, and it's relevant to the

    19     likelihood of success on the merits point, because there is

    20     a different standard in front of the PTAB for invalidating

    21     claim 1 of the '429.       It seems that it is easier to

    22     invalidate it in front of the PTAB than it is here.              The

    23     chances that that will happen and will happen before we get

    24     to final judgment I think are proper considerations as I

    25     consider the likelihood of success on the merits, and so I
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          59 of477
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2467#:
                                    6895                                      59


     1     have factored that in, and again it's yet another reason

     2     that I think that the defendant has not met its burden on

     3     likelihood of success on the merits.

     4                    The separate and second ground where I think

     5     the defendant has fallen short is its effort to show that

     6     it will be irreparable harmed between now and trial.               And

     7     given that I am going to expedite trial, that actually has

     8     the effect of making it harder for the defendant to show

     9     irreparable harm because we're going to go to trial in about

    10     six months, and so that limits, of course, the amount of

    11     time that damage could occur.

    12                    But, ultimately, I'm just not at this point on

    13     this record persuaded that whatever harm results from any

    14     infringement that may ultimately be proven, that it would

    15     not be compensable by money damages and relief in the form

    16     of a permanent injunction.         There is no evidence here,

    17     despite some back-and-forth in the letters, there is no

    18     evidence that the plaintiff would be unable to pay a damages

    19     award.    It is clear there are other competitors in the

    20     marketplace besides just the two in this suit.

    21                    There were at least discussions in the recent past

    22     that might have led to resolution, a business resolution of

    23     the disputes between these parties.           And while, of course, I

    24     don't know all the details and it appears they didn't involve

    25     specifically a license to the '429 patent, the fact remains
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          60 of478
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2468#:
                                    6896                                      60


     1     that there is some solution that the defendant could envision

     2     that today would remedy any harm that the defendant thinks

     3     it has already suffered or would suffer in the future, and

     4     that is a data point that gives me greater confidence that

     5     ultimately six or so months from now, if we need to, we can

     6     ultimately calculate and craft a proper remedy for the

     7     defendant for any harm that might occur between now and then.

     8                    There is also the dispute, of course, as to how

     9     big is this market and how much, for what percentage of the

    10     marketplace are the two parties actually competing?              I'm

    11     not in a position to resolve that right now, of course, but

    12     I also am not in a position to discount the plaintiff's

    13     contentions there which, if true, would mean that the amount

    14     of damage that the plaintiff could cause to the defendant

    15     relates to only a small percentage of the marketplace.

    16                    Having said all that, I think it is important to

    17     emphasize to you that I've made this decision quickly at the

    18     defendant's request that I expedite things, and the burden

    19     is on the defendant on all of these points.            And I mentioned

    20     those two points together because I will certainly acknowledge

    21     that my understanding of the technology here, my understanding

    22     of the market here is only as good as it can be given that

    23     this motion came in about a week ago and we have moved as

    24     quickly as we can.

    25                    So to the extent I have misunderstood the
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          61 of479
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2469#:
                                    6897                                      61


     1     technology or misunderstood the invalidity arguments or

     2     misunderstood or misapprehended the marketplace and the

     3     two parties' positions in it, all of that weighs against

     4     the defendant.      None of it was intentional but it's just if

     5     so, if there have been errors here, they are the result of

     6     moving as quickly as possible at the defendant's request,

     7     and the burden is on the defendant.           So since I'm not

     8     persuaded of the things that the defendant had to persuade

     9     me of, rightly or wrongly, it all a leads to, again, the

    10     conclusion that the preliminary injunction should not be

    11     granted.

    12                    But I am going to, as I said at the outset,

    13     grant their alternative request for an expedited trial.

    14     This decision I view as totally discretionary, completely

    15     within the scope of my authority to manage my schedule.

    16                    I don't believe that there are any factors that I

    17     am obligated to consider or that the defendant is obligated

    18     to show.    That's not to say that I intend to schedule every

    19     patent case for trial within six months, but I think I am

    20     certainly free to do so.

    21                    In any event, what I am doing in this case,

    22     there is precedent for here in the District of Delaware as

    23     has been referenced by the defendants, and I think it is

    24     consistent with what some courts with the so-called "rocket

    25     dockets" do in all patent cases.          So I certainly think it's
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          62 of480
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2470#:
                                    6898                                      62


     1     well within my discretion to grant the alternative relief

     2     requested by the defendants.

     3                    And I think it is appropriate for factors

     4     including that the parties are fierce competitors with one

     5     another, the nature of the allegations about the technology

     6     and about the market, the defendant's allegation that it's

     7     the pioneer.     The defendant's allegations about harm I think

     8     are pertinent to a decision as to how quickly to move this

     9     case along.     And also quite importantly here is that the

    10     case appears to be relatively narrow and the parties appear

    11     to be far along, certainly by comparison, to where most

    12     cases are a couple months after they have been filed.

    13                    The plaintiff has worked out many of its

    14     invalidity defenses, has an expert, has stated some

    15     positions relating to claim construction.            It's not even

    16     clear to me that there is going to be much dispute regarding

    17     infringement in this case.

    18                    At the end of the day, it was the plaintiff's

    19     decision to file litigation, to do so before they filed the

    20     CBM petition, and to do so in this court.            And having chosen

    21     voluntarily to do all those things, it's hard for me to

    22     credit the protestations as to the unfair or heavy burden

    23     that will befall the plaintiff from having to litigate a

    24     case that it voluntarily brought here with the timing that

    25     it brought here.
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 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
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                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          63 of481
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2471#:
                                    6899                                      63


     1                    That's the facts and the circumstances as they

     2     are now and they lead to a conclusion, as I say, for a trial

     3     on an expedited basis.

     4                    I imagine that while I don't have a stay motion

     5     in front of me now, I can certainly easily foresee that a

     6     motion for a stay may come at some point in this case and

     7     really all I can say about that is we will deal with it if,

     8     and when, it comes.       And we will, of course, make a careful

     9     analysis of the factors based on whatever those factors are

    10     at the time that the motion comes in.           And I'm not going to

    11     speculate any further as to when it will come in or what the

    12     facts and circumstances will be at that time.             We'll have

    13     that fight at that time, if we need to.

    14                    So let me be a little bit more concrete.

    15                    We are going to have trial beginning on Monday,

    16     August 4th of this year.        We will hold aside that whole

    17     weaning of August 4th through August 8th.            And I want the

    18     parties to meet and confer and submit a proposed scheduling

    19     order by next Tuesday that will culminate in that trial on

    20     August 4th.

    21                    The defendant has suggested that they have

    22     already started working on a proposal for scheduling.               They

    23     should certainly get that proposal into the plaintiff's

    24     hands as soon as possible so that ultimately I can see

    25     ideally a joint proposal next Tuesday, but if not joint,
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          64 of482
                                                                65 PageID
                                                                   of 507 PageID
                                                                           #: 2472#:
                                    6900                                      64


     1     then the competing proposals.         Delaware counsel certainly

     2     know what my form scheduling order is and how to identify

     3     disputes in that form.        And if need be, we'll get you on

     4     the phone again some time very soon to discuss whatever

     5     scheduling disputes there are.

     6                    I would suggest that the parties in their meet

     7     and confer discuss the possibility of a very early Markman

     8     hearing.    It would seem to me that you can probably identify

     9     some, if not all, of the key Markman disputes very, very

    10     soon; and we could get you to a Markman hearing quickly.

    11                    I am skeptical whether there will be time in the

    12     schedule for case dispositive motions, but that is something

    13     you should all discuss.        And I also want you to discuss how

    14     to narrow this case as much as possible and as early as

    15     possible, including narrowing the claims that are at issue

    16     and narrowing the prior art that might be relied on, but

    17     I'm not prejudging any of that, but certainly I am going

    18     to be open to the possibility of taking whatever steps are

    19     necessary in order to manageably get this case to August 4th,

    20     which as I indicated is our trial date.

    21                    That is all I have to say at this time, but let

    22     me see.    I have said a lot.       I want to make sure there isn't

    23     any misunderstanding or any question.

    24                    So, first, Mr. Abate.

    25                    MR. ABATE:     I have nothing to add, Your Honor.
Case
 Case1:22-cv-01377-MN-JLH
      1:13-cv-01792-LPS Document
                          Document
                                 5351-4
                                    FiledFiled
                                          03/04/14
                                               02/10/23
                                                     PagePage
                                                          65 of483
                                                                65 PageID
                                                                   of 507 PageID
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     1     Thank you for your ruling.         Again, thank you for the

     2     expedited process.

     3                    THE COURT:     And Mr. Tollefson.

     4                    MR. TOLLEFSON:      No questions, Your Honor.

     5                    THE COURT:     All right.     Well, thank you all very

     6     much for your time and your excellent efforts.             Have a good

     7     weekend.    Good-bye.

     8                    (Telephone conference ends at 4:43 p.m.)

     9

    10            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
    11

    12                                      /s/ Brian P. Gaffigan
                                           Official Court Reporter
    13                                       U.S. District Court

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 484 of 507 PageID #:
                                    6902




                    EXHIBIT Q
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
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                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            1 of485
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1061 #:
                                     6903



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 GAVRIELI BRANDS LLC, a California
 Limited Liability Company,

                   Plaintiff,

        v.
                                                      Civil Action No. 18-462-GMS
 SOTO MASSINI (USA) CORP., a Delaware
 corporation; SOTO MASSINI S.R.L.S., an
 Italian limited company; and THOMAS
 PICHLER, an individual,

                   Defendants.


                                     SCHEDULING ORDER

         This __ day of July 2018, the parties having determined after discussion that the matter

   cannot be resolved at this juncture by settlement, voluntary mediation or binding arbitration;

        IT IS ORDERED that:

        1.      Rule 26(a) Initial Disclosures. Unless otherwise agreed to by the Parties, they shall

 have made their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a) on or before

 June 29, 2018.

        2.      Joinder of other Parties and Amendment of Pleadings. All motions to join other

 parties and amend the pleadings shall be filed on or before ____________.

        3.      Reliance Upon Advice of Counsel. Defendants shall inform Plaintiff whether

 they intend to rely upon advice of counsel as a defense to willful infringement no later than

 _________. If Defendants elect to rely on advice of counsel as a defense to willful infringement,

 Defendants shall produce any such opinions on which Defendants intend to rely to Plaintiff no

 later than _____________.



                                                -1-
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
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                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            2 of486
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1062 #:
                                     6904



         4.      Markman Claim Construction Hearing. A Markman claim construction hearing

 shall be held on _______ at ____. The Markman hearing is scheduled for ___ hours with each

 side having ___ hours. The parties shall meet and confer regarding narrowing and reducing the

 number of claim construction issues. On or before ________, the Parties shall submit a Final Joint

 Claim Chart which shall include citations to intrinsic evidence. The Plaintiff shall submit to the court,

 a Joint Appendix of Intrinsic Evidence (the “Joint Appendix”) containing all intrinsic evidence relied

 upon in the claim construction briefing. A sample table of contents of the Joint Appendix can be

 located on this court’s website at www.ded.uscourts.gov. The Joint Appendix shall be filed on the

 same day as the answering claim construction briefs.          The Parties shall file opening claim

 construction briefs on __________, and answering claim construction briefs on __________.

 Briefing will be presented pursuant to the court’s Local Rules.

         5.      Discovery. Plaintiff shall identify the accused products and the asserted patents

 they alleged infringe, and produce the file histories for each asserted patent on or before July 27,

 2018. Defendants shall produce core technical and design documents related to accused products,

 including design drawings, manuals, product literature, schematics, and specifications on or before

 August 31, 2018. Plaintiff shall produce an initial claim chart relating each accused product to

 the asserted claims each product allegedly infringes on or before October 5, 2018. Defendants

 shall produce invalidity contentions for each asserted claim, as well as the related invalidating

 references on or before November 2, 2018. All fact discovery in this case shall be initiated so that

 it will be completed on or before December 12, 2018. Opening expert reports on issues on which

 a party bears the burden of proof shall be served on or before January 18, 2019. Rebuttal expert

 reports shall be served on or before February 15, 2019. Expert Discovery in this case shall be

 initiated so that it will be completed on or before March 1, 2019.



                                                   -2-
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
                                      Filed
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                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            3 of487
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1063 #:
                                     6905



                    a.       Discovery and Scheduling Matters: Should counsel find they are unable to

 resolve a discovery1 or scheduling matter, the party seeking the relief shall contact chambers at (302)

 573-6470 to schedule a telephone conference.                  Not less than forty-eight hours prior to the

 teleconference, the Parties shall file with the court, via electronic means (CM/ECF), a Joint Letter

 Agenda, which is non-argumentative, not to exceed two (2) pages outlining the issue(s) in dispute.

 A sample letter can be located on this court’s website at www.ded.uscourts.gov. After the Parties

 have had three (3) discovery teleconferences, they will be required to file a joint letter showing good

 cause why the court should permit a fourth discovery teleconference. Should the court find further

 briefing necessary upon conclusion of the telephone conference, unless otherwise directed, the party

 seeking relief shall file with the court a TWO PAGE LETTER, exclusive of exhibits, describing the

 issues in contention. The responding party shall file within five (5) days from the date of service of

 the opening letter an answering letter of no more than TWO PAGES. The party seeking relief may

 then file a reply letter of no more than TWO PAGES within three (3) days from the date of service

 of the answering letter.

           6.       Confidential Information and Papers filed under Seal. Should counsel find it

 will be necessary to apply to the court for a protective order specifying terms and conditions for

 the disclosure of confidential information, they should confer and attempt to reach an agreement

 on a proposed form of order and submit it to the court within ten (10) days from the date of this

 order. When filing papers under seal, counsel should deliver to the Clerk an original and two

 copies of the papers.




 1
     Unless the court otherwise orders, should counsel be unable to agree on the discovery of paper and electronic
     documents, the court’s “Default Standard for Discovery, Including Discovery of Electronically Stored Information
     (“ESI”) shall govern.

                                                         -3-
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
                                      Filed
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                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            4 of488
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1064 #:
                                     6906



        If after making a diligent effort the Parties are unable to agree on the contents of the

 joint proposed protective order, then they shall follow the dispute resolution process outlined

 in paragraph 5(a).

        7.      Settlement Conference. Pursuant to 28 U.S.C. § 636, this matter is referred to the

 United States Magistrate Judge for the purpose of exploring the possibility of a settlement. The

 Parties shall wait to be contacted by the assigned United States Magistrate Judge.

        8.      Summary Judgment Motions. Prior to filing any summary judgment motion, the

 Parties must submit letter briefs seeking permission to file the motion. The opening letter brief shall

 be no longer than five (5) pages and shall be filed with the Court no later than March 15, 2019.

 Answering letter briefs shall be no longer than five (5) pages and filed with the court no later than

 March 29, 2019. Reply letter briefs shall be no longer than three (3) pages and filed with the

 Court on or before April 5, 2019. If the Court determines that argument is necessary to assist in

 the resolution of any request to file summary judgment, it shall notify the Parties of the date and

 time on which the Court will conduct a telephone conference to hear such argument. Unless the

 Court directs otherwise, no letter requests to file a motion for summary judgment may be

 filed at a time before the dates set forth in paragraph 8.

        9.      Case Dispositive Motions: To the extent permitted, all case or issue dispositive

 motions shall be served and filed within two weeks of the Court’s decision to permit the filing of

 such motions. Briefing will be presented pursuant to the Court’s Local Rules. The Parties may

 agree on an alternative briefing schedule. Any such agreement shall be in writing and filed with

 the Court for the Court’s approval. Any request for extensions of time as set forth in this

 Scheduling Order must be accompanied by an explanation or your request will be denied.




                                                  -4-
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
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                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            5 of489
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1065 #:
                                     6907



           10.       Applications by Motion. Except as provided in this Scheduling Order or for

 matters relating to scheduling, any application to the Court shall be by written motion filed, via

 electronic means (CM/ECF). Unless otherwise requested by the Court, counsel shall not deliver

 copies of papers or correspondence to Chambers. Any non-dispositive motion should contain the

 statement required by Local Rule 7.1.1.

           11.       Oral Argument. If the Court believes that oral argument is necessary, the Court

 will schedule a hearing Pursuant to District of Delaware Local Rule 7.1.4.

           12.       Pretrial Conference. On April 16, 2019, beginning at 10:00 a.m., the Court will

 hold a Pretrial Conference in Courtroom 4A. Unless otherwise ordered by the Court, the parties

 should assume that filing the Joint Pretrial Order satisfies the pretrial disclosure requirement in

 Federal Rule of Civil Procedure 26(a)(3). A sample form of Pretrial Order can be located on this

 court’s website at www.ded.uscourts.gov. Thirty days before the Pretrial Order is due, Plaintiff’s

 counsel shall forward to Defendants’ counsel a draft of the pretrial order containing the information

 Plaintiff proposes to include in the draft. Defendants’ counsel shall, in turn, provide to Plaintiff’s

 counsel any comments on the Plaintiff’s draft, as well as the information Defendants propose to

 include in the proposed pretrial order. Motions in limine2: NO MOTIONS IN LIMINE SHALL

 BE FILED; instead, the Parties shall be prepared to address their evidentiary issues at the Pretrial

 Conference and during trial (before and after the trial day). The Parties shall file with the court the

 joint Proposed Final Pretrial Order in accordance with the terms and with the information required

 by the form of Final Pretrial Order, which can be located on this court’s website at

 www.ded.uscourts.gov on or before March 29, 2019.



 2
     The Parties should simply list, in an Exhibit to be attached to the Pretrial order, the issues under a heading such as
     “Plaintiffs’ [name of party] List of Evidentiary Issues It Intends To Raise.”


                                                            -5-
Case
  Case
     1:22-cv-01377-MN-JLH
        1:18-cv-00462-MN Document
                          Document4451-4
                                      Filed
                                          Filed
                                            07/09/18
                                                02/10/23
                                                       Page
                                                          Page
                                                            6 of490
                                                                 6 PageID
                                                                    of 507#:
                                                                          PageID
                                                                             1066 #:
                                     6908



        14.     Trial. This matter is scheduled for a five day jury trial beginning at 9:30 a.m. on

 April 29, 2019 in Courtroom 4A.

        15.     Scheduling: The Parties shall contact chambers, at (302) 573-6470, only in

 situations where scheduling relief is sought, and only then when ALL participating counsel is on

 the line for purposes of selecting a new date.




                                                        UNITED STATES DISTRICT JUDGE




                                                  -6-
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 491 of 507 PageID #:
                                    6909




                    EXHIBIT R
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 492 of 507 PageID #:
                                    6910



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


APPLE INC.,

                         Plaintiff,

               v.                                     C.A. No. 22-1377-MN

MASIMO CORPORATION and                                JURY TRIAL DEMANDED
SOUND UNITED, LLC,

                         Defendants.


                           EXEMPLARY EIGHT-MONTH PROPOSED
                          SCHEDULING ORDER [PATENT, NON-ANDA]

        This               day of                       , 2023, the Court having conducted an

 initial Rule 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having

 determined after discussion that the matter cannot be resolved at this juncture by settlement,

 voluntary mediation, or binding arbitration;

        IT IS HEREBY ORDERED that:

        1.          Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard.        Unless

 otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

 Federal Rule of Civil Procedure 26(a)(l) within five (5) days of the date the Court enters this Order.

 If they have not already done so, the parties are to review the Court’s Default Standard for

 Discovery, Including Discovery of Electronically Stored Information (‘‘ESI”), which is posted at

 http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is

 incorporated herein by reference.

        2.          Joinder of Other Parties and Amendment of Pleadings. All motions to join other

 parties, and to amend or supplement the pleadings, shall be filed on or before [4 weeks after Order

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Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 493 of 507 PageID #:
                                    6911


 Granting Motion For An Expedited Trial]. Unless otherwise ordered by the Court, any motion

 to join a party or motion to amend the pleadings shall be made pursuant to the procedures set forth

 in Paragraphs 8(g) and 9.

        3.      Application to Court for Protective Order. Should counsel find it will be necessary

 to apply to the Court for a protective order specifying terms and conditions for the disclosure of

 confidential information, counsel should confer and attempt to reach an agreement on a proposed

 form of order and submit it to the Court within ten (10) days from the date the Court enters this

 Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel must

 follow the provisions of Paragraph 8(g) below.

        Any proposed protective order must include the following paragraph:

                Other Proceedings. By entering this order and limiting the disclosure
                of information in this case, the Court does not intend to preclude
                another court from finding that information may be relevant and
                subject to disclosure in another case. Any person or party subject to
                this order who becomes subject to a motion to disclose another
                party’s information designated “confidential” [the parties should list
                any other level of designation, such as “highly confidential,” which
                may be provided for in the protective order] pursuant to this order
                shall promptly notify that party of the motion so that the party may
                have an opportunity to appear and be heard on whether that
                information should be disclosed.

        4.      Papers Filed Under Seal. In accordance with section G of the Revised

 Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version

 of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed

 document.

        5.      Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies

 of all briefs and any other document filed in support of any briefs (i.e., appendices, exhibits,

 declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

 copies shall be double-sided.
                                                  2
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 494 of 507 PageID #:
                                    6912


        6.      ADR Process. This matter is referred to a magistrate judge to explore the possibility

 of alternative dispute resolution.

        7.      Disclosures. Absent agreement among the parties, and approval of the Court:
                (a)    By [5 days after Order Granting Motion For An Expedited Trial], Plaintiff

 shall identify the accused product(s), including accused methods and systems, and its damages

 model, as well as the asserted patent(s) that the accused product(s) allegedly infringe(s). Plaintiff

 shall also produce the file history for each asserted patent.

                (b)     By [2 weeks after Order Granting Motion For An Expedited Trial],

 Defendant shall produce core technical documents related to the accused product(s), sufficient to

 show how the accused product(s) work(s), including but not limited to non-publicly available

 operation manuals, product literature, schematics, and specifications. Defendant shall also produce

 sales figures for the accused product(s).

                (c)     By [2 weeks after Order Granting Motion For An Expedited Trial],

 Plaintiff shall produce an initial claim chart relating each known accused product to the asserted

 claims each such product allegedly infringes.

                (d)     By [3 weeks after Order Granting Motion For An Expedited Trial],

 Defendant shall produce its initial invalidity contentions for each asserted claim, as well as the

 known related invalidating references.

                (e)     By [8 weeks after Order Granting Motion For An Expedited Trial], Plaintiff
                        shall provide final infringement contentions.

                (f)     By [9 weeks after Order Granting Motion For An Expedited Trial],
                        Defendant shall provide final invalidity contentions.

        8.      Discovery. Unless otherwise ordered by the Court or agreed to by parties, the

 limitations on discovery set forth in the Federal Rules shall be strictly observed.

                (a)     Fact Discovery Cut Off. All fact discovery in this case shall be initiated so


                                                  3
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 495 of 507 PageID #:
                                    6913


 that it will be completed on or before [10 weeks after Order Granting Motion For An Expedited

 Trial].


                (b)     Document Production.           Document production shall be substantially

 complete by [7 weeks after Order Granting Motion For An Expedited Trial].

                (c)     Requests for Admission. A maximum of 30 requests for admission are

 permitted for each side.
                (d)     Interrogatories.

                        i.      A maximum of 15 interrogatories,                including contention

 interrogatories, are permitted for each side.

                        ii.     The Court encourages the parties to serve and respond to contention

 interrogatories early in the case. In the absence of agreement among the parties, contention

 interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy

 of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more

 detail a party provides, the more detail a party shall receive).

                (e)     Depositions.

                        i.      Limitation on Hours for Deposition Discovery. Each side is limited

 to a total of 35 hours of taking fact testimony by deposition upon oral examination.

                        ii.     Location of Depositions.       Any party or representative (officer,

 director, or managing agent) of a party filing a civil action in this district court must ordinarily be

 required, upon request, to submit to a deposition at a place designated within this district.

 Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

 counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

 action in this Court for the purpose of this provision.

                                                   4
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 496 of 507 PageID #:
                                    6914


                (f)      Disclosure of Expert Testimony.

                         i.     Expert Reports. For the party who has the initial burden of proof on

 the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

 testimony is due on or before [12 weeks after Order Granting Motion For An Expedited Trial].

 The supplemental disclosure to contradict or rebut evidence on the same matter identified by

 another party is due on or before [14 weeks after Order Granting Motion For An Expedited

 Trial]. Reply expert reports from the party with the initial burden of proof are due on or before

 [16 weeks after Order Granting Motion For An Expedited Trial]. No other expert reports will

 be permitted without either the consent of all parties or leave of the Court. Along with the

 submissions of the expert reports, the parties shall advise of the dates and times of their experts’

 availability for deposition.

                         ii.    Expert Report Supplementation. The parties agree they [will]
 permit expert declarations to be filed in connection with motions briefing (including case-

 dispositive motions).

                         iii.   Objections to Expert Testimony. To the extent any objection to

 expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

 Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

 shall be made by motion no later than the deadline for dispositive motions set forth herein, unless

 otherwise ordered by the Court. Briefing on such motions is subject to the page limits set out in

 connection with briefing of case dispositive motions.

                         iv.    Expert Discovery Cut-Off. All expert discovery in this case shall be

 initiated so that it will be completed on or before [18 weeks after Order Granting Motion For

 An Expedited Trial].


                (g)      Discovery Matters and Disputes Relating to Protective Orders.
                                                5
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 497 of 507 PageID #:
                                    6915




                         i.      Any discovery motion filed without first complying with the

 following procedures will be denied without prejudice to renew pursuant to these procedures.

                         ii.     Should counsel find, after a reasonable effort pursuant to Local Rule

 7.1.1 that they are unable to resolve a discovery matter or a dispute relating to a protective order,

 the parties involved in the discovery matter or protective order dispute shall contact the Court’s

 Judicial Administrator to schedule an argument.

                         iii.    On a date to be set by separate order, generally not less than four (4)

 days prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed

 three (3) pages, outlining the issues in dispute and its position on those issues. On a date to be set

 by separate order, but generally not less than three (3) days prior to the conference, any party

 opposing the application for relief may file a letter, not to exceed three (3) pages, outlining that

 party's reasons for its opposition.

                         iv.     The parties shall provide to the Court two (2) courtesy copies of its

 discovery letter and any other document filed in support of any letter (i.e., appendices, exhibits,

 declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

 copies shall be double-sided.

                         v.      Should the Court find further briefing necessary upon conclusion of

 the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

 prior to the conference and will, in that event, cancel the conference.

         9.      Motions to Amend / Motions to Strike.

                 (a)     Any motion to amend (including a motion for leave to amend) a pleading

 or any motion to strike any pleading or other document shall be made pursuant to the discovery

 dispute procedure set forth in Paragraph 8(g) above.

                 (b)     Any such motion shall attach the proposed amended pleading as well as a
                                                6
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 498 of 507 PageID #:
                                    6916


 “redline” comparison to the prior pleading or attach the document to be stricken.

        10.     Technology Tutorials. Although technology tutorials are not required by the Court,

 they are appreciated and, if any party chooses to file such a tutorial, it shall be submitted on or

 before the date that the Joint Claim Construction Brief is filed.

        11.     Claim Construction Issue Identification. On [DATE], the parties shall exchange a

 list of those claim term(s)/phrase(s) that they believe need construction and their proposed claim

 construction of those term(s)/phrase(s). This document will not be filed with the Court. Subsequent

 to exchanging that list, the parties will meet and confer to prepare a Joint Claim Construction Chart

 to be submitted two weeks prior to service of the opening claim construction brief. The parties’

 Joint Claim Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s)

 in issue, and should include each party’s proposed construction of the disputed claim language

 with citation(s) only to the intrinsic evidence in support of their respective proposed constructions.

 Intrinsic evidence (including copies of the patent(s) at issue) shall NOT be attached to the joint

 claim construction chart and, instead, the parties shall include a joint appendix with the joint claim

 construction brief, and the joint appendix shall include a copy of the patent(s) at issue and portions

 of all relevant intrinsic evidence that would have otherwise been included with the joint claim

 construction chart, as well as any additional evidence cited in the parties’ briefing.

        12.     Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

 brief, not to exceed 20 pages, on [DATE]. The Defendant shall serve, but not file, its answering

 brief, not to exceed 30 pages, on [DATE]. The Plaintiff shall serve, but not file, its reply brief, not

 to exceed 20 pages, on [DATE]. The Defendant shall serve, but not file, its sur-reply brief, not to

 exceed 10 pages, on [DATE]. No later than [DATE], the parties shall file a Joint Claim

 Construction Brief. The parties shall copy and paste their unfiled briefs into one brief, with their

 positions on each claim term in sequential order, in substantially the form below. If the joint brief
                                                   7
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 499 of 507 PageID #:
                                    6917


 as submitted is more than 80 pages, the parties must certify that the page limits (or equivalent word

 counts) in the Scheduling Order have been complied with and provide a brief explanation (e.g.,

 formatting issues, listing of agreed-upon terms) as to why the brief is longer than 80 pages.

                            JOINT CLAIM CONSTRUCTION BRIEF

 I.     Agreed-Upon Constructions

 II.    Disputed Constructions

        [TERM 1]

                1.      Plaintiff’s Opening Position

                2.      Defendant’s Answering Position

                3.      Plaintiff’s Reply Position

                4.      Defendant’s Sur-Reply Position

        [TERM 2]

                1.      Plaintiff’s Opening Position

                2.      Defendant’s Answering Position

                3.      Plaintiff’s Reply Position

                4.      Defendant’s Sur-Reply Position

 The parties need not include any general summaries of the law relating to claim construction. If

 there are any materials that would be submitted in an index, the parties shall submit them in a Joint

 Appendix.

        13.     Hearing on Claim Construction. Beginning at                    on [DATE], the Court

 will hear argument on claim construction. The parties need not include any general summaries of

 the law relating to claim construction in their presentations to the Court. The parties shall notify

 the Court, by joint letter submission, no later than the date on which their joint claim construction

 brief is filed: (i) whether they request leave to present testimony at the hearing; and (ii) the amount

                                                   8
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 500 of 507 PageID #:
                                    6918


 of time they are requesting be allocated to them for the hearing.

        Provided that the parties comply with all portions of this Scheduling Order, and any other

 orders of the Court, the parties should anticipate that the Court will issue its claim construction

 order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

 unable to meet this goal, it will advise the parties no later than sixty (60) days after the conclusion

 of the claim construction hearing.

        14.     Supplementation. Absent agreement among the parties, and approval of the Court,

 no later than [8 weeks after Order Granting Motion For An Expedited Trial] the parties must

 finally supplement, inter alia, the identification of all accused products and of all invalidity

 references.

        15.     Case Dispositive Motions.

                (a)     All case dispositive motions, an opening brief, and affidavits, if any, in

 support of the motion shall be served and filed on or before [19 weeks after Order Granting

 Motion For An Expedited Trial] [a date approximately four months prior to the pretrial conference,

 the four months being calculated from the conclusion of the briefing]. Briefing will be presented

 pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be filed more

 than ten (10) days before the above date without leave of the Court.

                (b)     Concise Statement of Facts Requirement. Any motion for summary

 judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages, which

 details each material fact which the moving party contends is essential for the Court’s resolution

 of the summary judgment motion (not the entire case) and as to which the moving party contends

 there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph

 and shall be supported by specific citation(s) to the record.

                Any party opposing the motion shall include with its opposing papers a response to
                                                   9
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 501 of 507 PageID #:
                                    6919


 the moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the

 facts set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the

 extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the

 record. Failure to respond to a fact presented in the moving party’s concise statement of facts shall

 indicate that fact is not in dispute for purposes of summary judgment. The party opposing the

 motion may also include with its opposing papers a separate concise statement, not to exceed four

 (4) pages, which sets forth material facts as to which the opposing party contends there is a genuine

 issue to be tried. Each fact asserted by the opposing party shall also be set forth in a separate

 numbered paragraph and shall be supported by specific citation(s) to the record.

                The moving party shall include with its reply papers a response to the opposing

 party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.

 Failure to respond to a fact presented in the opposing party’s concise statement of facts shall

 indicate that fact remains in dispute for purposes of summary judgment.

                (c)     Page limits combined with Daubert motion page limits. Each party is

 permitted to file as many case dispositive motions as desired provided, however, that each SIDE

 will be limited to a combined total of 40 pages for all opening briefs, a combined total of 40 pages

 for all answering briefs, and a combined total of 20 pages for all reply briefs regardless of the

 number of case dispositive motions that are filed. In the event that a party files, in addition to a

 case dispositive motion, a Daubert motion to exclude or preclude all or any portion of an expert’s

 testimony, the total amount of pages permitted for all case dispositive and Daubert motions shall

 be increased to 50 pages for all opening briefs, 50 pages for all answering briefs, and 25 pages for

 all reply briefs for each SIDE.1


 1      The parties must work together to ensure that the Court receives no more than a total of
        250 pages (i.e., 50 + 50 + 25 regarding one side’s motions, and 50 + 50 + 25 regarding the
                                                  10
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 502 of 507 PageID #:
                                    6920


       other side’s motions) of briefing on all case dispositive motions and Daubert motions that
       are covered by this scheduling order and any other scheduling order entered in any related
       case that is proceeding on a consolidated or coordinated pretrial schedule.




                                              11
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 503 of 507 PageID #:
                                    6921



         16.      Applications by Motion. Except as otherwise specified herein, any application to

 the Court shall be by written motion. Any non-dispositive motion should contain the statement

 required by Local Rule 7.1.1.

         17.      Motions in Limine. Motions in limine shall not be separately filed. All in limine

 requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall be

 limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

 request and any response shall contain the authorities relied upon; each in limine request may be

 supported by a maximum of three (3) pages of argument, may be opposed by a maximum of three

 (3) pages of argument, and the side making the in limine request may add a maximum of one (l)

 additional page in reply in support of its request. If more than one party is supporting or opposing

 an in limine request, such support or opposition shall be combined in a single three (3) page

 submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered by the

 Court. No separate briefing shall be submitted on in limine requests, unless otherwise permitted

 by the Court.

         18. Pretrial Conference. On                              [Appx. 31 weeks (7 months) after Order

  Granting Motion For An Expedited Trial], the Court will hold a pretrial conference in Court with

  counsel beginning at         . Unless otherwise ordered by the Court, the parties should assume that filing the

  pretrial order satisfies the pretrial disclosure requirement of Federal Rule of Civil Procedure 26(a)(3). The

  parties shall file with the Court the joint proposed final pretrial order in compliance with Local Rule 16.3(c)

  and the Court’s Preferences and Procedures for Civil Cases not later than seven (7) days before the pretrial

  conference. Unless otherwise ordered by the Court, the parties shall comply with the timeframes set forth in

  Local Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order.




                                                       12
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 504 of 507 PageID #:
                                    6922



                 The parties shall provide the Court two (2) double-sided courtesy copies of the joint

 proposed final pretrial order and all attachments. The proposed final pretrial order shall contain a

 table of contents and the paragraphs shall be numbered.

          19.    Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

 tried to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed voir

 dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms

 seven (7) business days before the final pretrial conference. This submission shall be accompanied

 by a courtesy copy containing electronic files of these documents, in Microsoft Word format,

 which may be submitted by e-mail to mn_civil@ded.uscourts.gov.

          20.    Trial. This matter is scheduled for a day jury trial beginning at 9:30 a.m. on

                      [Appx. 35 weeks (8 months) after Order Granting Motion For An

 Expedited Trial], with the subsequent trial days beginning at 9:00 a.m. Until the case is submitted

 to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial will be timed,

 as counsel will be allocated a total number of hours in which to present their respective cases.

          21.    Judgment on Verdict and Post-Trial Status Report. Within seven (7) days after

 a jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of order

 to enter judgment on the verdict. At the same time, the parties shall submit a joint status report,

 indicating among other things how the case should proceed and listing any post-trial motions each

 party intends to file.

          22.    Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

 to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

 briefs relating to any post-trial motions filed by that side, no matter how many such motions are

 filed.


                                                    13
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 505 of 507 PageID #:
                                    6923




                                     The Honorable Maryellen Noreika
                                     United States District Judge




                                       14
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 506 of 507 PageID #:
                                    6924
Case 1:22-cv-01377-MN-JLH Document 51-4 Filed 02/10/23 Page 507 of 507 PageID #:
                                    6925
